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                  Exhibit 1
        Settlement Agreement and Release




In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)


 Plaintiffs’ Motion to Direct Notice of Proposed Settlement
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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


                                     MDL Docket No. 2800
In re: Equifax Inc. Customer         No. 1:17-md-2800-TWT
Data Security Breach Litigation
                                     CONSUMER ACTIONS

                                     Chief Judge Thomas W. Thrash, Jr.




               SETTLEMENT AGREEMENT AND RELEASE
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                              EXHIBITS



EXHIBIT 1 - LIST OF ACTIONS

EXHIBIT 2 - BUSINESS PRACTICES COMMITMENTS

EXHIBIT 3 - CONSENT ORDER

EXHIBIT 4 - CREDIT MONITORING AND RESTORATION SERVICES

EXHIBIT 5 - ORDER DIRECTING NOTICE

EXHIBIT 6 - NOTICE PLAN

EXHIBIT 7 - NOTICES

     A.   LONG FORM

     B.   SHORT FORM

EXHIBIT 8 - CLAIM FORM

EXHIBIT 9 - CLAIMS ADMINISTRATION PROTOCOL

EXHIBIT 10 - SETTLEMENT CLASS REPRESENTATIVES
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               SETTLEMENT AGREEMENT AND RELEASE
      This Settlement Agreement and Release (“Agreement”) is made as of July
22, 2019, by and between, as hereinafter defined, (a) Settlement Class
Representatives on behalf of themselves and the Settlement Class, and (b)
Defendants (collectively, the “Parties”). This Agreement fully and finally
compromises and settles any and all consumer claims that are, were, or could have
been asserted in the litigation styled In re: Equifax, Inc. Customer Data Security
Breach Litigation, Case No. 1:17-md-2800-TWT (N.D. Ga.).

1     RECITALS
1.1      In a series of announcements beginning in September 2017, Equifax Inc.
         announced that it had been the victim of a criminal cyberattack on its
         computer systems in which the attacker/s gained unauthorized access to
         the personal information of approximately 147 million U.S. individuals.

1.2      After announcement of the Data Breach (as hereinafter defined), multiple
         putative class action lawsuits were filed by consumers against Equifax
         alleging it had failed to properly protect personal information in
         accordance with its duties, had inadequate data security, and improperly
         delayed notifying potentially impacted individuals.

1.3      On December 7, 2017, the Judicial Panel on Multidistrict Litigation
         transferred more than 200 putative class action lawsuits to the Honorable
         Thomas W. Thrash in the United States District Court for the Northern
         District of Georgia (the “Court”) for coordinated pretrial proceedings.

1.4      Additional lawsuits against Equifax were also transferred to, filed in, or
         otherwise assigned to the Court and included in coordinated pretrial
         proceedings as part of In re: Equifax Inc. Customer Data Security Breach
         Litigation, Case No. 1:17-md-2800-TWT (N.D. Ga.).

1.5      On February 12, 2018, the Court appointed leadership for consumer
         plaintiffs and interim class counsel pursuant to Federal Rule of Civil
         Procedure 23(g).

1.6      Class Counsel filed a Consolidated Consumer Class Action Complaint
         (“Complaint”) in In re: Equifax Inc. Customer Data Security Breach

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          Litigation, Equifax moved to dismiss the Complaint, and the Court denied
          in part and granted in part the motion by Order dated January 28, 2019.

1.7       Beginning in September 2017, the Parties engaged in arm’s-length
          settlement negotiations overseen by former United States District Court
          Judge Layn R. Phillips. The Parties engaged in five in-person mediation
          sessions, on November 27 and 28, 2017, May 25, 2018, August 9, 2018,
          November 16, 2018, and March 30, 2019, under the direction of Judge
          Phillips. The last mediation session resulted in the Parties executing a
          binding term sheet, to be superseded by this Agreement.

1.8       Class Counsel has investigated the facts relating to the Data Breach with
          the assistance of consultants and experts in cybersecurity and identity
          theft, interviewed witnesses, reviewed Congressional testimony, analyzed
          the evidence adduced during pretrial and confirmatory discovery,
          including over a half-million pages of documents, spreadsheets, and other
          native files produced by Equifax, and researched the applicable law with
          respect to Plaintiffs’ claims against Equifax and the potential defenses
          thereto.

1.9       Defendants (as hereinafter defined) deny any wrongdoing whatsoever,
          and this Agreement shall in no event be construed or deemed to be
          evidence of or an admission or concession on the part of any Defendant
          with respect to any claim of any fault or liability or wrongdoing or
          damage whatsoever, any infirmity in the defenses that Defendants have
          asserted or would assert, or to the requirements of Federal Rule of Civil
          Procedure 23 and whether Plaintiffs satisfy those requirements.

1.10      Based upon their investigation, pretrial discovery, confirmatory discovery,
          and legal motion practice, as set forth above, Class Counsel have
          concluded that the terms and conditions of this Agreement are fair,
          reasonable and adequate to Plaintiffs and Settlement Class Members and
          are in their best interests, and have agreed to settle the consumer claims
          asserted in In re: Equifax Inc. Customer Data Security Breach Litigation
          pursuant to the terms and provisions of this Agreement.

1.11      It is the intention of the Parties to resolve the disputes and claims which
          they have between them on the terms set forth below.

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       NOW, THEREFORE, in consideration of the promises, covenants, and
agreements herein described and for other good and valuable consideration
acknowledged by each of them to be satisfactory and adequate, and intending to be
legally bound, the Parties do hereby mutually agree, as follows:

2     DEFINITIONS

      As used in this Agreement, the following terms shall have the meanings
indicated:

2.1      “Action” or “Actions” means all the actions listed in Exhibit 1, which are
         consumer cases that have been filed in, transferred to, or otherwise
         assigned to the Court and included in coordinated or consolidated pretrial
         proceedings as part of In re: Equifax Inc. Customer Data Security Breach
         Litigation, Case No. 1:17-md-2800-TWT (N.D. Ga.).

2.2      “Administrative Costs” means all reasonable costs and expenses of the
         Settlement Administrator incurred in carrying out its duties under this
         Agreement, including, without limitation, validating Settlement Class
         Members and determining eligibility for benefits under the Settlement,
         administering, calculating, and distributing the Consumer Restitution
         Fund and its benefits to Settlement Class Members, and paying Taxes.

2.3      “Affiliate” means, with respect to any Entity, any other Entity that
         directly or indirectly controls or is controlled by, or is under common
         control with, such Entity. For purposes of this definition, “control” when
         used with respect to any Entity means an ownership interest of at least
         twenty-five percent (25%) and/or the power to direct the management and
         policies of such Entity, directly or indirectly, whether through the
         ownership of voting securities, by contract, or otherwise.

2.4      “Agreement” means this Settlement Agreement and Release. The terms of
         the Agreement are set forth herein including the exhibits hereto.

2.5      “Alternative Reimbursement Compensation” means compensation to
         Settlement Class Members as set forth in Section 7.5.

2.6      “Business Days” means Monday, Tuesday, Wednesday, Thursday, and
         Friday, excluding holidays observed by the federal government.

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2.7       “Business Practices Commitments” means the measures provided for in
          Exhibit 2.

2.8       “Claim Form” means the form Settlement Class Members submit (either
          in paper form or via the Settlement Website) to claim benefits under the
          Settlement, attached hereto as Exhibit 8.

2.9       “Claims Administration Protocol” means the protocol to be followed by
          the Settlement Administrator in processing claims made under this
          Agreement, attached hereto as Exhibit 9.

2.10      “Class Counsel” means Kenneth S. Canfield of Doffermyre Shields
          Canfield & Knowles, LLC, Amy E. Keller of DiCello Levitt Gutzler LLC,
          Norman E. Siegel of Stueve Siegel Hanson LLP, and Roy E. Barnes of
          Barnes Law Group, LLC.

2.11      “Consumer Restitution Fund” means three hundred eighty million, five
          hundred thousand United States Dollars ($380,500,000), any interest on or
          other income or gains earned while such amount is held in the Consumer
          Restitution Fund Account, and such additional amounts that Equifax may
          be required to contribute under the terms of this Agreement.

2.12      “Consumer Restitution Fund Account” means the account described in
          Sections 3.1 and 3.3 through 3.10.

2.13      “Court” means the United States District Court for the Northern District
          of Georgia.

2.14      “Credit Monitoring Services” means the services described in Section 7.1.

2.15      “Data Breach” means the data breach announced by Equifax Inc. on or
          about September 7, 2017.

2.16      “Defendants” means Equifax Inc., Equifax Information Services, LLC,
          and Equifax Consumer Services LLC.

2.17      “Effective Date” means the date upon which the Settlement contemplated
          by this Agreement shall become effective as set forth in Section 17.1.



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2.18      “Entity” means any corporation, partnership, limited liability company,
          association, trust, or other organization of any type.

2.19      “Equifax” means Equifax Inc., Equifax Information Services, LLC, and
          Equifax Consumer Services LLC.

2.20      “Extended Claims Period” means the period beginning with the end of the
          Initial Claims Period through 4 years after the end of the Initial Claims
          Period.

2.21       “Fairness Hearing” means the hearing to be conducted by the Court to
          determine the fairness, adequacy, and reasonableness of the Agreement
          pursuant to Federal Rule of Civil Procedure 23 and whether to issue the
          Final Approval Order and Judgment.

2.22      “Final Approval Order and Judgment” means an order and judgment that
          the Court enters after the Fairness Hearing, which finally approves the
          Agreement, certifies the Settlement Class, dismisses Defendants with
          prejudice, and otherwise satisfies the settlement-related provisions of
          Federal Rule of Civil Procedure 23 in all respects.

2.23      “Initial Claims Period” means the 6 months after the date of the entry of
          the Order Permitting Issuance of Notice of Class Action Settlement.

2.24      “Notice” means notice of the proposed class action settlement to be
          provided to Settlement Class Members pursuant to the Notice Plan
          approved by the Court in connection with its Order Permitting Issuance of
          Notice of Class Action Settlement, substantially in the forms attached
          hereto as Exhibits 6.A through 6.F and 7.

2.25      “Notice Costs” means all reasonable costs and expenses of the Notice
          Provider, including, without limitation, all expenses or costs associated
          with the Notice Plan and providing Notice to the Settlement Class.

2.26      “Notice Date” means 60 days after the Court enters the Order Permitting
          Issuance of Notice of Class Action Settlement.




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2.27      “Notice Plan” means the settlement notice program developed by the
          Notice Provider substantially in the form attached hereto as Exhibit 6, as
          approved by the Court.

2.28      “Notice Provider” means Signal Interactive Media LLC. A different
          Notice Provider may be substituted if approved by the Court.

2.29      “Objection Deadline” means 60 days after the Notice Date.

2.30      “One-Bureau Credit Monitoring Services” means the services described in
          Section 7.4.

2.31      “Opt-Out Deadline” means 60 days after the Notice Date.

2.32      “Order Permitting Issuance of Notice of Class Action Settlement” means
          an order determining that the Court will likely be able to approve the
          Settlement under Federal Rule of Civil Procedure 23(e)(2) and will likely
          be able to certify the Settlement Class for purposes of judgment. Such
          order will include the forms and procedure for providing notice to the
          Settlement Class, establish a procedure for Settlement Class Members to
          object to or opt-out of the Settlement, and set a date for the Fairness
          Hearing, without material change to the Parties’ agreed-upon proposed
          order attached hereto as Exhibit 5.

2.33      “Out-of-Pocket Losses” means losses as defined in Section 6.

2.34      “Parent” means, with respect to any Entity, any other Entity that owns or
          controls, directly or indirectly, at least a majority of the securities or other
          interests that have by their terms ordinary voting power to elect a majority
          of the board of directors, or a majority of others performing similar
          function, of such Entity.

2.35      “Parties” means the Settlement Class Representatives, on behalf of
          themselves and the Settlement Class, and Defendants.

2.36      “Plaintiffs” means all plaintiffs named in the Consumer Consolidated
          Class Action Complaint filed in In re: Equifax Inc. Customer Data
          Security Breach Litigation, Case No. 1:17-md-2800-TWT (N.D. Ga.).


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2.37       “Preventative Measures” means Out-of-Pocket Losses associated with
           freezing or unfreezing credit reports and purchasing credit monitoring
           services as set forth in Sections 6.2.2 and 6.2.4.

2.38       “Released Claim” means any claims, liabilities, rights, demands, suits,
           obligations, damages, including but not limited to consequential damages,
           losses or costs, punitive damages, attorneys’ fees and costs, action or
           causes of action, penalties, remedies, of every kind or description—
           whether known or Unknown (as the term “Unknown Claims” is defined
           herein), suspected or unsuspected, asserted or unasserted, liquidated or
           unliquidated, legal, administrative, statutory, or equitable—that relate to
           or arise from the Data Breach or the facts alleged in the Actions.

2.39       “Restoration Services” means the services described in Section 7.2.

2.40       “Service Awards” means compensation awarded and paid to Settlement
           Class Representatives in recognition of their role in this litigation, subject
           to Court approval, as set forth in Section 10.

2.41       “Settlement” means the settlement of the Actions by and between the
           Parties, and the terms thereof as stated in this Agreement.

2.42       “Settlement Administrator” means JND Legal Administration. A different
           Settlement Administrator may be substituted if approved by the Court.

2.43       “Settlement Class” means the approximately 147 million U.S. consumers
           identified by Equifax whose personal information was compromised as a
           result of the cyberattack and data breach announced by Equifax Inc. on
           September 7, 2017. Excluded from the Settlement Class are:
           (i) Defendants, any entity in which Defendants have a controlling interest,
           and Defendants’ officers, directors, legal representatives, successors,
           subsidiaries, and assigns; (ii) any judge, justice, or judicial officer
           presiding over this matter and the members of their immediate families
           and judicial staff; and (iii) any individual who timely and validly opts out
           of the Settlement Class.

2.44       “Settlement Class Member” means a member of the Settlement Class.

2.45       “Settlement Class Representatives” are the Plaintiffs listed in Exhibit 10.

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2.46       “Settlement Website” means a website established by the Settlement
           Administrator to provide information about the Settlement including
           deadlines and case documents, and permit Settlement Class Members to
           electronically submit Claim Forms.

2.47       “Subsidiary” means, with respect to any Entity, any other Entity of which
           the first Entity owns or controls, directly or indirectly, at least a majority
           of the securities or other interests that have by their terms ordinary voting
           power to elect a majority of the board of directors, or others performing
           similar functions, of the other Entity.

2.48       “Successor” means, with respect to a natural person, that person’s heir,
           successors, and assigns, and, with respect to an Entity, any other Entity
           that through merger, buyout, assignment, or any other means or
           transaction, acquires all of the first Entity’s duties, rights, obligations,
           shares, debts, or assets.

2.49       “Taxes” means (i) any and all applicable taxes, duties and similar charges
           imposed by a government authority (including any estimated taxes,
           interest or penalties) arising in any jurisdiction, if any, with respect to the
           income or gains earned by or in respect of the Consumer Restitution
           Fund, including, without limitation, any taxes that may be imposed upon
           Defendants or their counsel with respect to any income or gains earned by
           or in respect of the Consumer Restitution Fund for any period while it is
           held in the Consumer Restitution Fund Account; (ii) any other taxes,
           duties and similar charges imposed by a government authority (including
           any estimated taxes, interest or penalties) relating to the Consumer
           Restitution Fund that the Settlement Administrator determines are or will
           become due and owing, if any; and (iii) any and all expenses, liabilities
           and costs incurred in connection with the taxation of the Consumer
           Restitution Fund (including without limitation, expenses of tax attorneys
           and accountants).

2.50       “Unknown Claims” means any and all Released Claims that any
           Settlement Class Representative or Settlement Class Member does not
           know or suspect to exist in his or her favor as of the Effective Date and
           which, if known by him or her, might have affected his or her
           decision(s) with respect to the Settlement. With respect to any and all

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          Released Claims, the Parties stipulate and agree that upon the Effective
          Date, Settlement Class Representatives and Settlement Class Members
          shall have waived any and all provisions, rights, and benefits conferred by
          any law of any state or territory of the United States, the District of
          Columbia, or principle of common law or otherwise, which is similar,
          comparable, or equivalent to Cal. Civ. Code § 1542, which provides:

             A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
             THAT THE CREDITOR OR RELEASING PARTY DOES
             NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
             FAVOR AT THE TIME OF EXECUTING THE RELEASE
             AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
             MATERIALLY AFFECTED HIS OR HER SETTLEMENT
             WITH THE DEBTOR OR RELEASED PARTY.
         Settlement Class Representatives and Class Counsel acknowledge, and
         each Settlement Class Member by operation of law shall be deemed to
         have acknowledged, that the inclusion of “Unknown Claims” in the
         definition of Released Claims was separately bargained for and was a key
         element of the Settlement Agreement.

3     CREATION AND TREATMENT OF THE CONSUMER RESTITUTION
      FUND
3.1       Equifax Inc. agrees to make a non-reversionary settlement payment of
          three hundred eighty million, five hundred thousand United States Dollars
          ($380,500,000) and deposit that settlement payment into the Consumer
          Restitution Fund Account as follows: (i) it shall deposit one hundred and
          fifty thousand United States Dollars ($150,000) into the Consumer
          Restitution Fund Account 5 Business Days after the date of this
          Agreement, to cover reasonable set-up costs of the Notice Provider; (ii) it
          shall deposit twenty-five million United States Dollars ($25,000,000) into
          the Consumer Restitution Fund Account 5 Business Days after the Court
          enters the Order Permitting Issuance of Notice of Class Action Settlement
          to cover reasonable Notice and Administrative Costs incurred prior to the
          Effective Date, and set-up costs for the Credit Monitoring and Restoration
          Services vendor; and (iii) it shall deposit the balance of the three hundred
          eighty million, five hundred thousand United States Dollars

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          ($380,500,000) into the Consumer Restitution Fund Account within 10
          Business Days after the Effective Date.

3.2       Additional Amounts for Out-of-Pocket Losses: In addition to the
          Consumer Restitution Fund, Equifax Inc. agrees to pay up to one hundred
          twenty-five million United States Dollars ($125,000,000) in additional
          amounts for valid Out-of-Pocket Losses submitted during both the Initial
          Claims Period and the Extended Claims Period in the event the Consumer
          Restitution Fund is exhausted. Additional amounts (up to $125,000,000)
          will be paid by Equifax Inc. as needed on a monthly basis within 14
          Business Days after receipt of written notification from the Settlement
          Administrator that there are insufficient funds remaining in the Consumer
          Restitution Fund to pay valid Out-of-Pocket Losses. These amounts will
          be paid only on an as-needed basis and may not be used for any purpose
          other than paying valid Out-of-Pocket Losses once the Consumer
          Restitution Fund no longer has any available funds to pay such claims.

3.3       The Consumer Restitution Fund Account shall be an account established
          at a financial institution approved by Class Counsel and Defendants and,
          pursuant to Section 3.9, shall be maintained as a qualified settlement fund
          pursuant to Treasury Regulation § 1.468B-1, et seq.

3.4       No amounts may be withdrawn from the Consumer Restitution Fund
          Account unless (i) expressly authorized by this Agreement or (ii)
          approved by the Court. Class Counsel may authorize the payment of
          actual reasonable Administrative Costs and Notice Costs from the
          Consumer Restitution Fund Account without further order of the Court.
          The Settlement Administrator shall provide Class Counsel and Defendants
          with notice of any withdrawal or other payment the Settlement
          Administrator proposes to make from the Consumer Restitution Fund
          Account before the Effective Date at least 5 Business Days prior to
          making such withdrawal or payment.

3.5       The Settlement Administrator, subject to such supervision and direction of
          the Court and Class Counsel as may be necessary or as circumstances may
          require, shall administer and oversee distribution of the Consumer
          Restitution Fund to Settlement Class Members pursuant to this
          Agreement.

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3.6        The Settlement Administrator and Class Counsel are responsible for
           communicating with Settlement Class Members regarding the distribution
           of the Consumer Restitution Fund and amounts paid under the Settlement.

3.7        All funds held in the Consumer Restitution Fund Account relating to the
           Settlement shall be deemed to be in the custody of the Court until such
           time as the funds shall be distributed to Settlement Class Members or
           otherwise disbursed pursuant to this Agreement or further order of the
           Court.

3.8        Any funds in the Consumer Restitution Fund Account in excess of two
           hundred fifty thousand United States Dollars ($250,000) shall be invested
           in short term United States Agency or Treasury Securities, repurchase
           agreements collateralized by such instruments, or a mutual fund invested
           solely in such instruments, and shall collect and reinvest all earnings
           accrued thereon. Any funds held in the Consumer Restitution Fund
           Account in an amount of less than $250,000 may be held in an interest-
           bearing account insured by the Federal Deposit Insurance Corporation
           (“FDIC”) or may be invested as funds in excess of $250,000 are invested.
           Funds may be placed in a non-interest-bearing account as may be
           reasonably necessary during the check clearing process.

3.9        The Parties agree that the Consumer Restitution Fund is intended to be
           maintained as a qualified settlement fund within the meaning of Treasury
           Regulation § 1.468B-1, and that the Settlement Administrator, within the
           meaning of Treasury Regulation § 1.468B-2(k)(3), shall be responsible
           for filing tax returns and any other tax reporting for or in respect of the
           Consumer Restitution Fund and paying from the Consumer Restitution
           Fund any Taxes owed with respect to the Consumer Restitution Fund. The
           Parties agree that the Consumer Restitution Fund shall be treated as a
           qualified settlement fund from the earliest date possible, and agree to any
           relation-back election required to treat the Consumer Restitution Fund as
           a qualified settlement fund from the earliest date possible.

3.10       All Taxes relating to the Consumer Restitution Fund shall be paid out of
           the Consumer Restitution Fund, shall be considered to be an
           Administrative Cost of the Settlement, and shall be timely paid by the
           Settlement Administrator without prior order of the Court. Further, the

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           Consumer Restitution Fund shall indemnify and hold harmless the Parties
           and their counsel for Taxes (including, without limitation, taxes payable
           by reason of any such indemnification payments).

3.11       The Parties and their respective counsel have made no representation or
           warranty with respect to the tax treatment by any Settlement Class
           Representative or any Settlement Class Member of any payment or
           transfer made pursuant to this Agreement or derived from or made
           pursuant to the Consumer Restitution Fund.

3.12       Each Settlement Class Representative and Settlement Class Member shall
           be solely responsible for the federal, state and local tax consequences to
           him, her or it of the receipt of funds from the Consumer Restitution Fund
           pursuant to this Agreement.

4     RELIEF PROVIDED OUTSIDE OF THE CONSUMER RESTITUTION
      FUND
4.1        Business Practices Commitments.

          4.1.1      Equifax will adopt, pay for, and implement, (or maintain where
                     such Business Practices Commitments have been implemented)
                     the Business Practices Commitments related to information
                     security to safeguard Settlement Class Members’ “Personal
                     Information” as defined and as set forth in Exhibit 2.

          4.1.2      Equifax’s Business Practices Commitments will be
                     memorialized in an order to be entered by the Court in
                     connection with the Judgment and materially identical to the
                     Proposed Consent Order attached as Exhibit 3 to this
                     Agreement, and thereby will be subject to independent
                     supervision and judicial enforcement.

          4.1.3      From the Effective Date neither Equifax nor any of its Affiliates
                     will use or seek to enforce any arbitration provision or class
                     action waiver in any Equifax product or service that has been
                     offered in response to the Data Breach as of the date of this
                     Agreement, or that is otherwise provided by Equifax under this


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                   Agreement, against consumers for claims related to or arising
                   from the Data Breach. This provision cannot be superseded or
                   modified by any agreement pertaining to any other Equifax
                   product or service or any product or service offered by one of
                   Equifax’s Affiliates, parents, successors, agents, subsidiaries, or
                   assigns.

         4.1.4     Equifax will implement a program to provide prompt notice of
                   any future breaches of consumer information consistent with
                   the requirements of all federal and state regulations.

         4.1.5     Plaintiffs through Class Counsel began negotiating a potential
                   resolution of the Actions in September 2017, which included
                   proposed business practices commitments, and the settlement
                   process continued over approximately 18 months resulting in
                   the Business Practices Commitments as described in Exhibit 2,
                   which were finalized as part of the Parties’ binding term sheet
                   executed on March 30, 2019.

4.2       Credit Freezes and Unfreezes. Separate from and in addition to the
          Consumer Restitution Fund, and notwithstanding any provision of law
          related to payment for placement and removal of credit freezes, all
          Settlement Class Members will be eligible to place and remove credit
          freezes on their Equifax Information Services, LLC (“EIS”) credit files,
          free of charge, enforceable under this Agreement for 10 years without
          filing a claim.

4.3       Continuation of Monitoring. Separate from and in addition to the
          Consumer Restitution Fund, Equifax has provided Settlement Class
          Members who enrolled in TrustedID Premier monitoring provided by
          Equifax following the Data Breach with an additional one year of credit
          monitoring services known as IDNotify to allow for continuity of these
          services.

5     PAYMENTS FROM THE CONSUMER RESTITUTION FUND
5.1       The Consumer Restitution Fund will be used to fund the consumer
          restitution and redress described in the Settlement provisions listed in

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          Sections 6, 7.1, 7.2, 7.5, 9, 10, and 11. Equifax will separately pay all
          other costs of the Settlement.

5.2       To the extent the aggregate amounts required to fund the Settlement
          provisions listed in Sections 6 and 7.5 exceed the amount of the
          Consumer Restitution Fund (and, for Out-of-Pocket Losses, exceeds the
          amounts available in Section 3.2 providing for Additional Amounts for
          Out-of-Pocket Losses) remaining after distributions are made to fund the
          Settlement provisions listed in Sections 7.1, 7.2, 9, 10, and 11 at the end
          of the Initial Claims Period, the cash payments provided in these
          provisions shall be reduced on a pro rata basis, meaning cash payments
          shall be allocated based on each claimant’s proportional share of the
          remainder of the Consumer Restitution Fund.

5.3       Payment of Approved Out-of-Pocket Loss Claims During Extended
          Claims Period. Subject to the requirements of Section 8.1.2, approved
          Out-of-Pocket Loss claims filed during the Extended Claims Period will
          be paid in full from the Consumer Restitution Fund on a rolling basis in
          the order that such claims are received by the Settlement Administrator,
          up to an amount that exhausts the Consumer Restitution Fund, and, if
          applicable, the Additional Amounts for Out-of-Pocket Losses available in
          Section 3.2.

5.4       Use of Remaining Amounts in the Consumer Restitution Fund. Any
          remaining funds in the Consumer Restitution Fund after the payments
          described in Sections 6, 7.1, 7.2, 7.5, 9, 10, and 11, and after the
          conclusion of the Extended Claims Period and payment of approved Out-
          of-Pocket Loss claims filed during the Extended Claims Period, will be
          used as follows:

         5.4.1      First, the caps in Sections 6.2.6 and 7.5 will be lifted (if
                    applicable) and payments increased pro rata to Settlement
                    Class Members with valid claims up to the full amount of the
                    approved claim submitted under those Sections.

         5.4.2      Second, if the payments described in Sections 5.4.1 do not
                    exhaust the Consumer Restitution Fund, then any remaining
                    funds shall be used to purchase up to 36 months of additional

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                    Restoration Services (purchased in full-month increments).

         5.4.3      Third, if the payments described in Sections 5.4.1 and 5.4.2 do
                    not exhaust the Consumer Restitution Fund, remaining amounts
                    in the Consumer Restitution Fund will be used to purchase
                    additional Credit Monitoring Services (purchased in monthly,
                    weekly, or daily increments to exhaust any remaining funds) for
                    those Settlement Class Members who have enrolled in such
                    services under Section 7.1.

5.5       Use of Unclaimed Funds. Upon completion of the distributions identified
          in Sections 5.1 through 5.4, and after the Settlement Administrator
          completes its duties with respect to delivering settlement funds to
          Settlement Class Members with valid claims as set forth in Section
          14.1.16, any remaining funds resulting from the failure of Settlement
          Class Members to timely negotiate a settlement check or to timely provide
          required tax information such that a settlement check could issue, shall be
          distributed to Settlement Class Members, or as otherwise ordered by the
          Court, for consumer restitution and redress but in no event shall any of the
          Consumer Restitution Fund revert to Equifax.

6     REIMBURSEMENT FOR OUT-OF-POCKET LOSSES
6.1       The Settlement Administrator will use the Consumer Restitution Fund to
          compensate those Settlement Class Members who submit valid claims for
          Out-of-Pocket Losses. Settlement Class Members will be subject to an
          aggregate claims cap of twenty thousand United States Dollars ($20,000)
          paid directly from the Consumer Restitution Fund regardless of the
          number of claims submitted by the Settlement Class Member during the
          Initial Claims Period and Extended Claims Period. This provision does
          not prevent Settlement Class Members from submitting claims under
          applicable insurance policies.

6.2       “Out-of-Pocket Losses” are verifiable unreimbursed costs or expenditures
          that a Settlement Class Member actually incurred and that are fairly
          traceable to the Data Breach. Out-of-Pocket Losses may include, without
          limitation, the following:


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   6.2.1     unreimbursed costs, expenses, losses or charges incurred as a
             result of identity theft or identity fraud, falsified tax returns, or
             other alleged misuse of a Settlement Class Member’s personal
             information;

   6.2.2     costs incurred on or after September 7, 2017, associated with
             placing or removing a credit freeze on a Settlement Class
             Member’s credit file with any credit reporting agency;

   6.2.3     other miscellaneous expenses incurred related to any Out-of-
             Pocket Loss such as notary, fax, postage, copying, mileage, and
             long-distance telephone charges;

   6.2.4     credit monitoring costs that were incurred on or after September
             7, 2017, through the date of the Settlement Class Member’s
             claim submission;

   6.2.5     up to 25% reimbursement for costs incurred by a Settlement
             Class Member in connection with Equifax credit or identity
             monitoring subscription products in the 12 months preceding
             September 7, 2017;

   6.2.6     subject to the provisions of Section 8.4 regarding Documented
             Time and Self-Certified Time and Section 8.1.2 regarding
             claims during the Extended Claims Period, up to 20 total hours
             for time spent taking Preventative Measures and time spent
             remedying fraud, identity theft, or other misuse of a Settlement
             Class Member’s personal information that is fairly traceable to
             the Data Breach at $25 per hour. Up to thirty-one million
             United States Dollars ($31,000,000) of the Consumer
             Restitution Fund will be used to compensate Settlement Class
             Members for time under this Section that is claimed during the
             Initial Claims Period. If the settlement payments for time
             claimed during the Initial Claims Period exceed this amount,
             then payments for time shall be distributed pro rata to those
             making valid claims for time during the Initial Claims Period.
             Approved claims for Documented Time and Self-Certified
             Time filed during the Extended Claims Period will be paid in

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                    the order they are received and approved at the same pro rata
                    rate (if applicable) as claims for Documented Time and Self-
                    Certified Time filed during the Initial Claims Period, up to an
                    aggregate cap for Documented Time and Self-Certified Time
                    during both the Initial and Extended Claims Period of thirty-
                    eight million United States Dollars ($38,000,000). After
                    passage of the Extended Claims Period and payment of
                    approved claims filed during the Extended Claims Period,
                    claims for time spent may be subject to the provisions of
                    Section 5.4.1, if applicable, in which case all approved claims
                    for time will be paid at the same pro rata rate.

7     CREDIT  MONITORING,  RESTORATION   SERVICES,                             AND
      ALTERNATIVE REIMBURSEMENT COMPENSATION
7.1       All Settlement Class Members will be eligible to claim and enroll in at
          least 4 years of Credit Monitoring Services, a description of which is set
          forth in Exhibit 4. These services will be provided by Experian, which
          will be appointed by the Court as the provider of Credit Monitoring
          Services and be subject to the Court’s jurisdiction for enforcement of the
          terms of this Settlement.

         7.1.1      Minors: For Settlement Class Members who were under the
                    age of 18 on May 13, 2017, during the period when a
                    Settlement Class Member is under the age of 18 the monitoring
                    made available will be the minor monitoring services provided
                    by Experian as described in Exhibit 4.

7.2       All Settlement Class Members (regardless of whether the Settlement
          Class Member makes any claim under the Settlement) will also be able to
          access Restoration Services, a description of which is set forth in Exhibit
          4. These services will be provided by Experian. The Restoration Services
          include access to a U.S. based call center providing services relating to
          identity theft, fraud and identity restoration for a period of 7 years.

7.3       Equifax represents and warrants that it is not an Affiliate of Experian and
          has no financial interest in Experian. Equifax will not receive any
          monetary or other financial consideration for the Credit Monitoring

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          Services or Restoration Services made available under this Settlement.
          Equifax will provide its data necessary to carry out these services to
          Experian free of charge.

7.4       Settlement Class Members who elect to enroll in Credit Monitoring
          Services within the Initial Claims Period shall have the option to make a
          claim for One-Bureau Credit Monitoring Services at the same time they
          claim Credit Monitoring Services. The One-Bureau Credit Monitoring
          Services will be provided by Equifax for a period of no more than 6 years
          beginning after the date on which the Credit Monitoring Services
          described in Section 7.1 above (including any additional monthly
          increments provided pursuant to Section 5.4.3) expire. The aggregate term
          of the Credit Monitoring Services and the One-Bureau Credit Monitoring
          Services will equal 10 years. A description of the One Bureau Credit
          Monitoring Services is set forth in Exhibit 4. The cost of the One-Bureau
          Credit Monitoring Services will be paid separately by Equifax, not from
          the Consumer Restitution Fund.

         7.4.1      Minors: For Settlement Class Members who were under the
                    age of 18 on May 13, 2017, One-Bureau Credit Monitoring
                    Services will be provided by Equifax for a period of no more
                    than 14 years beginning after the date on which the Credit
                    Monitoring Services described in Section 7.1 above expire. The
                    aggregate term of the Credit Monitoring Services and the One
                    Bureau Credit Monitoring Services will equal 18 years. During
                    the period when a Settlement Class Member is under the age of
                    18, the monitoring made available will be the minor monitoring
                    services provided by Equifax described in Exhibit 4.

7.5       Settlement Class Members who already have some form of credit
          monitoring or protection and do not claim the Credit Monitoring Services
          available under Section 7.1 may file a claim for Alternative
          Reimbursement Compensation of $125. The Settlement Class Member
          must identify the monitoring service and certify that he or she has some
          form of credit monitoring or protection as of the date the Settlement Class
          Member submits the claim and will have such credit monitoring in place
          for a minimum of six (6) months from the claim date. Settlement Class


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          Members who elect to receive Alternative Reimbursement Compensation
          under this provision are not eligible to enroll in Credit Monitoring
          Services offered under Section 7.1 or to seek reimbursement, as Out-of-
          Pocket Losses, for purchasing credit monitoring or protection services
          covering the six-month period after the claim date. Up to thirty-one
          million United States Dollars ($31,000,000) of the Consumer Restitution
          Fund will be used to provide Alternative Reimbursement Compensation
          to Settlement Class Members under this provision. If payments for
          Alternative Reimbursement Compensation under this provision exceed
          the cap set forth in the preceding sentence, then payments for such
          Alternative Reimbursement Compensation shall be distributed pro rata to
          those making valid claims for Alternative Reimbursement Compensation.
          After passage of the Extended Claims Period, claims for Alternative
          Reimbursement Compensation may be subject to the provisions of
          Section 5.4.1, if applicable.

7.6       Claims for Credit Monitoring Services and Alternative Reimbursement
          Compensation can be made only within the Initial Claims Period.

7.7       The Parties, Class Counsel, and Defendants’ Counsel shall not have any
          liability whatsoever with respect to any act or omission of Experian, or
          any of its respective designees or agents, in connection with its provision
          of Credit Monitoring Services or Restoration Services or the performance
          of its duties under this Agreement.

7.8       If, at the end of the Initial Claims Period, more than 7 million Settlement
          Class Members have enrolled in the Credit Monitoring Services, the
          following obligations apply:

         7.8.1      If the total payments required under Sections 6, 7.2, 7.5, 9, and
                    10, plus the cost of providing the Credit Monitoring Services to
                    7 million Settlement Class Members (the “Costs”) are greater
                    than or equal to Three Hundred Million Dollars ($300,000,000),
                    Equifax Inc. shall pay into the Consumer Restitution Fund an
                    amount equal to the cost of providing Credit Monitoring
                    Services to enrollees above 7 million (the “Additional Credit
                    Monitoring Cost”)


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         7.8.2      If the Costs are less than Two Hundred Fifty Six Million Five
                    Hundred Thousand Dollars ($256,500,000) and the Additional
                    Credit Monitoring Cost is greater than Forty Three Million Five
                    Hundred Thousand Dollars ($43,500,000), Equifax Inc. shall
                    pay into the Consumer Restitution Fund an amount equal to the
                    Additional Credit Monitoring Cost less Forty Three Million
                    Five Hundred Thousand Dollars ($43,500,000)

         7.8.3      If (i) the Costs are greater than or equal to Two Hundred Fifty
                    Six Million Five Hundred Thousand Dollars ($256,500,000),
                    but less than Three Hundred Million Dollars ($300,000,000)
                    and (ii) the Costs plus the Additional Credit Monitoring Costs
                    are greater than or equal to Three Hundred Million Dollars
                    ($300,000,000), Equifax Inc. shall pay into the Consumer
                    Restitution Fund an amount equal to the Costs plus Additional
                    Credit Monitoring Costs less Three Hundred Million Dollars
                    ($300,000,000).

7.9       If, during the Extended Claims Period, more than 7 million Settlement
          Class Members have enrolled in Credit Monitoring Services and either (i)
          the Costs are greater than or equal to Two Hundred Fifty Six Million Five
          Hundred Thousand Dollars ($256,500,000) or (ii) the Additional Credit
          Monitoring Costs are greater than Forty Three Million Five Hundred
          Thousand Dollars ($43,500,000) then, at least on a monthly basis, Equifax
          Inc. shall recalculate its obligations under Sections 7.8.1 through 7.8.3,
          and shall deposit any additional money into the Consumer Restitution
          Fund that would be required, less any amounts previously deposited
          pursuant to Sections 7.8.1 through 7.8.3, or previously under this Section.

8     CLAIMS PERIODS AND PROCESS
8.1       Claims Periods. There will be two claims periods: the Initial Claims
          Period and the Extended Claims Period.

         8.1.1      The Initial Claims Period will run for 6 months after the Order
                    Permitting Issuance of Notice of Class Action Settlement.

         8.1.2      The Extended Claims Period will run for 4 years after the

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                    conclusion of the Initial Claims Period. During the Extended
                    Claims Period, Settlement Class Members can seek
                    reimbursement for valid Out-of-Pocket Losses (excluding
                    losses of money and time associated with Preventative
                    Measures) incurred during the Extended Claims Period only if
                    the Settlement Class Member provides a certification that he or
                    she has not obtained reimbursement for the claimed expense
                    through other means.

8.2       Claims Process. Settlement Class Members may submit Claim Forms to
          the Settlement Administrator electronically through the Settlement
          Website or physically by mail to the Settlement Administrator. Claim
          Forms must be submitted electronically or postmarked during the Initial
          Claims Period, or, where applicable, during the Extended Claims Period.
          Where applicable, the Settlement Administrator shall apply the Claims
          Administration Protocol, attached as Exhibit 9.

8.3       Claims for Reimbursement for Out-of-Pocket Losses under Section 6. The
          Settlement Administrator shall verify that each person who submits a
          Claim Form is a Settlement Class Member and shall be responsible for
          evaluating claims and making a determination as to whether claimed Out-
          of-Pocket Losses are valid and fairly traceable to the Data Breach.
          Settlement Class Members with Out-of-Pocket Losses must submit
          Reasonable Documentation supporting their claims, except no
          documentation is required for claims for reimbursement for Equifax
          subscription products as provided in Section 6.2.5. As used herein,
          “Reasonable Documentation” means documentation supporting a claim,
          including but not limited to: credit card statements, bank statements,
          invoices, telephone records, and receipts. Except as expressly provided
          herein, personal certifications, declarations, or affidavits from the
          claimant do not constitute Reasonable Documentation but may be
          included to provide clarification, context or support for other submitted
          Reasonable Documentation.

         8.3.1      In assessing what qualifies as “fairly traceable,” the Parties
                    agree to instruct the Settlement Administrator to consider (i) the
                    timing of the loss, including whether the loss occurred on or


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                   after May 13, 2017, through the date of the Class Member’s
                   claim submission; (ii) whether the loss involved the possible
                   misuse of the type of personal information accessed in the Data
                   Breach (i.e., name, address, birth date, Social Security Number,
                   driver’s license number, payment card information); (iii)
                   whether the personal information accessed in the Data Breach
                   that is related to the Class Member is of the type that was
                   possibly misused; (iv) the Class Member’s explanation as to
                   how the loss is fairly traceable to the Data Breach; (v) the
                   nature of the loss, including whether the loss was reasonably
                   incurred as a result of the Data Breach; and (vi) any other factor
                   that the Settlement Administrator considers to be relevant. The
                   Settlement Administrator shall have the sole discretion and
                   authority to determine whether claimed Out-of-Pocket Losses
                   are valid and fairly traceable to the Data Breach.

         8.3.2     Out-of-Pocket Losses associated with placing or removing
                   credit freezes on credit files (Section 6.2.2.) and purchasing
                   credit monitoring services (Section 6.2.4) (“Preventative
                   Measures”), shall be deemed fairly traceable to the Data Breach
                   if (i) they were incurred on or after September 7, 2017, through
                   the date of the Settlement Class Member’s claim submission,
                   and (ii) the claimant certifies that they incurred such Out-of-
                   Pocket Losses as a result of the Data Breach and not as a result
                   of any other compromise of the Settlement Class Member’s
                   information.

8.4       Claims for Time. Settlement Class Members who spent time remedying
          fraud, identity theft, or other alleged misuse of the Settlement Class
          Member’s personal information fairly traceable to the Data Breach, or
          subject to Section 8.1.2, Settlement Class Members who spent time on
          Preventative Measures fairly traceable to the Data Breach, can receive
          reimbursement for such time expenditures subject to the following
          provisions.

         8.4.1     Documented Time. Settlement Class Members with (i)
                   Reasonable Documentation of fraud, identity theft, or other


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                   alleged misuse of the Settlement Class Member’s personal
                   information fairly traceable to the Data Breach and (ii) time
                   spent remedying these issues, or time spent taking Preventative
                   Measures, may submit a claim for up to 20 hours of such time
                   to be compensated at $25 per hour. This documentation may
                   overlap with documents submitted to support other Out-of-
                   Pocket Losses. In the event the Settlement Administrator does
                   not approve a claim for Documented Time, that claim shall be
                   treated as a claim for Self-Certified Time and be subject to the
                   provisions of Section 8.4.2.

         8.4.2     Self-Certified Time. Settlement Class Members who attest (i) to
                   fraud, identity theft, or other alleged misuse of the Settlement
                   Class Member’s personal information fairly traceable to the
                   Data Breach, or Preventative Measures, and (ii) that they spent
                   time remedying such misuse or taking Preventative Measures,
                   but who cannot provide Reasonable Documentation of such
                   issues may self-certify the amount of time they spent remedying
                   the foregoing by providing a certified explanation of the misuse
                   or Preventative Measures taken and how the time claimed was
                   spent remedying the misuse or taking Preventative Measures.
                   Settlement Class Members may file a claim for Self-Certified
                   Time for up to 10 hours at $25 per hour.

         8.4.3     Time Increments. Valid claims for both Documented Time and
                   Self-Certified Time will be reimbursed in 15-minute
                   increments, with a minimum reimbursement of 1-hour per valid
                   Out-of-Pocket Loss claim for time.

8.5       Disputes and Appeals.

         8.5.1     To the extent the Settlement Administrator determines a claim
                   for Out-of-Pocket Losses, Alternative Reimbursement
                   Compensation, or Credit Monitoring Services is deficient in
                   whole or part, within 14 days after making such a
                   determination, the Settlement Administrator shall notify the
                   Settlement Class Member in writing (including by e-mail where
                   the Settlement Class Member selects e-mail as his or her

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             preferred method of communication) of the deficiencies and
             give the Settlement Class Member 30 days to cure the
             deficiencies. The notice shall inform the Settlement Class
             Member that he or she can either attempt to cure the
             deficiencies outlined in the notice, or dispute the determination
             in writing and request an appeal. If the Settlement Class
             Member attempts to cure the deficiencies but, in the sole
             discretion and authority of the Settlement Administrator fails to
             do so, the Settlement Administrator shall notify the Settlement
             Class Member of that determination within 14 days of the
             determination. The notice shall inform the Settlement Class
             Member of his or her right to dispute the determination in
             writing and request an appeal within 30 days. The Settlement
             Administrator shall have the sole discretion and authority to
             determine whether a claim for Out-of-Pocket Losses,
             Alternative Reimbursement Compensation, or Credit
             Monitoring Services is deficient in whole or part but may
             consult with the Parties in making individual determinations.

   8.5.2     If a Settlement Class Member disputes a determination in
             writing (including by e-mail where the Settlement Class
             Member selects e-mail as his or her preferred method of
             communication) and requests an appeal, the Settlement
             Administrator shall provide Class Counsel and Defendants’
             Counsel a copy of the Settlement Class Member’s dispute and
             Claim Form along with all documentation or other information
             submitted by the Settlement Class Member. Class Counsel and
             Defendants’ Counsel will confer regarding the claim
             submission, and their agreement on approval of the Settlement
             Class Member’s claim, in whole or part, will be final. If Class
             Counsel and Defendants’ Counsel cannot agree on approval of
             the Settlement Class Member’s claim, in whole or part, the
             dispute will be submitted to a mutually-agreeable neutral third-
             party who will serve as the claims referee. If no agreement is
             reached on selection of the claims referee, the Parties will
             submit proposals to the Court. The Court will have final, non-
             appealable decision-making authority over designating the

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                     claims referee. The claims referee’s decision will be final and
                     not subject to appeal or further review.

9     ADMINISTRATIVE COSTS AND NOTICE COSTS
9.1        The Administrative Costs and Notice Costs will be paid from the
           Consumer Restitution Fund. However, if the amount of Notice Costs
           exceeds more than a specified dollar amount, as agreed to by the Parties
           and submitted to the Court for in camera review, either of the Parties may
           terminate this Agreement.

10 SERVICE AWARDS
10.1       Settlement Class Representatives and Class Counsel may seek Service
           Awards for the Settlement Class Representatives. Any requests for such
           awards must be filed at least 21 days before the Objection Deadline.
           Equifax agrees not to oppose requests for such Service Awards to the
           extent they do not exceed two thousand five hundred United States
           Dollars ($2,500) per Settlement Class Representative.

10.2       The Settlement Administrator shall pay the Service Awards approved by
           the Court to the Settlement Class Representatives from the Consumer
           Restitution Fund, which shall not exceed two hundred and fifty thousand
           United States Dollars ($250,000) of the Consumer Restitution Fund. Such
           Service Awards shall be paid in the amount approved by the Court within
           10 Business Days of the Effective Date.

10.3       In the event the Court declines to approve, in whole or in part, the
           payment of the Service Awards in the amounts requested, the remaining
           provisions of this Agreement shall remain in full force and effect. No
           decision by the Court, or modification or reversal or appeal of any
           decision by the Court, concerning the amount of Service Awards shall
           constitute grounds for cancellation or termination of this Agreement.

11 ATTORNEYS’ FEES AND EXPENSES
11.1       Plaintiffs, through Class Counsel, will request up to $77,500,000 of the
           Consumer Restitution Fund (representing 25% of the Settlement Fund
           negotiated as part of the March 30, 2019, term sheet) to pay reasonable

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           attorneys’ fees for work performed by Class Counsel or other counsel
           working at their direction in connection with this litigation, to be
           distributed as determined by Class Counsel. In addition to fees, plaintiffs
           will also request reimbursement of reasonable costs and expenses incurred
           in connection with the litigation up to three million United States Dollars
           ($3,000,000), which shall also be paid from the Consumer Restitution
           Fund. Class Counsel will make such applications as provided under the
           Federal Rules of Civil Procedure and Equifax agrees not to take a position
           on such applications. Any such applications must be filed at least 21 days
           before the Objection Deadline.

11.2       The Settlement Administrator shall pay the attorneys’ fees, costs, and
           expenses awarded by the Court, plus any interest accrued on the amount
           of the approved attorneys’ fees, to Class Counsel from the Consumer
           Restitution Fund. Such attorneys’ fees, costs, and expenses shall be paid
           in the amount approved by the Court within 10 Business Days of the
           Effective Date.

11.3       Defendants shall have no responsibility for, interest in, or liability
           whatsoever with respect to any payment or allocation of attorneys’ fees,
           costs, and expenses to or made by Class Counsel under this Agreement.

11.4       The finality or effectiveness of the Settlement will not be dependent on
           the Court awarding Class Counsel any particular amount of attorneys’
           fees and costs. In the event the Court declines to approve, in whole or in
           part, the payment of the attorneys’ fees, costs, or expenses in the amounts
           requested, the remaining provisions of this Agreement shall remain in full
           force and effect. No decision by the Court, or modification or reversal or
           appeal of any decision by the Court, concerning the amount of attorneys’
           fees, costs, and expenses shall constitute grounds for cancellation or
           termination of this Agreement.

12 PRESENTATION TO THE COURT
12.1       On or after July 15, 2019, Settlement Class Representatives and Class
           Counsel will file this Agreement and Exhibits, along with a motion for
           Order Permitting Issuance of Notice of Class Action Settlement pursuant
           to the requirements of Federal Rule of Civil Procedure 23(e)(1).

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12.2       Class Counsel shall apply to the Court for entry of the Order Permitting
           Issuance of Notice of Class Action Settlement attached hereto as Exhibit
           5.

13 CLASS NOTICE, OPT-OUTS, OBJECTIONS, AND CAFA NOTICE
13.1       Notice shall not be distributed or disseminated until after the Court enters
           the Order Permitting Issuance of Notice of Class Action Settlement.

13.2       The Notice Provider is responsible for distributing and disseminating the
           Notice in accordance with the Notice Plan, Exhibit 6 hereto.

13.3       Defendants shall provide the Settlement Administrator with the names,
           last known mailing address, date of birth, and last known e-mail addresses
           of Settlement Class Members to the extent reasonably available, no later
           than 5 Business Days after the date on which the Court enters the Order
           Permitting Issuance of Notice of Class Action Settlement. To the extent
           that Equifax has reasonably available names or other identifying
           information about Settlement Class Members, but not mailing or email
           addresses, those names and other identifying information shall also be
           provided to the Settlement Administrator for use in verifying the identity
           of Settlement Class Members. The Notice Provider and Settlement
           Administrator shall make all necessary efforts to ensure the security and
           privacy of Settlement Class Member information.

13.4       Class Counsel shall provide the Settlement Administrator with the names,
           last known mailing address, and last known email addresses of Settlement
           Class Representatives and any other putative class member who has
           reported updated address information to Class Counsel, no later than 5
           Business Days after the date on which the Court enters the Order
           Permitting Issuance of Notice of Class Action Settlement.

13.5       The Notice shall explain the procedure for Settlement Class Members to
           opt-out and exclude themselves from the Settlement Class by notifying
           the Settlement Administrator in writing, postmarked no later than 60 days
           after the Notice Date (the “Opt-Out Deadline”). Each written request for
           exclusion must set forth the name of the individual seeking exclusion, be



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           signed by the individual seeking exclusion, and can only request
           exclusion for that one individual.

13.6       The Notice shall explain the procedure for Settlement Class Members to
           object to the Settlement by submitting written objections to the Court no
           later than 60 days after the Notice Date (the “Objection Deadline”). The
           written objection must include the objector’s name, address, personal
           signature, a statement of the specific grounds for the objection, a
           statement indicating the basis for the objector’s belief that he or she is a
           member of the Settlement Class, a statement of whether the objection
           applies only to the objector, to a specific subset of the Settlement Class, or
           to the entire Settlement Class, a statement identifying all class action
           settlements objected to by the Settlement Class Member in the previous 5
           years, a statement whether the objector intends to appear at the Fairness
           Hearing, either in person or through counsel, and if through counsel,
           identifying counsel by name, address, and telephone number, and four
           dates between the Objection Deadline and a date two weeks before
           Fairness Hearing, during which the Settlement Class Member is available
           to be deposed by counsel for the Parties. In addition to the foregoing, if
           the Settlement Class Member is represented by counsel and such counsel
           intends to speak at the Fairness Hearing, the written objection must
           include a detailed statement of the specific legal and factual basis for each
           and every objection and a detailed description of any and all evidence the
           objecting Settlement Class Member may offer at the Fairness Hearing,
           including copies of any and all exhibits that the objecting Settlement
           Class Member may introduce at the Fairness Hearing. In addition to the
           foregoing, if the Settlement Class Member is represented by counsel, and
           such counsel intends to seek compensation for his or her services from
           anyone other than the Settlement Class Member, the objection shall
           contain the following information: (a) the identity of all counsel who
           represent the objector, including any former or current counsel who may
           be entitled to compensation for any reason related to the objection; (b) a
           statement identifying all instances in which the counsel or the counsel’s
           law firm have objected to a class action settlement within the preceding 5
           years, giving the style and court in which the class action settlement was
           filed; (c) a statement identifying any and all agreements that relate to the
           objection or the process of objecting—whether written or oral—between

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           the Settlement Class Member, his or her counsel, and/or any other person
           or entity; (d) a description of the counsel’s legal background and prior
           experience in connection with class action litigation; and (e) a statement
           regarding whether fees to be sought will be calculated on the basis of a
           lodestar, contingency, or other method; an estimate of the amount of fees
           to be sought; the factual and legal justification for any fees to be sought;
           the number of hours already spent by the counsel and an estimate of the
           hours to be spent in the future; and the attorney’s hourly rate.

13.7       The Notice will also state that any Settlement Class Member who does not
           file a timely and adequate notice of intent in accordance with this Section
           waives the right to object or to be heard at the Fairness Hearing and shall
           be forever barred from making any objection to the Settlement.

13.8       Equifax will serve the notice required by the Class Action Fairness Act of
           2005, 28 U.S.C. § 1715, no later than 10 days after this Agreement is filed
           with the Court.

14 DUTIES OF SETTLEMENT ADMINISTRATOR
14.1       The Settlement Administrator shall perform the functions as are specified
           in this Agreement and its Exhibits, including, but not limited to,
           overseeing administration of the Consumer Restitution Fund; operating
           the Settlement Website and a toll-free number; administering the claims
           processes; and distributing the Settlement benefits described herein. These
           functions may need to be performed in conjunction with the Notice
           Provider, as described herein. In addition to other responsibilities that are
           described in this Agreement, the duties of the Settlement Administrator
           include:

          14.1.1     Reviewing, determining the validity of, and processing all
                     claims submitted by Settlement Class Members;

          14.1.2     Establishing a reasonably practical procedure, using
                     information obtained from Equifax pursuant to Section 13.3, to
                     verify that claimants are Settlement Class Members.

          14.1.3     Establishing and maintaining a post office box for mailed


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             written objections and notifications of exclusion from the
             Settlement Class;

   14.1.4    Establishing and maintaining the Settlement Website that,
             among other things, allows Settlement Class Members to
             submit Claims Forms electronically;

   14.1.5    Responding to Settlement Class Member inquiries via U.S.
             mail, e-mail, and telephone;

   14.1.6    Establishing and maintaining a toll-free telephone line for
             Settlement Class Members to call with Settlement-related
             inquiries, and answering the questions of Settlement Class
             Members who call with or otherwise communicate such
             inquiries;

   14.1.7    Mailing to Settlement Class Members who request it paper
             copies of the Notice and Claim Forms;

   14.1.8    Reviewing, determining the validity of, and processing all
             claims submitted by Settlement Class Members, pursuant to
             Section 8;

   14.1.9    Paying Taxes;

   14.1.10   Processing all objections and requests for exclusion from the
             Settlement Class;

   14.1.11   Coordinating with Experian to receive and send activation
             codes for Credit Monitoring Services no later than 45 days after
             the Effective Date or the conclusion of the Initial Claims
             Period, whichever is later;

   14.1.12   Receiving requests for exclusion and objections from
             Settlement Class Members and promptly providing copies
             thereof to Class Counsel and Defendants’ Counsel. If the
             Settlement Administrator receives any requests for exclusion,
             objections, or other requests from Settlement Class Members
             after the Opt-Out and Objection Deadlines, the Settlement

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             Administrator shall promptly provide copies thereof to Class
             Counsel and Defendants’ Counsel;

   14.1.13   Providing, no later than 5 Business Days after the Opt-Out and
             Objection Deadlines, a final report to Class Counsel and
             Defendants’ Counsel that summarizes the number of written
             requests for exclusion, objections, and other pertinent
             information as requested by Class Counsel or Defendants’
             Counsel;

   14.1.14   Providing weekly reports and a final report to Class Counsel
             and Defendants’ Counsel that summarize the number of Claims
             since the prior reporting period, the total number of Claims
             received to date, the number of any Claims approved and
             denied since the prior reporting period, the total number of
             Claims approved and denied to date, and other pertinent
             information as requested by Class Counsel or Defendants’
             Counsel. The Settlement Administrator shall also, as requested
             by Class Counsel or Defendants’ Counsel and from time to
             time, provide information about the amounts remaining in the
             Consumer Restitution Fund;

   14.1.15   Making available for inspection by Class Counsel and
             Defendants’ Counsel the Claim Forms and any supporting
             documentation received by the Settlement Administrator at any
             time upon reasonable notice;

   14.1.16   After the Effective Date, processing         and   transmitting
             distributions to Settlement Class Members;

   14.1.17   In advance of the Fairness Hearing, preparing an affidavit to
             submit to the Court that: (i) provides pertinent information
             relating to the claims process as requested by Class Counsel;
             and (ii) identifies each Settlement Class Member who timely
             and properly provided written notification of exclusion from the
             Settlement Class; and

   14.1.18   Performing any function at the agreed-upon instruction of both

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                     Class Counsel and Defendants’ Counsel, including, but not
                     limited to, verifying that cash payments have been distributed
                     in accordance with Section 5.

14.2       The Parties, Class Counsel, and Defendants’ Counsel shall not have any
           liability whatsoever with respect to (i) any act, omission or determination
           of the Settlement Administrator, or any of its respective designees or
           agents, in connection with the administration of the Settlement or
           otherwise; (ii) the management, investment or distribution of the
           Consumer Restitution Fund; (iii) the formulation, design or terms of the
           disbursement of the Consumer Restitution Fund; (iv) the determination,
           administration, calculation or payment of any claims asserted against the
           Consumer Restitution Fund; (v) any losses suffered by or fluctuations in
           the value of the Consumer Restitution Fund; or (vi) the payment or
           withholding of any Taxes, expenses or costs incurred in connection with
           the taxation of the Consumer Restitution Fund or the filing of any returns.

14.3       The Settlement Administrator shall indemnify and hold harmless the
           Parties, Class Counsel, and Defendants’ Counsel for (i) any act or
           omission or determination of the Settlement Administrator, or any of
           Settlement Administrator’s designees or agents, in connection with the
           administration of the Settlement; (ii) the management, investment or
           distribution of the Consumer Restitution Fund; (iii) the formulation,
           design or terms of the disbursement of the Consumer Restitution Fund;
           (iv) the determination, administration, calculation or payment of any
           claims asserted against the Consumer Restitution Fund; (v) any losses
           suffered by, or fluctuations in the value of the Consumer Restitution
           Fund; or (vi) the payment or withholding of any Taxes, expenses, or costs
           incurred in connection with the taxation of the Consumer Restitution Fund
           or the filing of any returns.

15 DUTIES OF NOTICE PROVIDER
15.1       The Notice Provider shall perform the functions as are specified in this
           Agreement and its Exhibits, including, but not limited to implementing
           the Notice Plan attached hereto as Exhibit 6, using the methods and forms
           of Notice approved by the Court. In addition to other responsibilities that


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           are described in this Agreement and the Notice Plan, the duties of the
           Notice Provider include:

          15.1.1     Coordinating with the Settlement Administrator, Class Counsel,
                     and Defendants’ Counsel to effectuate this Agreement.

          15.1.2     Assisting the Settlement Administrator in creating and
                     maintaining the Settlement Website.

          15.1.3     Reporting to the Parties and the Court regarding the status and
                     effectiveness of the Notice Plan.

15.2       The Parties, Class Counsel, and Defendants’ Counsel shall not have any
           liability whatsoever with respect to any act or omission of the Notice
           Provider, or any of its respective designees or agents, in connection with
           its implementation of the Notice Plan and performance of its duties under
           this Agreement.

15.3       The Notice Provider shall indemnify and hold harmless the Parties, Class
           Counsel, and Defendants’ Counsel for any liability arising from the
           Notice Provider’s implementation of the Notice Plan and performance of
           its duties under this Agreement.

16 RELEASE
16.1       As of the Effective Date, all Settlement Class Members and all Settlement
           Class Representatives, on behalf of themselves, their heirs, assigns,
           executors, administrators, predecessors, and Successors, and any other
           person purporting to claim on their behalf, hereby expressly, generally,
           absolutely and unconditionally release and discharge any and all Released
           Claims against Equifax and its current, former, and future Affiliates,
           Parents, Subsidiaries, representatives, officers, agents, directors,
           employees, insurers, Successors, assigns, and attorneys, except for claims
           relating to the enforcement of the Settlement or this Agreement.

16.2       As of the Effective Date, Equifax and its representatives, officers, agents,
           directors, Affiliates, Successors, Subsidiaries, Parents, employees,
           insurers, and attorneys absolutely and unconditionally release and
           discharge Settlement Class Members, Settlement Class Representatives,

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           and Class Counsel from any claims that arise out of or relate in any way
           to the institution, prosecution, or settlement of the claims against
           Defendants, except for claims relating to the enforcement of the
           Settlement or this Agreement, and for the submission of false or
           fraudulent claims for Settlement benefits.

16.3       The Parties understand that if the facts upon which this Agreement is
           based are found hereafter to be different from the facts now believed to be
           true, each Party expressly assumes the risk of such possible difference in
           facts, and agrees that this Agreement, including the releases contained
           herein, shall remain effective notwithstanding such difference in facts.
           The Parties agree that in entering this Agreement, it is understood and
           agreed that each Party relies wholly upon its own judgment, belief, and
           knowledge and that each Party does not rely on inducements, promises, or
           representations made by anyone other than those embodied herein.

16.4       Notwithstanding any other provision of this Agreement (including,
           without limitation, this Section), nothing in this Agreement shall be
           deemed to in any way impair, limit, or preclude the Parties’ rights to
           enforce any provision of this Agreement, or any court order implementing
           this Agreement, in a manner consistent with the terms of this Agreement.

17 EFFECTIVE DATE AND TERMINATION
17.1       The Effective Date of the Settlement shall be the first Business Day after
           all of the following conditions have occurred:

          17.1.1     Defendants and Class Counsel execute this Agreement;

          17.1.2     The Court enters the Order Permitting Issuance of Notice of
                     Class Action Settlement, without material change to the Parties’
                     agreed-upon proposed order attached hereto as Exhibit 5;

          17.1.3     Notice is provided to the Settlement Class consistent with the
                     Order Permitting Issuance of Notice of Class Action
                     Settlement;

          17.1.4     The Court enters the Final Approval Order and Judgment; and


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          17.1.5     The Final Approval Order and Judgment has become final
                     because (i) the time for appeal, petition, rehearing or other
                     review has expired, or (ii) if any appeal, petition, request for
                     rehearing or other review has been filed, the Final Approval
                     Order and Judgment is affirmed without material change or the
                     appeal is dismissed or otherwise disposed of, no other appeal,
                     petition, rehearing or other review is pending, and the time for
                     further appeals, petitions, requests for rehearing or other review
                     has expired.

17.2       In the event that the Court declines to enter the Order Permitting Issuance
           of Notice of Class Action Settlement as specified in Section 17.1.2,
           declines to enter the Final Approval Order and Judgment in substantially
           similar form as submitted by the Parties, or the Final Approval Order and
           Judgment does not become final as specified in Section 17.1.5, the Parties
           shall have 60 days during which the Parties shall work together in good
           faith in considering, drafting, and submitting reasonable modifications to
           this Agreement to address any issues with the Settlement identified by the
           Court or that otherwise caused the Final Approval Order and Judgment
           not to become final. If such efforts are unsuccessful or the Court declines
           to approve the revised Settlement, Defendants and Plaintiffs may at their
           sole discretion terminate this Agreement on 5 Business Days written
           notice to Class Counsel or Defendants, respectively. For avoidance of
           doubt, neither Defendants nor Plaintiffs may terminate the Agreement
           while an appeal from an order granting approval of the Settlement is
           pending.

17.3       Defendants also may at their sole discretion terminate this Agreement on
           5 Business Days written notice to Class Counsel if more than a specified
           number of individuals submit valid requests to exclude themselves from
           the Settlement Class, as agreed to by the Parties and submitted to the
           Court for in camera review.

17.4       In the event this Agreement is terminated pursuant to Sections 17.2 or
           17.3, the Settlement Administrator, within 10 Business Days of receiving
           written notification of such event from counsel for Defendants, shall pay
           to Defendants an amount equal to the Consumer Restitution Fund together


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           with any interest or other income earned thereon, less (i) any Taxes paid
           or due with respect to such income, (ii) any reasonable Administrative
           Costs or Notice Costs actually incurred and paid or payable from the
           Consumer Restitution Fund as authorized in this Agreement.

17.5       Except as otherwise provided herein, in the event this Agreement is
           terminated, the Parties to this Agreement, including Settlement Class
           Members, shall be deemed to have reverted to their respective status in
           the Actions immediately prior to the execution of this Agreement and,
           except as otherwise expressly provided, the Parties shall proceed in all
           respects as if this Agreement and any related orders had not been entered.
           In addition, the Parties agree that in the event this Agreement is
           terminated:

          17.5.1     Any Court orders approving certification of the Settlement
                     Class and any other orders entered pursuant to this Agreement
                     shall be deemed null and void and vacated and shall not be used
                     in or cited by any person or entity in support of claims or
                     defenses or in support or in opposition to a class certification
                     motion; and

          17.5.2     This Agreement shall become null and void, and the fact of this
                     Settlement and that Defendants did not oppose certification of
                     any class under this Settlement, shall not be used or cited by
                     any person or entity, including in any contested proceeding
                     relating to certification of any proposed class.

18 NO ADMISSION OF WRONGDOING
18.1       This Agreement, whether or not consummated, any communications and
           negotiations relating to this Agreement or the Settlement, and any
           proceedings taken pursuant to this Agreement:

          18.1.1     Shall not be offered or received against any Defendant as
                     evidence of or construed as or deemed to be evidence of any
                     presumption, concession, or admission by any Defendant with
                     respect to the truth of any fact alleged by any Plaintiff or the
                     validity of any claim that has been or could have been asserted

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             in the Actions or in any litigation, or the deficiency of any
             defense that has been or could have been asserted in the Actions
             or in any litigation, or of any liability, negligence, fault, breach
             of duty, or wrongdoing of any Defendant;

   18.1.2    Shall not be offered or received against any Defendant as
             evidence of a presumption, concession or admission of any
             fault, misrepresentation or omission with respect to any
             statement or written document approved or made by any
             Defendant;

   18.1.3    Shall not be offered or received against any Defendant as
             evidence of a presumption, concession or admission with
             respect to any liability, negligence, fault, breach of duty, or
             wrongdoing, or in any way referred to for any other reason as
             against any Defendant, in any other civil, criminal or
             administrative action or proceeding, other than such
             proceedings as may be necessary to effectuate the provisions of
             this Agreement; provided, however, that if this Agreement is
             approved by the Court, the Parties may refer to it to effectuate
             the liability protection granted them hereunder;

   18.1.4    Shall not be construed against any Defendant as an admission
             or concession that the consideration to be given hereunder
             represents the amount that could be or would have been
             recovered after trial; and

   18.1.5    Shall not be construed as or received in evidence as an
             admission, concession or presumption against any Settlement
             Class Representative or any Settlement Class Member that any
             of their claims are without merit, or that any defenses asserted
             by any Defendants have any merit, or that damages recoverable
             under the Actions would not have exceeded the Consumer
             Restitution Fund, provided, however, that if this Agreement is
             approved by the Court, the Defendants may refer to it to enforce
             the release of claims granted to them hereunder.



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19 REPRESENTATIONS
19.1       Each Party represents that (i) such Party has full legal right, power and
           authority to enter into and perform this Agreement, subject to Court
           approval, (ii) the execution and delivery of this Agreement by such Party
           and the consummation by such Party of the transactions contemplated by
           this Agreement have been duly authorized by such Party, (iii) this
           Agreement constitutes a valid, binding and enforceable agreement, and
           (iv) no consent or approval of any person or entity is necessary for such
           Party to enter into this Agreement.

20 NOTICES
20.1       All notices to Class Counsel provided for in this Agreement shall be sent
           by e-mail and First Class mail to the following:

Amy E. Keller                              Kenneth S. Canfield
DICELLO LEVITT GUTZLER LLC                 DOFFERMYRE SHIELDS
Ten North Dearborn Street                  CANFIELD & KNOWLES, LLC
Eleventh Floor                             1355 Peachtree Street, N.E.
Chicago, Illinois 60602                    Suite 1725
Tel. 312.214.7900                          Atlanta, Georgia 30309
akeller@dicellolevitt.com                  Tel. 404.881.8900
                                           kcanfield@dsckd.com


Norman E. Siegel                           Roy E. Barnes
STUEVE SIEGEL HANSON LLP                   THE BARNES LAW GROUP, LLC
460 Nichols Road, Suite 200                31 Atlanta Street
Kansas City, Missouri 64112                Marietta, GA 30060
Tel. 816.714.7100                          Tel. 770.227.6375
siegel@stuevesiegel.com                    roy@barneslawgroup.com




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20.2       All notices to Defendants or counsel to Defendants provided for in this
           Agreement shall be sent by e-mail and First Class mail to the following:

   David L. Balser
   Phyllis B. Sumner
   S. Stewart Haskins II
   KING & SPALDING LLP
   1180 Peachtree Street, N.E.
   Atlanta, Georgia 30309
   Tel.: 404.572.4600
   dbalser@kslaw.com
   psumner@kslaw.com
   shaskins@kslaw.com

   Michelle A. Kisloff
   Adam A. Cooke
   HOGAN LOVELLS US LLP
   Columbia Square
   555 Thirteenth Street, N.W.
   Washington, D.C. 20004
   Tel.: 202.637.5600
   michelle.kisloff@hoganlovells.com
   adam.a.cooke@hoganlovells.com

20.3       All notices to the Settlement Administrator provided for in this
           Agreement shall be sent by e-mail and First Class mail to the following:

   Equifax Data Breach Settlement
   C/O JND Legal Administration
   P.O. Box 91318
   Seattle, WA 98111
   Info@EquifaxBreachSettlement.com

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20.4       The notice recipients and addresses designated in this Section may be
           changed by written notice posted to the Settlement Website.

21 MISCELLANEOUS PROVISIONS
21.1       Further Steps. The Parties agree that they each shall undertake any
           required steps to effectuate the purposes and intent of this Agreement.

21.2       Representation by Counsel. The Settlement Class Representatives and
           Defendants represent and warrant that they have been represented by, and
           have consulted with, the counsel of their choice regarding the provisions,
           obligations, rights, risks, and legal effects of this Agreement and have
           been given the opportunity to review independently this Agreement with
           such legal counsel and agree to the particular language of the provisions
           herein.

21.3       Contact with Settlement Class Members. The Parties agree that Class
           Counsel may communicate with Settlement Class Members regarding the
           Settlement, and Equifax shall not otherwise interfere with such
           communications.

21.4       Contractual Agreement. The Parties understand and agree that all terms of
           this Agreement, including the Exhibits hereto, are contractual and are not
           a mere recital, and each signatory warrants that he or she is competent and
           possesses the full and complete authority to execute and covenant to this
           Agreement on behalf of the Party that he or she represents.

21.5       Integration. This Agreement constitutes the entire agreement among the
           Parties and no representations, warranties or inducements have been made
           to any Party concerning this Agreement other than the representations,
           warranties and covenants contained and memorialized herein.

21.6       Drafting. The Parties agree that no single Party shall be deemed to have
           drafted this Agreement, or any portion thereof, for purpose of the
           invocation of the doctrine of contra proferentem. This Agreement is a
           collaborative effort of the Parties and their attorneys.


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21.7       Modification or Amendment. This Agreement may not be modified or
           amended, nor may any of its provisions be waived, except by a writing
           signed by the Parties who executed this Agreement or their successors-in-
           interest.

21.8       Waiver. The failure of a Party hereto to insist upon strict performance of
           any provision of this Agreement shall not be deemed a waiver of such
           Party’s rights or remedies or a waiver by such Party of any default by
           another Party in the performance or compliance of any of the terms of this
           Agreement. In addition, the waiver by one Party of any breach of this
           Agreement by any other Party shall not be deemed a waiver of any other
           prior or subsequent breach of this Agreement.

21.9       Severability. Should any part, term or provision of this Agreement be
           declared or determined by any court or tribunal to be illegal or invalid, the
           Parties agree that the Court may modify such provision to the extent
           necessary to make it valid, legal and enforceable. In any event, such
           provision shall be separable and shall not limit or affect the validity,
           legality or enforceability of any other provision hereunder.

21.10      Successors. This Agreement shall be binding upon and inure to the benefit
           of the heirs, Successors and assigns of the Parties thereto.

21.11      Survival. The Parties agree that the terms set forth in this Agreement shall
           survive the signing of this Agreement.

21.12      Governing Law. All terms and conditions of this Agreement shall be
           governed by and interpreted according to the laws of the State of Georgia,
           without reference to its conflict of law provisions, except to the extent the
           federal law of the United States requires that federal law governs.

21.13      Interpretation.

          21.13.1    Definitions apply to the singular and plural forms of each term
                     defined.

          21.13.2    Definitions apply to the masculine, feminine, and neuter
                     genders of each term defined.


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        21.13.3   Whenever the words “include,” “includes” or “including” are
                  used in this Agreement, they shall not be limiting but rather
                  shall be deemed to be followed by the words “without
                  limitation.”

21.14   No Precedential Value. The Parties agree and acknowledge that this
        Agreement carries no precedential value.

21.15   Fair & Reasonable. The Parties and their counsel believe this Agreement
        is a fair and reasonable compromise of the disputed claims, in the best
        interest of the Parties, and have arrived at this Agreement as a result of
        extensive arms-length negotiations.

21.16   Retention of Jurisdiction. The administration and consummation of the
        Settlement as embodied in this Agreement shall be under the authority of
        the Court, and the Court shall retain jurisdiction over the Settlement and
        the Parties for the purpose of enforcing the terms of this Agreement.

21.17   Headings. Any headings contained herein are for informational purposes
        only and do not constitute a substantive part of this Agreement. In the
        event of a dispute concerning the terms and conditions of this Agreement,
        the headings shall be disregarded.

21.18   Exhibits. The Exhibits to this Agreement are expressly incorporated by
        reference and made part of the terms and conditions set forth herein.

21.19   Counterparts. This Agreement may be executed in one or more
        counterparts. All executed counterparts and each of them shall be deemed
        to be one and the same instrument provided that counsel for the Parties to
        this Agreement shall exchange among themselves original signed
        counterparts.

21.20   Facsimile and Electronic Mail. Transmission of a signed Agreement by
        facsimile or electronic mail shall constitute receipt of an original signed
        Agreement by mail.




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IN WITNESS WHEREOF, the Parties have caused this Agreement to be duly
executed by themselves or by their duly authorized counsel:


Equifax Inc.




Equifax Information Services LLC



                            ent, Chief Legal Officer



Equifax Consumer Services LLC


Nam~~
Title: Corporate Vice President, Chief Legal Officer
Date:




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                                     F OF THE SETTLEMENT CLASS




Name: Norman E. Siegel
Title: Co-Lead Plaintiffs' Counsel
Date: "}. ~~- 11




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                                   EXHIBIT 1

                               LIST OF ACTIONS

      1.     In re Equifax, Inc. Customer Data Security Breach Litig. (N.D. Ga.,

Case No. 1:17-md-2800-TWT), Doc. 374, Consolidated Consumer Class Action

Complaint.

      2.     Abraham v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03453)

     3.    Abramowitz, et al. v. Equifax Inc. (S.D.N.Y., Case No. 7:17-cv-
07642) (N.D. Ga., Case No. 1:17-cv-05533)

      4.    Abramson, et al. v. Equifax Inc. (C.D. Cal., Case No. 8:17-cv-02201)
(N.D. Ga., Case No. 1:18-cv-01466)

      5.    Agosto, et al. v. Equifax Information Services, LLC (N.D. Ohio, Case
No. 5:18-cv-00346) (N.D. Ga., Case No. 1:18-cv-01150)

      6.    Ahmed v. Equifax Inc. (E.D.N.Y., Case No. 2:17-cv-06576) (N.D.
Ga., Case No. 1:17-cv-05407)

      7.    Alexander v. Equifax, Inc. (N.D. Cal., Case No. 5:17-cv-05230) (N.D.
Ga., Case No. 1:17-cv-05038)

      8.    Alexander, et al. v. Equifax, Inc. (W.D. Mo., Case No. 4:17-cv-00788)
(N.D. Ga., Case No. 1:17-cv-05413)

      9.     Allen, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-04544)

      10. Amadick, et al. v. Equifax (D. Minn., Case No. 0:17-cv-04196) (N.D.
Ga., Case No. 1:17-cv-05027)

      11. Amuial v. Equifax, Inc. (S.D. Fla., Case No. 1:17-cv-23405) (N.D.
Ga., Case No. 1:17-cv-05285)
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     12. Anderson, et al. v. Equifax Inc., et al. (D.S.C., Case No. 2:17-cv-
02825) (N.D. Ga., Case No. 1:17-cv-05449)

      13. Anderson v. Equifax, Inc. (E.D. Ky., Case No. 2:17-cv-00156) (N.D.
Ga., Case No. 1:17-cv-05008)

      14. Anderson, et al. v. Equifax Information Services, LLC (D. Nev., Case
No. 2:18-cv-00592) (N.D. Ga., Case No. 1:18-cv-01591)

      15. Appel, et al. v. Equifax, Inc. (D. Minn., Case No. 0:17-cv-04488)
(N.D. Ga., Case No. 1:17-cv-05378)

     16. Astor, et al. v. Equifax Inc., et al. (M.D. Fla., Case No. 6:17-cv-
01653) (N.D. Ga., Case No. 1:17-cv-05368)

     17. Atiles, et al. v. Equifax, Inc., et al. (S.D.N.Y., Case No. 7:17-cv-
07493) (N.D. Ga., Case No. 1:17-cv-05532)

      18. Austin v. Equifax, Inc., et al. (E.D. Pa., Case No. 2:17-cv-04045)
(N.D. Ga., Case No. 1:17-cv-05129)

      19. Avise v. Equifax Inc. (C.D. Cal., Case No. 8:17-cv-01563) (N.D. Ga.,
Case No. 1:17-cv-05022)

      20. Ayala, et al. v. Equifax Incorporated, et al. (D. Ariz., Case No. 4:17-
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      21. Bahnmaier v. Equifax, Inc. (N.D. Okla., Case No. 4:17-cv-00512)
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      22. Bailey v. Equifax Inc., et al. (S.D.W.Va., Case No. 3:17-cv-04211)
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      23. Baker v. Equifax, Inc. (D. Minn., Case No. 0:17-cv04655) (N.D. Ga.,
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      24.   Bakken, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03676)


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      25. Bakko v. Equifax, Inc. (E.D. Mich., Case No. 2:17-cv-13992) (N.D.
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     26. Bandoh-Aidoo v. Equifax, Inc., et al. (C.D. Cal., Case No. 2:17-cv-
06658) (N.D. Ga., Case No. 1:17-cv-05002)

      27. Barker v. Equifax, Inc. (C.D. Cal., Case No. 8:17-cv-01560) (N.D.
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      28. Barone v. Equifax, Inc. (N.D. Cal., Case No. 5:17-cv-05958) (N.D.
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      29. Becker, et al. v. Equifax Inc. (W.D. Tex., Case No. 5:17-cv-00900)
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      30.   Beekman, et al. v. Equifax Inc. (N.D. Ga., Case No. 1:17-cv-03492)

      31. Belden v. Equifax, Inc. (N.D. Cal., Case No. 5:17-cv-05260) (N.D.
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      32. Belfon v. Equifax Inc. (E.D.N.Y., Case No. 2:17-cv-06577) (N.D. Ga.,
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     33. Benavidez, et al. v. Equifax Inc., et al. (C.D. Ill., Case No. 4:17-cv-
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      34. Benson v. Equifax Inc. (W.D. Ky., Case No. 3:17-cv-00564) (N.D.
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      35. Benway v. Equifax, Inc. (D. Md., Case No. 1:17-cv-03360) (N.D. Ga.,
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     36. Bethea, et al. v. Equifax, Inc., et al. (E.D. Va., Case No. 3:17-cv-
00648) (N.D. Ga., Case No. 1:18-cv-00055)

      37. Biles v. Equifax, Inc. (N.D. Ill., Case No. 1:17-cv-08224) (N.D. Ga.,
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      38. Biorn v. Equifax Inc. (D. Mont., Case No. 2:17-cv-00071) (N.D. Ga.
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      39. Bishop v. Equifax Inc. (S.D. Tex., Case No. 4:18-cv-02079) (N.D.
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      40. Bitton v. Equifax Information Services, LLC, et al. (S.D.N.Y., Case
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      41. Blake, et al. v. Equifax, Inc., et al. (D.N.J., Case No. 1:17-cv-07121)
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      42. Block v. Equifax, Inc., et al. (N.D. Cal., Case No. 5:17-cv-05367)
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      43. Bobbitt v. Equifax, Inc. (N.D. Ill., Case No. 1:17-cv-08631) (N.D. Ga.,
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      44.   Bologna, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03578)

      45. Boothman v. Equifax Credit Information Services, Inc. (E.D. Pa., Case
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      46. Bordelon v. Equifax Information Services LLC (W.D. La., Case No.
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      47.   Boundy, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03480)

      48. Bradley v. Equifax, Inc. (D.N.J., Case No. 1:17-cv-07276) (N.D. Ga.,
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      49. Branch v. Equifax Inc. (N.D. Cal., Case No. 5:17-cv-05429) (N.D.
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      50.   Brandon v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03454)

      51.   Brannan, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03708)


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      52. Breen, et al. v. Equifax Inc. (D.S.C., Case No. 4:17-cv-03395) (N.D.
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      53.   Brock, et al. v. Equifax Inc. (N.D. Ga., Case No. 1:17-cv-04510)

      54.   Broder v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03587)

      55. Brodsky v. Equifax Inc. (E.D.N.Y., Case No. 2:17-cv-05528) (N.D.
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      56.   Brown v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03449)

      57. Brown v. Equifax Information Services, LLC, (M.D., Fla., Case No.
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      58. Brumfield v. Equifax, Inc. (E.D.N.Y., Case No. 1:17-cv-06459) (N.D.
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      59. Burns v. Equifax, Inc. (D. Minn., Case No. 0:19-cv-00851) (N.D. Ga.,
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      60. Bussey v. Equifax Credit Bureau (M.D. Ga., Case No. 7:17-cv-00158)
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      61. Butler v. Equifax Inc. (S.D. Cal., Case No. 3:17-cv-02158) (N.D. Ga.,
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      62. Byas, et al. v. Equifax, Inc. (N.D. Miss., Case No. 4:17-cv-00130)
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      63. Cadwallader, et al. v. Equifax Inc., et al. (D. Minn., Case No. 0:17-
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     64.    Calderon, et al. v. Equifax Inc., et al. (N.D. Ga., Case No. 1:17-cv-
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      65. Campbell v. Equifax Inc. (W.D. Wash., Case No. 2:17-cv-01657)
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      66. Campos v. Equifax Inc. (E.D.N.Y., Case No. 1:17-cv-06579) (N.D.
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      67. Caplan v. Equifax Information Services, LLC (E.D. Pa., Case No.
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      68. Caraway v. Equifax, Inc. (N.D. Ohio, Case No. 4:18-cv-01388) (N.D.
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      69. Carr, et al. v. Equifax Inc., et al. (D. Kan., Case No. 5:17-CV-04089)
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     70.    Carter, et al. v. Equifax Inc., et al. (N.D. Ga., Case No. 1:18-cv-
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      71.   Cary, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03433)

      72. Casper v. Equifax, Inc. (M.D.N.C., Case No. 1:17-cv-01004) (N.D.
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      73. Cederdahl v. Equifax Information Services, LLC (S.D. Iowa, Case No.
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      74. Chehebar v. Equifax Inc. (D.N.J., Case No. 3:17-cv-11414) (N.D. Ga.,
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      75. Chehebar v. Equifax Inc. (D.N.J., Case No. 3:17-cv-11417) (N.D. Ga.,
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      76.   Chenault v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03764)

      77. Cherney, et al. v. Equifax, Inc. (E.D. Mich., Case No. 2:17-cv-12966)
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      78. Cho v. Equifax, Inc., et al. (C.D. Cal., Case No. 2:17-cv-08548) (N.D.
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      79. Christen, et al. v. Equifax Inc. (D.N.J., Case No. 2:17-cv-06951)
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      80.   Clark, et al. v. Equifax Inc. (N.D. Ga., Case No. 1:17-cv-03497)

      81. Clark, et al. v. Equifax Inc. (D.N.M., Case No. 1:17-cv-01118) (N.D.
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     82. Coade-Wingate v. Equifax Inc., et al. (N.D.N.Y., Case No. 1:17-cv-
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      83. Cofield, et al. v. Equifax Inc., et al. (D. Md., Case No. 1:17-cv-03119)
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      84. Cole v. Equifax Inc. (D. Mass., Case No. 1:17-cv-11712) (N.D. Ga.,
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      85. Cole, et al. v. Equifax Inc., et al. (D. Vt., Case No. 5:17-cv-00223)
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      86. Coleman v. Equifax, Inc. (M.D. Tenn., Case No. 3:18-cv-00004)
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      87. Collins v. Equifax, Inc. (C.D. Cal., Case No. 8:17-cv-01561) (N.D.
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      88. Collins v. Equifax, Inc. (S.D. Tex., Case No. 1:17-cv-00187) (N.D.
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     89. Cooper, et al. v. Equifax Incorporated, et al. (D. Ariz., Case No. 4:17-
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      90. Cowherd v. Equifax, Inc. (S.D. Tex., Case No. 4:18-cv-02230) (N.D.
Ga., Case No. 1:18-cv-04699)

      91.   Cox, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03586)



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      92. Crossett v. Equifax, Inc. (E.D. Mo., Case No. 4:17-cv-02434) (N.D.
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      93. Crow, et al. v. Equifax, Inc. (N.D. Cal., Case No. 4:17-cv-05355)
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      94. Cuevas v. Equifax Inc., et al. (C.D. Cal., Case No. 2:17-cv-08604)
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      95.   Cunniff v. Equifax, Inc. (N.D. Ga., Case No. 1:18-cv-01070)

      96. Dash v. Equifax Information Services LLC (S.D.N.Y., Case No. 1:17-
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      97. Dash v. Equifax Information Services LLC (W.D. Tex., Case No.
1:17-cv-00901) (N.D. Ga., Case No. 1:17-cv-05460)

      98. Daughtery, et al. v. Equifax Inc. (E.D. Ark., Case No. 4:17-cv-00597)
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      99. Davis, et al. v. Equifax Inc. (N.D. Ala., Case No. 7:17-cv-01595)
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      100. Davis, et al. v. Equifax, Inc. (S.D.N.Y., Case No. 1:17-cv-06883)
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      101. Day v. Equifax Inc. (D. Colo., Case No. 1:18-cv-00042) (N.D. Ga.,
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      102. Dela Cruz v. Equifax Inc., et al. (C.D. Cal., Case No. 8:17-cv-02084)
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      103. Derby v. Equifax, Inc. (W.D. Pa., Case No. 2:17-cv-01186) (N.D. Ga.,
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      104. Dhuka, et al. v. Equifax, Inc. (W.D. Tex., Case No. 1:17-cv-00919)
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      105. Diaz v. Equifax Inc. (S.D.N.Y., Case No. 7:17-cv-08175) (N.D. Ga.,
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      106. DiMichele, et al. v. Equifax, Inc. (N.D. Cal., Case No. 5:17-cv-06527)
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      107. Dixon, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03809)

      108. Domino, et al. v. Equifax, Inc. (S.D. Fla., Case No. 0:17-cv-61936)
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      109. Donnelly v. Equifax Inc. et al. (N.D. Ga., Case No. 1:18-cv-00361)

      110. Dowgin v. Equifax, Inc. (D.N.J., Case No. 1:17-cv-06923) (N.D. Ga.,
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      111. Dremak v. Equifax, Inc. (S.D. Cal., Case No. 3:17-cv-01829) (N.D.
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      112. Dreni v. Equifax Credit Information Services (M.D. Fla., Case No.
2:18-cv-00770) (N.D. Ga., Case No. 1:18-cv-05816)

      113. Dressler v. U.S. Department of Education, et al. (M.D. Fla., Case No.
2:18-cv-00311) (N.D. Ga., Case No. 1:18-cv-04345)

      114. Duke, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03765)

     115. Duran, et al. v. Equifax, Inc., et al. (C.D. Cal., Case No. 8:17-cv-
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      116. Duran v. Equifax Inc. (E.D.N.Y., Case No. 1:17-cv-06584) (N.D. Ga.,
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      117. Durham v. Equifax, Inc., et al. (N.D. Ga., Case No. 1:17-cv-03452)

      118. Earl v. Equifax, Inc., et al. (D.N.H., Case No. 1:17-cv-00513) (N.D.
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      119. Eastman, et al. v. Equifax Inc. (N.D. Ga., Case No. 1:17-cv-03512)



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      120. Eaton v. Equifax Information Services LLC (S.D.N.Y., Case No. 7:18-
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     121. Edwards v. Equifax Info. Services, LLC (D.N.J., Case No. 2:18-cv-
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      122. Englert, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03509)

      123. Eppy v. Equifax, Inc. (S.D. Fla., Case No. 0:17-cv-61833) (N.D. Ga.,
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      124. Eustice v. Equifax Inc. (S.D. Tex., Case No. 4:19-cv-02247) (N.D.
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      125. Eustice v. Equifax Inc. (S.D. Tex., Case No. 4:19-cv-02248) (N.D.
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      126. Eustice v. Equifax Inc. (S.D. Tex., Case No. 4:19-cv-02249) (N.D.
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      127. Evans v. Equifax, Inc. (N.D. Cal., Case No. 5:17-cv-05454) (N.D. Ga.,
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      128. Fail, et al. v. Equifax, Inc., et al. (S.D. Ind., Case No. 1:17-cv-03581)
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      129. Faillace v. Equifax, Inc. (C.D. Cal., Case No. 2:17-cv-06721) (N.D.
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      130. Farinella v. Equifax Information Services, LLC (E.D.N.Y., Case No.
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      131. Fausz v. Equifax Information Services, LLC (W.D. Ky., Case No.
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      132. Feehrer, et al. v. Equifax, Inc. (D.N.J., Case No. 1:17-cv-07803)
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      133. Feied v. Equifax, Inc. (N.D. Cal., Case No. 5:17-cv005524) (N.D. Ga.,
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      134. Fiore v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03456)

      135. Flores v. Equifax, Inc. (N.D. Ga., Case. No. 18-cv-00117)

      136. Flores, et al. v. Equifax Inc. (S.D.N.Y., Case No. 7:17-cv-07088)
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      137. Forrest v. Equifax Inc. (S.D. Tex. 1:18-cv-00113) (N.D. Ga., Case
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     138. Frank, et al. v. Equifax Inc., et al. (N.D. Ala., Case No. 5:17-cv-
01611) (N.D. Ga., Case No. 1:17-cv-05218)

     139. Frank v. Equifax Information Svcs. (S.D.N.Y., Case No. 1:18-cv-
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      140. Frazier v. Equifax Inc. (E.D.N.Y., Case No. 1:17-cv-06587) (N.D.
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      141. Fried v. Equifax Inc. (S.D. Cal., Case No. 3:17-cv-01955) (N.D. Ga.,
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     142. Friedman, et al. v. Equifax, Inc., et al. (D.N.J., Case No. 1:17-cv-
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      143. Fuhrman v. Equifax Inc., et al. (E.D. Mich., Case No. 2:17-cv-13508)
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      144. Gallant v. Equifax Inc. (D. Md., Case No. 8:17-cv-02712) (N.D. Ga.,
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      145. Galpern v. Equifax, Inc., et al. (N.D. Cal., Case No. 5:17-cv-05265)
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      146. Gastineau, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03769)

      147. Gay v. Equifax, Inc. (D. Colo., Case No. 1:17-cv-02417) (N.D. Ga.,
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      148. Geller, et al. v. Equifax, Inc. (S.D. Fla., Case No. 9:17-cv-81056)
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      149. Gerstein, et al. v. Equifax Information Services, LLC (S.D. Ohio, Case
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      150. Gersten, et al. v. Equifax, Inc. (S.D. Cal., Case No. 3:17-cv-01828)
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      151. Gettino v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-04664)

      152. Gibson v. Equifax, Inc. (D. Haw., Case No. 1:17-cv-00466) (N.D. Ga.,
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      153. Gibson, et al. v. Equifax, Inc. (W.D. Okla., Case No. 5:17-cv-00973)
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     154. Gladwell, et al. v. Equifax, Inc., et al. (S.D. W. Va., Case No. 5:17-cv-
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      155. Goldweber v. Equifax Inc. (N.D. Cal., Case No. 5:17-cv-05586) (N.D.
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      156. Gottesman, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03498)

      157. Gottlieb, et al. v. Equifax, Inc. (D.N.J., Case No. 1:17-cv-07615)
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      158. Gray, et al. v. Equifax Information Services, LLC (W.D. Ark., Case
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      159. Green, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03487)

      160. Greenlee v. Equifax, Inc. (C.D. Cal., Case No. 5:17-cv-01929) (N.D.
Ga., Case No. 1:17-cv-05269)

      161. Greenwald, et al. v. Equifax, Inc. (D.N.H., Case No. 1:17-cv-00438)
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      162. Groover v. Equifax Inc., et al. (S.D.N.Y., Case No. 1:17-cv-07082)
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      163. Grossberg, et al. v. Equifax Inc. (E.D.N.Y., Case No. 1:17-cv-05280)
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      164. Guillen v. Equifax, Inc. (N.D. Ga., Case No. 1:19-cv-01580)

      165. Gulley v. Equifax Inc., et al. (W.D. Ark., Case No. 4:17-cv-04088)
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      166. Halpin v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03872)

      167. Hamilton, et al. v. Equifax, Inc. (C.D. Cal., Case No. 2:17-cv-06899)
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      168. Hamre, et al. v. Equifax Information Services, LLC (D.N.D., Case No.
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      169. Harper v. Equifax Inc., et al. (D. Mass., Case No. 1:17-cv-11785)
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     170. Hebrlee, et al. v. Equifax, Inc., et al. (N.D. Ill., Case No. 1:17-CV-
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      171. Henderson v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03829)

      172. Henderson v. Equifax, Inc., et al. (D. Minn., Case No. 0:17-cv-04289)
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      174. Highfield v. Equifax, Inc., et al. (N.D. Ala., Case No. 5:17-cv-01567)
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      175. Hogue v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03781)

      176. Horne, et al. v. Equifax Inc. (N.D. Ga., Case No. 1:17-cv-03713)

      177. House v. Equifax Inc., et al. (S.D. Iowa, Case No. 4:17-cv-00392)
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      178. House v. Equifax Inc. (D. Kan., Case No. 2:17-cv-02523) (N.D. Ga.,
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      180. Ialacci v. Equifax Inc., et al. (N.D. Cal., Case No. 5:17-cv-05647)
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     181. Iraheta v. Equifax Information Services (W.D. La., Case No. 5:17-cv-
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      183. Jimenez v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03885)

      184. Johns, et al. v. Equifax, Inc. (N.D. Cal., Case No. 5:17-cv-05372)
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      185. Johnson v. Equifax Inc. (D. Mont., Case No. 6:17-cv-00100) (N.D.
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     186. Johnson, et al. v. Equifax, Inc., et al. (N.D. Tex., Case No. 3:17-cv-
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      187. Johnson, et al. v. Equifax Inc. (N.D. Tex., Case No. 3:17-cv-03135)
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      190. Jorge, et al. v. Equifax, Inc. (E.D.N.Y., Case No. 2:17-cv-05404)
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      191. Kalmick, et al. v. Equifax Inc. (W.D. Tex., Case No. 1:17-cv-00954)
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      192. Katz, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03798)

      193. Kealy, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03443)

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      196. Kendall v. Equifax Information Services, LLC (D.N.J., Case No. 2:17-
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      197. Kerobyan v. Equifax Inc., et al. (C.D. Cal., Case No. 2:18-cv-05401)
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      198. Kilgore, et al. v. Equifax Information Services LLC (D.N.M., Case
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      200. King v. Equifax Inc. (S.D. Tex., Case No. 4:19-cv-00368) (N.D. Ga.,
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     201. Kishel, et al. v. Equifax Inc., et al. (N.D. Ga., Case No. 1:17-cv-
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      204. Kloewer v. Equifax Inc. (D. Colo., Case No. 1:17-cv-03149) (N.D.
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      205. Knepper v. Equifax Information Services, LLC (D. Nev., Case No.
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      206. Kohn, et al. v. Equifax Inc., et al. (D.N.J., Case No. 1:17-cv-07257)
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      210. Kruse v. Equifax Inc. (D. Minn., Case No. 0:19-cv-00177) (N.D. Ga.,
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      222. Leonardo v. Equifax Inc. (C.D. Cal., Case No. 2:18-cv-00647) (N.D.
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      230. Mallh v. Equifax, Inc. (E.D.N.Y., Case No. 1:17-cv-05555) (N.D. Ga.,
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      237. Manopla v. Equifax Inc. (D.N.J., Case No. 3:17-cv-11419) (N.D. Ga.,
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      243. Martinez, et al. v. Equifax, Inc. (S.D. Fla., Case No. 1:17-cv-23510)
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      244. Mashburn, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-04159)

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      250. McHill, et al. v. Equifax Inc. (D. Or., Case No. 3:17-cv-01405) (N.D.
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     251. McShan, et al. v. Equifax, Inc., et al. (C.D. Cal., Case No. 2:17-cv-
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     252. Mead, et al. v. Equifax Inc., et al. (D. Alaska, Case No. 3:17-cv-
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      254. Melrath v. Equifax, Inc., et al. (D. Del., Case No. 1:17-cv-01324)
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      255. Menzer v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03459)

      256. Messer, et al. v. Equifax, Inc. (W.D. Tenn., Case No. 2:17-cv-02694)
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      257. Meyers, et al. v. Equifax Information Services, LLC, (N.D. Ill., Case
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     258. Miller, et al. v. Equifax Inc., et al. (E.D. Cal., Case No. 2:17-cv-
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     259. Miller, et al. v. Equifax Inc., et al. (N.D. Okla., Case No. 4:17-cv-
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      260. Minka, et al. v. Equifax Information Services, LLC (E.D. Pa., Case
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      265. Morris v. Equifax, Inc. (D. Colo., Case No. 1:17-cv-02178) (N.D. Ga.,
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      266. Murphy v. Equifax, Inc. (N.D. Cal., Case No. 4:17-cv-05262) (N.D.
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      267. Murphy, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03613)

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      269. Myers, et al. v. Equifax Inc. (E.D. Cal., Case No. 2:17-at-01878)
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      270. Napier v. Equifax Inc., et al. (D. Me., Case No. 1:17-cv-00372) (N.D.
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      271. Neilan v. Equifax Inc. (N.D. Ill., Case No. 1:17-cv-06508) (N.D. Ga.,
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      272. Nguyen v. Equifax Inc. (N.D. Cal., Case No. 5:18-06143) (N.D. Ga.,
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      273. Ogburn v. Equifax, Inc., et al. (E.D. Va., Case No. 3:17-cv-00644)
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        274. O’Neill v. Equifax, Inc., et al. (N.D. Ga., Case No. 1:17-cv-03523)

      275. O’Neill v. Equifax, Inc., et al. (D.N.J., Case No. 1:17-cv-07284) (N.D.
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      276. Ostoya, et al. v. Equifax, Inc. (N.D. Ala., Case No. 2:17-cv-01550)
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      277. Pacelli v. Equifax Information Services, LLC (E.D. Pa., Case No.
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      279. Palmer v. Equifax, (D.S.C., Case No. 2:18-cv-02405) (N.D. Ga., Case
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      280. Pantaze v. Equifax Information Services, LLC (N.D. Ala., Case No.
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      281. Parkhill v. Equifax Inc., et al. (S.D. Tex., Case No. 4:17-cv-02931)
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      283. Partridge v. Equifax, Inc. (S.D. Ala., Case No. 1:17-cv-00423) (N.D.
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      284. Paul v. Equifax, Inc. (E.D.N.Y., Case No. 2:17-cv-06588) (N.D. Ga.,
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      285. Pavesi, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03476)

      286. Pavitt, et al. v. Equifax, Inc. (W.D. Wash., Case No. 2:17-cv-01363)
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      287. Pellitteri, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03881)

      288. Perkins, et al. v. Equifax Inc. (N.D. Fla., Case No. 3:17-cv-00727)
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      290. Peters, et al v. Equifax Information Services, LLC, et al. (C.D. Cal.,
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      291. Peterson, et al. v. Equifax, Inc. (S.D. Tex., Case No. 4:19-cv-00367)
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      292. Pflager v. Equifax (N.D. Ohio, Case No. 3:18-cv-01027) (N.D. Ga.,
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     293. Pierre, et al. v. Equifax, Inc., et al. (E.D. La., Case No. 2:17-cv-
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      294. Pino v. Equifax Inc., et al. (N.D. Ga., Case No. 1:17-cv-05140)

      295. Pleasant, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03507)

      296. Podalsky, et al. v. Equifax, Inc. (S.D. Fla., Case No. 1:17-cv-23465)
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      298. Powers, et al. v. Equifax Inc. (D.S.C., Case No. 6:17-cv-02510) (N.D.
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      299. Prejean, et al. v. Equifax, Inc. (D. Haw., Case No. 1:17-cv-00468)
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      300. Pugliese v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03461)

      301. Quagliani v. Equifax, Inc., et al. (D. Conn. Case No. 3:17-cv-01668)
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      302. Raffin v. Equifax, Inc. (C.D. Cal., Case No. 2:17-cv-06620) (N.D. Ga.,
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      303. Rajput v. Equifax, Inc. (N.D. Ala., Case No. 5:17-cv-01606) (N.D.
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      305. Ramirez v. Equifax, Inc., et al. (E.D. Pa., Case No. 2:18-cv-00083)
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      306. Ray v. Equifax Inc., et al. (D. Del., Case No. 1:17-cv-01331) (N.D.
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     307. Ressetar, et al. v. Equifax, Inc., et al. (M.D. Pa., Case No. 3:17-cv-
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      308. Reyes v. Equifax Inc. (E.D.N.Y., Case No. 1:17-cv-06589) (N.
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      309. Reyes v. Equifax, Inc. (E.D.N.Y., Case No. 1:17-cv-06590) (N.D. Ga.,
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      310. Rice, et al. v. Equifax, Inc. (N.D.W.V., Case No. 1:17-cv-00156)
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      315. Salinas, et al. v. Equifax, Inc. (N.D. Cal., Case No. 3:17-cv-05284)
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      316. Samson v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03448)

      317. Sander v. Equifax Inc., et al. (D.D.C., Case No. 1:17-cv-02119) (N.D.
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      318. Santomauro v. Equifax Inc. (D.D.C., Case No. 1:17-cv-01852) (N.D.
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      320. Scott v. Equifax Inc. (C.D. Cal., Case No. 2:17-cv-06715) (N.D. Ga.,
Case No. 1:17-cv-05005)

      321. Seror v. Equifax Inc. (D.N.J., Case No. 3:17-cv-11437) (N.D. Ga.,
Case No. 1:17-cv-05432)

      322. Seymore, et al. v. Equifax, Inc. (S.D. Cal., Case No. 3:17-cv-01871)
(N.D. Ga., Case No. 1:17-cv-05196)

      323. Shack v. Equifax, Inc. (N.D. Ill., Case No. 1:19-cv-02622) (N.D. Ga.,
Case No. 1:19-cv-02527)

      324. Sievers v. Equifax Inc., et al. (D. Mont., Case No. 4:17-cv-00103)
(N.D. Ga., Case No. 1:17-cv-05416)

      325. Sikes v. Equifax Inc., et al. (W.D.N.C., Case No. 1:17-cv-00258)
(N.D. Ga., Case No. 1:17-cv-05422)

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     326. Simmons, et al. v. Equifax, Inc., et al. (N.D. Ga., Case No. 1:17-cv-
03659)

      327. Skye v. Equifax Inc. (D. Mass., Case No. 1:17-cv-11742) (N.D. Ga.,
Case No. 1:17-cv-05016)

     328. Smith, et al. v. Equifax Inc., et al. (N.D. Ohio, Case No. 1:17-cv-
02183) (N.D. Ga., Case No. 1:17-cv-05499)

     329. Smith, et al. v. Equifax Inc., et al. (S.D. Tex., Case No. 4:17-cv-
02939) (N.D. Ga., Case No. 1:17-cv-05497)

      330. Acosta-Smith v. Equifax Inc., et al. (C.D. Cal., Case No. 8:18-0005)
(N.D. Ga., Case No. 1:18-cv-01467)

      331. Smith v. Equifax Inc. (N.D. Ala., Case No. 2:18-cv-01147) (N.D. Ga.,
Case No. 1:19-cv-00744)

      332. Solomon v. Equifax Incorporated, (D. Ariz., Case No. 2:18-cv-01567)
(N.D. Ga., Case No. 1:18-cv-02842)

     333. Southwick, et al. v. Equifax Inc., et al. (W.D. Okla., Case No. 5:17-cv-
01184) (N.D. Ga., Case No. 1:17-cv-05459)

      334. Spicer v. Equifax Inc., et al. (N.D. Cal., Case No. 5:17-cv-05228)
(N.D. Ga., Case No. 1:17-cv-05037)

      335. Sprecher v. Equifax Inc., et al. (N.D. Ga., Case No. 1:17-cv-05141)

      336. St. Clair, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-04792)

      337. Stabenow, et al. v. Equifax, Inc. (M.D. Fla., Case No. 8:17-cv-02289)
(N.D. Ga., Case No. 1:17-cv-05370)

      338. Stanfield, et al. v. Equifax Inc. (S.D. Ill., Case No. 3:17-cv-01102)
(N.D. Ga., Case No. 1:17-cv-05223)

     339. Stewart, et al. v. Equifax Inc., et al. (E.D. Mo., Case No. 4:17-cv-
02433) (N.D. Ga., Case No. 1:17-cv-05451)



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      340. Stiles v. Equifax Inc., et al. (W.D. Ky., Case No. 5:17-cv-00144)
(N.D. Ga., Case No. 1:17-cv-05504)

      341. Strange v. Equifax Inc. (W.D. La., Case No. 5:17-cv-01615) (N.D.
Ga., Case No. 1:18-cv-00209)

      342. Strauchman v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03482)

      343. Tada, et al. v. Equifax, Inc. (C.D. Cal., Case No. 2:17-cv-06666)
(N.D. Ga., Case No. 1:17-cv-05004)

     344. Taenzer, et al. v. Equifax, Inc., et al. (S.D. Iowa, Case No. 4:17-cv-
00349) (N.D. Ga., Case No. 1:17-cv-05375)

      345. Tanks, et al. v. Equifax, Inc. (S.D. Cal., Case No. 3:17-cv-01832)
(N.D. Ga., Case No. 1:17-CV-05194)

      346. Tate, et al. v. Equifax, Inc. (W.D.N.C., Case No. 3:17-cv-00555)
(N.D. Ga., Case No. 1:17-cv-05424)

      347. Tepfenhart, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03571)

      348. Thomson, et al. v. Equifax Inc. (N.D. Tex., Case No. 3:17-cv-02468)
(N.D. Ga., Case No. 1:17-cv-05443)

      349. Tirelli, et al. v. Equifax Information Services, LLC (S.D.N.Y., Case
No. 7:17-cv-06868) (N.D. Ga., Case No. 1:17-cv-05124)

      350. Tomas v. Equifax Inc., et al. (N.D. Ga. 18:-cv-00466)

      351. Tomlin, et al. v. Equifax Information Services, LLC (E.D. Ky., Case
No. 2:17-cv-00158) (N.D. Ga., Case No. 1:17-cv-05009)

      352. Tomlinson v. Equifax Inc. (E.D. Ky., Case No. 3:17-cv-00087) (N.D.
Ga., Case No. 1:17-cv-05310)

      353. Torrey v. Equifax Information Services, LLC (N.D. Ohio, Case No.
1:17-cv-01922) (N.D. Ga., Case No. 1:17-cv-05058)

      354. Tosco, et al. v. Equifax Inc. (S.D. Fl., Case No. 1:17-cv-24136) (N.D.
Ga., Case No. 1:18-cv-00365)

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      355. Trevino v. Equifax, Inc., et al. (C.D. Cal., Case No. 2:17-cv-07180)
(N.D. Ga., Case No. 1:17-cv-05268)

      356. Turner v. Equifax Inc. (S.D. Cal., Case No. 3:17-cv-02041) (N.D. Ga.,
Case No. 1:17-cv-05241)

     357. Turner, et al. v. Equifax Inc. et al. (N.D. Ga., Case No. 1:18-cv-
00112)

      358. Tweeddale v. Equifax, Inc. (M.D. Fla., Case No. 6:17-cv-01936)
(N.D. Ga., Case No. 1:17-cv-05369)

      359. Vice v. Equifax Inc. (N.D. Ga., Case No. 1:17-cv-04250)

      360. Vita, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03484)

      361. Vonwiller v. Equifax Information Services, LLC (S.D. Cal., Case No.
3:17-cv-01839) (N.D. Ga., Case No. 1:17-cv-05195)

      362. Walker, et al. v. Equifax, Inc. (N.D. Ala., Case No. 5:17-cv-01527)
(N.D. Ga., Case No. 1:17-cv-04988)

      363. Walton v. Equifax Inc., et al. (S.D. Ind., Case No. 1:18-cv-00225)
(N.D. Ga., Case No. 1:18-cv-02863)

      364. Ward, et al. v. Equifax, Inc., et al. (D. Md., Case No. 1:17-cv-3246)
(N.D. Ga., Case No. 1:18-cv-1471)

      365. Warren v. Equifax Information Services, LLC (N.D. Ga., Case No.
1:18-cv-02044)

      366. Washburn, et al. v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03451)

      367. Weaver, et al. v. Equifax, Inc. (W.D.N.C., Case No. 1:17-cv-00268)
(N.D. Ga., Case No. 1:17-cv-05423)

     368. Whipper, et al. v. Equifax, Inc., et al. (W.D. Pa., Case No. 1:17-cv-
00248) (N.D. Ga., Case No. 1:18-cv-00056)

      369. White, et al v. Equifax, Inc. (C.D. Cal., Case No. 2:17-cv-07991)
(N.D. Ga., Case No. 1:17-cv-05291)

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     370. Whitfill, et al. v. Equifax Inc., et al. (N.D. Tex., Case No. 4:17-cv-
00771) (N.D. Ga., Case No. 1:17-cv-05490)

      371. Whittington v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-04940)

      372. Wilhite v. Equifax Inc. (S.D. Tex., Case No. 4:18-cv-02062) (N.D.
Ga., Case No. 1:18-cv-03328)

      373. Wilhite v. Equifax Inc. (S. D. Tex., Case No. 4:18-cv-02067) (N.D.
Ga., Case No. 1:18-cv-03329)

      374. Wilhite v. Equifax Inc. (S.D. Tex., Case No. 4:18-cv-02077) (N.D.
Ga., Case No. 1:18-cv-03330)

      375. Wilhite v. Equifax Inc. (S.D. Tex., Case No. 4:18-cv-02080) (N.D.
Ga., Case No. 1:18-cv-03332)

      376. Wilkins v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03972)

      377. Williams v. Equifax Inc., et al. (D. Md., Case No. 1:17-cv-02803)
(N.D. Ga., Case No. 1:17-cv-05308)

      378. Williams v. Equifax Inc., et al. (E.D. Mich., Case No. 2:17-cv-13307)
(N.D. Ga., Case No. 1:17-cv-05311)

      379. Williams v. Equifax Inc. (E.D.N.Y., Case No. 1:17-cv06591) (N.D.
Ga., Case No. 1:17-cv-05393)

     380. Wiltz, et al. v. Equifax, Inc., et al. (S.D. Tex., Case No. 4:17-cv-
02778) (N.D. Ga., Case No. 1:17-cv-05494)

      381. Wolf v. Equifax, Inc. (N.D. Ga., Case No. 1:17-cv-03450)

      382. Wolf v. Equifax, Inc. (N.D. Ga., Case No. 1:18-cv-135)

      383. Wong v. Equifax, Inc., et al. (D.R.I., Case No. 1:17-cv-00489) (N.D.
Ga., Case No. 1:17-cv-05501)

      384. Woods, et al. v. Equifax, Inc. (E.D. Tex., Case No. 4:17-cv-00660)
(N.D. Ga., Case No. 1:18-cv-00023)


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      385. Young v. Equifax Inc. (M.D. Fla., Case No. 2:17-cv-00538) (N.D. Ga.,
Case No. 1:17-cv-05326)

      386. Zamora v. Equifax, Inc., et al. (D.N.J., Case No. 2:17-cv-07085)
(N.D. Ga., Case No. 1:17-cv-05062)

      387. Ziegeler v. Equifax Inc. (W.D. Tex., Case No. 6:19-cv-00260) (N.D.
Ga. Case No. 1:19-cv-01996)

      388. Zweig v. Equifax, Inc. (E.D.N.Y., Case No. 1:17-cv-05366) (N.D. Ga.,
Case No. 1:17-cv-05067)

     389. Zweig, et al. v. Equifax Inc., et al. (S.D.N.Y., Case No. 7:17-cv-
07090) (N.D. Ga., Case No. 1:17-cv-05531)

      390. Zribi v. Equifax, Inc., et al. (D. Conn., Case No. 3:17-cv-01710) (N.D.
Ga., Case No. 1:17-cv-05328)




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                                  EXHIBIT 2

          EQUIFAX BUSINESS PRACTICES COMMITMENTS

    Unless otherwise specified below, the following security measures or their
    equivalents will be deployed and maintained by Equifax for at least 5 years
    from the date the District Court grants final approval of the Settlement
    Agreement unless otherwise specified below:
1      Scope: This Agreement shall apply to all networking equipment, databases
       or data stores, applications, servers, and endpoints that: (1) are capable of
       accessing, using or sharing software, data, and hardware resources; (2) are
       owned, operated, and/or controlled by Equifax; and (3) collect, process,
       store, have access, or grant access to Personal Information of consumers
       who reside in the United States, but excluding networking equipment,
       databases or data stores, applications, servers, or endpoints outside of the
       U.S. where access to Personal Information is restricted using a risk-based
       control (“Equifax Network”).
          a. “Personal Information” shall have the same meaning as set forth in
             the data privacy laws in the states in which Class Members reside,
             unless preempted by federal law.
          b. The “NIST Standard” refers to the most recent applicable NIST
             guidance, beginning with NIST 800-53r4, as the primary set of
             standards, definitions, and controls. Where this Agreement requires
             Equifax to test cyber resilience, Equifax will use an industry-
             recognized cybersecurity framework (for example, NIST CSF
             framework). Where this Agreement refers to “NIST or another
             comparable standard,” Equifax either will use the NIST standard
             indicated above or another industry-recognized cybersecurity
             standard that satisfies Regulator Requirements.
          c. “Regulator” means the Federal Trade Commission (“FTC”), the
             Consumer Financial Protection Bureau (“CFPB”), or the multi-state
             group of state Attorneys General investigating the 2017 Data
             Breach. If no Regulator is willing or able to make a determination
             under this Agreement, then one of the attorneys designated as Co-
             Lead Counsel for the Consumer Plaintiffs in this multi-district

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                 litigation, or their law firms, and Equifax’s CISO or their designee
                 shall, in good faith, reach a determination.

    2      Information Security Program: Within ninety (90) days of final
           approval, Equifax shall implement, and thereafter regularly maintain,
           review, and revise a comprehensive Information Security Program that is
           reasonably designed to protect the confidentiality, integrity, and
           availability of the Personal Information that Equifax collects, processes, or
           stores on the Equifax Network.

    3      Managing Critical Assets: Equifax shall identify and document a
           comprehensive IT asset inventory, using an automated tool(s) where
           practicable, that, consistent with NIST or another comparable standard,
           will inventory and classify, and issue reports on, all assets that comprise
           the Equifax Network, including but not limited to software, applications,
           network components, databases, data stores, tools, technology, and
           systems. The asset inventory required under this paragraph shall be
           regularly updated and, at a minimum, identify: (a) the name of the asset;
           (b) the version of the asset; (c) the owner of the asset; (d) the asset’s
           location within the Equifax Network; and (e) the asset’s criticality rating.
           Equifax shall maintain, regularly review and revise as necessary, and
           comply with a Governance Process1 establishing that hardware and
           software within the Equifax Network be rated based on criticality,
           factoring in whether such assets are used to collect, process, or store
           Personal Information. Equifax shall comply with this provision by June
           30, 2020.

    4      Data Classification: Equifax shall maintain and regularly review and
           revise as necessary a data classification and handling standard.




1
  “Governance Process” shall mean any written policy, standard, procedure or
process (or any combination thereof) designed to achieve a control objective with
respect to the Equifax Network.


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5      Security Information and Event Management: Consistent with NIST or
       another comparable standard, Equifax shall implement a comprehensive,
       continuous, risk-based SIEM s olution (or equivalent). Equifax shall
       continuously monitor, and shall test on at least a monthly basis, any tool
       used pursuant to this paragraph, to properly configure, regularly update,
       and maintain the tool, to ensure that the Equifax Network is adequately
       monitored.

6      Logging and Monitoring: Equifax shall maintain, regularly review and
       revise as necessary, and comply with a Governance Process establishing:
       (1) risk-based monitoring and logging of security events, operational
       activities, and transactions on the Equifax Network, (2) the reporting of
       anomalous activity through the use of appropriate platforms, and (3)
       requiring tools used to perform these tasks be appropriately monitored and
       tested to assess proper configuration and maintenance. The Governance
       Process shall include the classification of security events based on severity
       and appropriate remediation timelines based on classification.

7      Vulnerability Scanning: Equifax shall implement and maintain a risk-
       based vulnerability scanning program reasonably designed to identify and
       assess vulnerabilities within the Equifax Network.

8      Penetration Testing: Equifax shall implement and maintain a risk-based
       penetration-testing program reasonably designed to identify and assess
       security vulnerabilities within the Equifax Network.

9      Vulnerability Planning: Equifax shall rate and rank the criticality of all
       vulnerabilities within the Equifax Network. For each vulnerability that is
       ranked most critical, Equifax shall commence remediation planning within
       twenty-four (24) hours after the vulnerability has been rated as critical and
       shall apply the remediation within one (1) week after the vulnerability has
       received a critical rating. If the remediation cannot be applied within one
       (1) week after the vulnerability has received a critical rating, Equifax shall
       identify or implement compensating controls designed to protect Personal
       Information as soon as practicable but no later than one (1) week after the
       vulnerability received a critical rating.

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10      Patch Management: Equifax shall maintain, regularly review and revise
        as necessary, and comply with a Governance Process to maintain, keep
        updated, and support the software on the Equifax Network. Equifax shall
        maintain reasonable controls to address the potential impact that security
        updates and patches may have on the Equifax Network and shall maintain
        a tool that includes an automated Common Vulnerabilities and Exposures
        (CVE) feed with regular updates regarding known CVEs.

11      Threat Management: Equifax shall maintain, regularly review and revise
        as necessary, and comply with a Governance Process establishing a threat
        management program designed to appropriately monitor the Equifax
        Network for threats and assess whether monitoring tools are appropriately
        configured, tested, and updated.

12      Access Control and Account Management: Equifax shall maintain,
        regularly review and revise as necessary, and comply with a Governance
        Process established to appropriately manage Equifax Network accounts.
        This Governance Process shall include, at a minimum, (1) implementing
        appropriate password, multi-factor, or equivalent authentication protocols;
        (2) implementing and maintaining appropriate policies for the secure
        storage of Equifax Network account passwords, including policies based
        on industry best practices; and (3) limiting access to Personal Information
        by persons accessing the Equifax Network on a least-privileged basis.

13      File Integrity Monitoring: Equifax shall maintain, regularly review and
        revise as necessary, and comply with a Governance Process established to
        provide prompt notification of unauthorized modifications to the Equifax
        Network.

14      Legacy Systems: Equifax shall develop and implement a risk-based plan
        to remediate current legacy systems on a schedule that provides for
        remediation within five years following final approval of this Agreement
        and which includes applying compensating controls until the systems are
        remediated. Equifax shall also maintain a Governance Process for active
        lifecycle management for replacing and deprecating legacy systems when
        they reach end of life.

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15      Encryption: Equifax shall maintain, regularly review and revise as
        necessary, and comply with a Governance Process requiring Equifax
        either to encrypt Personal Information or otherwise implement adequate
        compensating controls.

16      Data Retention: Equifax shall maintain, regularly review and revise as
        necessary, and comply with a Governance Process establishing a retention
        schedule for Personal Information on the Equifax Network and a process
        for deletion or destruction of Personal Information when such information
        is no longer necessary for a business purpose, except where such
        information is otherwise required to be maintained by law.

17      TrustedID Premier: Equifax, including by or through any partner,
        affiliate, agent, or third party, shall not use any information provided by
        consumers (or the fact that the consumer provided information) to enroll in
        TrustedID Premier to sell, upsell, or directly market or advertise its fee-
        based products or services.

18      Mandatory Training: Equifax shall establish an information security
        training program that includes, at a minimum, at least annual information
        security training for all employees, with additional training to be provided
        as appropriate based on employees’ job responsibilities.

19      Vendor Management: Equifax shall oversee its third party vendors who
        have access to the Equifax Network by maintaining and periodically
        reviewing and revising, as needed, a Governance Process for assessing
        vendor compliance in accordance with Equifax’s Information Security
        Program to assess whether the vendor’s security safeguards are
        appropriate for that business, which Governance Process requires vendors
        by contract to implement and maintain such safeguards and to notify
        Equifax within seventy-two (72) hours of discovering a security event,
        where feasible.




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20      Incident Response Exercises: Equifax shall conduct, at a minimum,
        biannual incident response plan exercises to test and assess its
        preparedness to respond to a security event.
21      Breach Notification: Equifax shall comply with the state data breach
        notification laws, as applicable, and unless preempted by federal law.
22      Information Security Spending: Equifax shall ensure that its Information
        Security Program receives the resources and support reasonably necessary
        for the Information Security Program to function as required by this
        Settlement. In addition, over a five-year period beginning 1/1/2019,
        Equifax shall spend a minimum of $1 billion on data security and related
        technology.

23      Third-Party Assessments: Equifax shall engage a Third-Party Assessor
        meeting the criteria specified in this Agreement to conduct a SOC 2 Type
        2 attestation, or to conduct an assessment using industry-recognized
        procedures and standards in satisfaction of Regulator requirements for this
        Agreement (the “Third-Party Assessments”). The Third-Party
        Assessments will meet the following minimum standards, unless a
        Regulator expressly authorizes otherwise:

           a. The Third-Party Assessments will be conducted by an unbiased,
              independent, cybersecurity organization agreeable both to Equifax
              and a Regulator. Prior to selection, Equifax will disclose to the
              Regulator approving the Third-Party Assessor any compensated
              engagement by Equifax of the Third-Party Assessor in the 2 years
              prior to the assessment. The Third-Party Assessor shall be a
              Certified Information Systems Security Professional (“CISSP”) or a
              Certified Information Systems Auditor (“CISA”), or a similarly
              qualified organization; and have at least five (5) years of experience
              evaluating the effectiveness of computer system security or
              information system security.

           b. The scope of the Third-Party Assessments, including the assertion
              statements required, will be established by the Third-Party Assessor
              in consultation with Equifax.

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           c. The Third-Party Assessments will evaluate Equifax’s Information
              Security Program, including its policies and practices, consistent
              with NIST or another comparable standard.

           d. The reporting periods for the Third-Party Assessments shall (1)
              cover the first 180 days following final approval of this Agreement
              for the initial Third-Party Assessment, and each two-year period
              thereafter for a total of seven (7) years. Provided, however, that the
              parties agree in good faith to adjust this timeline to align with Third-
              Party Assessments performed for Regulators to the extent that they
              are used to satisfy this Agreement.

           e. The Third-Party Assessor will confirm that Equifax has complied
              with the terms of this Agreement.

           f. The Third-Party Assessments will identify deficiencies in Equifax’s
              Information Security Program and, in good faith cooperation with
              Equifax’s CISO or their designee, prioritize and establish dates by
              which Equifax shall remediate the deficiencies identified or
              implement compensating controls.

           g. Within 30 days after the close of each reporting period in Paragraph
              23(d) above, the Third-Party Assessor will provide to a designated
              Consumer Plaintiffs’ Counsel a verification of compliance with this
              Agreement, which includes the identification of material
              deficiencies and Equifax’s corresponding plan pursuant to
              Paragraph 23(f).

           h. Equifax may use a Third-Party Assessment performed in satisfaction
              of obligations to government entities to meet the Third-Party
              Assessment requirement here, provided that the assessment
              complies with Paragraph 23.
24      Regulator Requirements: The Parties acknowledge that Equifax may be
        obligated to comply with requirements governing Equifax’s Information
        Security Program and Third-Party Assessments as part of the resolution of
        claims stemming from the 2017 Data Breach and asserted against Equifax

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        by certain government entities (the “Regulator Requirements”). In the
        event that any of the specific obligations set forth in the above provisions
        conflict with provisions set forth in the Regulator Requirements regarding
        the same or similar obligations, then the more restrictive Regulator
        provision shall apply and supersede the less restrictive provision in this
        Agreement.

25      Miscellaneous: In the event that technological or industry developments
        or intervening changes in law render any of the provisions set forth in this
        Agreement obsolete or make compliance by Equifax with any provision
        impossible or technically impractical, Equifax will provide notice to Co-
        Lead Counsel for Consumer Plaintiffs. If the Parties reach a mutual
        agreement that the elimination or modification of a provision is
        appropriate, they may jointly petition the Court to eliminate or modify
        such provision. If the Parties fail to reach an agreement, Equifax may
        petition the Court to eliminate or modify such provision. Under any
        circumstances, to the extent Consumer Plaintiffs believe that Equifax is
        not complying with any business practices commitments, they will first
        meet and confer with Equifax prior to seeking relief from the Court.




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                           EXHIBIT 3


                 PROPOSED CONSENT ORDER
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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION
_____________________________
                                   ) MDL Docket No. 2800
In re: Equifax, Inc. Customer      ) Case No.: 1:17-md-2800-TWT
Data Security Breach Litigation    )
                                   ) CONSUMER CASES
                                   )
_____________________________ )

                       [PROPOSED] CONSENT ORDER

      On July ___, 2019, the Consumer Plaintiffs, by and through the Settlement

Class Representatives on behalf of themselves and the Settlement Class, entered

into a Settlement Agreement with Defendants Equifax Inc., Equifax Information

Services LLC, and Equifax Consumer Services LLC (collectively “Equifax”) to

resolve the consumer track of the above-captioned litigation.

      Pursuant to Sections 2.7, 4.1.1, and 4.1.2, and Exhibits 2 and 3 of the

Settlement Agreement, Equifax is obligated to undertake certain Business Practice

Commitments that are to be memorialized in a Consent Order entered by this Court

in connection with the Judgment. The Court, having reviewed the Settlement

Agreement, Exhibits, and Business Practices Commitments set forth therein,

hereby ORDERS as follows:
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       Unless otherwise specified below, the following security measures or their

equivalents will be deployed and maintained by Equifax for at least five (5) years

from the date this Court grants final approval of the Settlement Agreement:

 1.      Scope: This Order shall apply to all networking equipment, databases or

         data stores, applications, servers, and endpoints that: (1) are capable of

         accessing, using or sharing software, data, and hardware resources; (2) are

         owned, operated, and/or controlled by Equifax; and (3) collect, process,

         store, have access, or grant access to Personal Information of consumers

         who reside in the United States, but excluding networking equipment,

         databases or data stores, applications, servers, or endpoints outside of the

         U.S. where access to Personal Information is restricted using a risk-based

         control (“Equifax Network”). For purposes of this Order, the following

         definitions apply:

            a. “Personal Information” shall have the same meaning as set forth in

               the data privacy laws in the states in which Class Members reside,

               unless preempted by federal law.

            b. The “NIST Standard” refers to the most recent applicable NIST

               guidance, beginning with NIST 800-53r4, as the primary set of

               standards, definitions, and controls. Where this Order requires



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              Equifax to test cyber resilience, Equifax will use an industry-

              recognized cybersecurity framework (for example, NIST CSF

              framework). Where this Order refers to “NIST or another

              comparable standard,” Equifax either will use the NIST standard

              indicated above or another industry-recognized cybersecurity

              standard that satisfies Regulator Requirements.

           c. “Regulator” means the Federal Trade Commission (“FTC”), the

              Consumer Financial Protection Bureau (“CFPB”), or the multi-state

              group of state Attorneys General investigating the 2017 Data

              Breach. If no Regulator is willing or able to make a determination

              under this Order, then one of the attorneys designated as Co-Lead

              Counsel for the Consumer Plaintiffs in this multi-district litigation,

              or their law firms, and Equifax’s CISO or their designee shall, in

              good faith, reach a determination.

2.      Information Security Program: Within ninety (90) days of final

        approval of the Settlement Agreement, Equifax shall implement, and

        thereafter regularly maintain, review, and revise a comprehensive

        Information Security Program that is reasonably designed to protect the




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            confidentiality, integrity, and availability of the Personal Information that

            Equifax collects, processes, or stores on the Equifax Network.

    3.      Managing Critical Assets: Equifax shall identify and document a

            comprehensive IT asset inventory, using an automated tool(s) where

            practicable, that, consistent with NIST or another comparable standard,

            will inventory and classify, and issue reports on, all assets that comprise

            the Equifax Network, including but not limited to software, applications,

            network components, databases, data stores, tools, technology, and

            systems. The asset inventory required under this paragraph shall be

            regularly updated and, at a minimum, identify: (a) the name of the asset;

            (b) the version of the asset; (c) the owner of the asset; (d) the asset’s

            location within the Equifax Network; and (e) the asset’s criticality rating.

            Equifax shall maintain, regularly review and revise as necessary, and

            comply with a Governance Process1 establishing that hardware and

            software within the Equifax Network be rated based on criticality,

            factoring in whether such assets are used to collect, process, or store




1
  “Governance Process” shall mean any written policy, standard, procedure or
process (or any combination thereof) designed to achieve a control objective with
respect to the Equifax Network.


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        Personal Information. Equifax shall comply with this provision by June

        30, 2020.

4.      Data Classification: Equifax shall maintain and regularly review and

        revise as necessary a data classification and handling standard.

5.      Security Information and Event Management: Consistent with NIST or

        another comparable standard, Equifax shall implement a comprehensive,

        continuous, risk-based SIEM solution (or equivalent). Equifax shall

        continuously monitor, and shall test on at least a monthly basis, any tool

        used pursuant to this paragraph, to properly configure, regularly update,

        and maintain the tool, to ensure that the Equifax Network is adequately

        monitored.

6.      Logging and Monitoring: Equifax shall maintain, regularly review and

        revise as necessary, and comply with a Governance Process establishing:

        (1) risk-based monitoring and logging of security events, operational

        activities, and transactions on the Equifax Network, (2) the reporting of

        anomalous activity through the use of appropriate platforms, and (3)

        requiring tools used to perform these tasks be appropriately monitored and

        tested to assess proper configuration and maintenance. The Governance




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        Process shall include the classification of security events based on severity

        and appropriate remediation timelines based on classification.

7.      Vulnerability Scanning: Equifax shall implement and maintain a risk-

        based vulnerability scanning program reasonably designed to identify and

        assess vulnerabilities within the Equifax Network.

8.      Penetration Testing: Equifax shall implement and maintain a risk-based

        penetration-testing program reasonably designed to identify and assess

        security vulnerabilities within the Equifax Network.

9.      Vulnerability Planning: Equifax shall rate and rank the criticality of all

        vulnerabilities within the Equifax Network. For each vulnerability that is

        ranked most critical, Equifax shall commence remediation planning within

        twenty-four (24) hours after the vulnerability has been rated as critical and

        shall apply the remediation within one (1) week after the vulnerability has

        received a critical rating. If the remediation cannot be applied within one

        (1) week after the vulnerability has received a critical rating, Equifax shall

        identify or implement compensating controls designed to protect Personal

        Information as soon as practicable but no later than one (1) week after the

        vulnerability received a critical rating.




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10.   Patch Management: Equifax shall maintain, regularly review and revise

      as necessary, and comply with a Governance Process to maintain, keep

      updated, and support the software on the Equifax Network. Equifax shall

      maintain reasonable controls to address the potential impact that security

      updates and patches may have on the Equifax Network and shall maintain

      a tool that includes an automated Common Vulnerabilities and Exposures

      (CVE) feed with regular updates regarding known CVEs.

11.   Threat Management: Equifax shall maintain, regularly review and revise

      as necessary, and comply with a Governance Process establishing a threat

      management program designed to appropriately monitor the Equifax

      Network for threats and assess whether monitoring tools are appropriately

      configured, tested, and updated.

12.   Access Control and Account Management: Equifax shall maintain,

      regularly review and revise as necessary, and comply with a Governance

      Process established to appropriately manage Equifax Network accounts.

      This Governance Process shall include, at a minimum, (1) implementing

      appropriate password, multi-factor, or equivalent authentication protocols;

      (2) implementing and maintaining appropriate policies for the secure

      storage of Equifax Network account passwords, including policies based



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      on industry best practices; and (3) limiting access to Personal Information

      by persons accessing the Equifax Network on a least-privileged basis.

13.   File Integrity Monitoring: Equifax shall maintain, regularly review and

      revise as necessary, and comply with a Governance Process established to

      provide prompt notification of unauthorized modifications to the Equifax

      Network.

14.   Legacy Systems: Equifax shall develop and implement a risk-based plan

      to remediate current legacy systems on a schedule that provides for

      remediation within five years following entry of this Order and which

      includes applying compensating controls until the systems are remediated.

      Equifax shall also maintain a Governance Process for active lifecycle

      management for replacing and deprecating legacy systems when they

      reach end of life.

15.   Encryption: Equifax shall maintain, regularly review and revise as

      necessary, and comply with a Governance Process requiring Equifax

      either to encrypt Personal Information or otherwise implement adequate

      compensating controls.

16.   Data Retention: Equifax shall maintain, regularly review and revise as

      necessary, and comply with a Governance Process establishing a retention



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      schedule for Personal Information on the Equifax Network and a process

      for deletion or destruction of Personal Information when such information

      is no longer necessary for a business purpose, except where such

      information is otherwise required to be maintained by law.

17.   TrustedID Premier: Equifax, including by or through any partner,

      affiliate, agent, or third party, shall not use any information provided by

      consumers (or the fact that the consumer provided information) to enroll in

      TrustedID Premier to sell, upsell, or directly market or advertise its fee-

      based products or services.

18.   Mandatory Training: Equifax shall establish an information security

      training program that includes, at a minimum, at least annual information

      security training for all employees, with additional training to be provided

      as appropriate based on employees’ job responsibilities.

19.   Vendor Management: Equifax shall oversee its third party vendors who

      have access to the Equifax Network by maintaining and periodically

      reviewing and revising, as needed, a Governance Process for assessing

      vendor compliance in accordance with Equifax’s Information Security

      Program to assess whether the vendor’s security safeguards are

      appropriate for that business, which Governance Process requires vendors



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      by contract to implement and maintain such safeguards and to notify

      Equifax within seventy-two (72) hours of discovering a security event,

      where feasible.

20.   Incident Response Exercises: Equifax shall conduct, at a minimum,

      biannual incident response plan exercises to test and assess its

      preparedness to respond to a security event.

21.   Breach Notification: Equifax shall comply with the state data breach

      notification laws, as applicable, and unless preempted by federal law.

22.   Information Security Spending: Equifax shall ensure that its Information

      Security Program receives the resources and support reasonably necessary

      for the Information Security Program to function as required by this

      Settlement. In addition, over a five-year period beginning January 1, 2019,

      Equifax shall spend a minimum of $1,000,000,000 ($1 billion) on data

      security and related technology.

23.   Third-Party Assessments: Equifax shall engage a Third-Party Assessor

      meeting the criteria specified in this Order to conduct a SOC 2 Type 2

      attestation, or to conduct an assessment using industry-recognized

      procedures and standards in satisfaction of Regulator requirements for this

      Order (the “Third-Party Assessments”). The Third-Party Assessments will



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   meet the following minimum standards, unless a Regulator expressly

   authorizes otherwise:

      a. The Third-Party Assessments will be conducted by an unbiased,

         independent, cybersecurity organization agreeable both to Equifax

         and a Regulator. Prior to selection, Equifax will disclose to the

         Regulator approving the Third-Party Assessor any compensated

         engagement by Equifax of the Third-Party Assessor in the 2 years

         prior to the assessment. The Third-Party Assessor shall be a

         Certified Information Systems Security Professional (“CISSP”) or a

         Certified Information Systems Auditor (“CISA”), or a similarly

         qualified organization; and have at least five (5) years of experience

         evaluating the effectiveness of computer system security or

         information system security.

      b. The scope of the Third-Party Assessments, including the assertion

         statements required, will be established by the Third-Party Assessor

         in consultation with Equifax.

      c. The Third-Party Assessments will evaluate Equifax’s Information

         Security Program, including its policies and practices, consistent

         with NIST or another comparable standard.



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      d. The reporting periods for the Third-Party Assessments shall (1)

         cover the first 180 days following final approval of the Settlement

         Agreement for the initial Third-Party Assessment, and each two-

         year period thereafter for a total of seven (7) years. Provided,

         however, that the parties agree in good faith to adjust this timeline to

         align with Third-Party Assessments performed for Regulators to the

         extent that they are used to satisfy this Order.

      e. The Third-Party Assessor will confirm that Equifax has complied

         with the terms of this Order.

      f. The Third-Party Assessments will identify deficiencies in Equifax’s

         Information Security Program and, in good faith cooperation with

         Equifax’s CISO or their designee, prioritize and establish dates by

         which Equifax shall remediate the deficiencies identified or

         implement compensating controls.

      g. Within 30 days after the close of each reporting period in Paragraph

         23(d) above, the Third-Party Assessor will provide to Consumer

         Plaintiffs’ Co-Lead Counsel a verification of compliance with this

         Order, which includes the identification of material deficiencies and

         Equifax’s corresponding plan pursuant to Paragraph 23(f).



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         h. Equifax may use a Third-Party Assessment performed in satisfaction

            of obligations to government entities to meet the Third-Party

            Assessment requirement here, provided that the assessment

            complies with Paragraph 23 of this Order.

24.   Regulator Requirements: The Parties and Court acknowledge that

      Equifax may be obligated to comply with requirements governing

      Equifax’s Information Security Program and Third-Party Assessments as

      part of the resolution of claims stemming from the 2017 Data Breach and

      asserted against Equifax by certain government entities (the “Regulator

      Requirements”). In the event that any of the specific obligations set forth

      in the above provisions conflict with provisions set forth in the Regulator

      Requirements regarding the same or similar obligations, then the more

      restrictive Regulator provision shall apply and supersede the less

      restrictive provision in this Order.

25.   Miscellaneous: In the event that technological or industry developments

      or intervening changes in law render any of the provisions set forth in this

      Order obsolete or make compliance by Equifax with any provision

      impossible or technically impractical, Equifax will provide notice to

      Consumer Plaintiffs Co-Lead Counsel. If the Parties reach a mutual



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       agreement that the elimination or modification of a provision is

       appropriate, they may jointly petition the Court to eliminate or modify

       such provision. If the Parties fail to reach an agreement, Equifax may

       petition the Court to eliminate or modify such provision. Under any

       circumstances, to the extent Consumer Plaintiffs believe that Equifax is

       not complying with any provision of this Order, they will first meet and

       confer with Equifax prior to seeking relief from the Court.

 26.   Continuing    Jurisdiction     and   Enforcement:     The     Court   retains

       jurisdiction over this matter and the Parties for purposes of enforcing the

       terms of this Consent Order.



IT IS SO ORDERED this ____ day of _________________, 2019.



                                            ____________________________
                                            THOMAS W. THRASH, JR.
                                            United States District Judge




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                           EXHIBIT 4

   CREDIT MONITORING AND RESTORATION SERVICES
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               Three-Bureau Credit Monitoring Services
The following provisions are subject to the terms and definitions set forth in the Parties’

Settlement Agreement (the “Agreement”). The Credit Monitoring Services as defined in the

Agreement shall include:

       1. Daily Consumer Report monitoring from each of the three nationwide Consumer

           Reporting Agencies showing key changes to one or more of a Settlement Class

           Member’s Consumer Reports, including automated alerts when the following occur:

           new accounts are opened; inquiries or requests for Settlement Class Member’s

           Consumer Report for the purpose of obtaining credit; changes to a Settlement Class

           Member’s address; and negative information, including delinquencies or

           bankruptcies.

       2. On-demand online access to a free copy of a Settlement Class Member’s Experian

           Consumer Report, updated on a monthly basis;

       3. Automated alerts, using public or proprietary data sources:

                   i. when data elements submitted by the Settlement Class Member for

                       monitoring (such as a Social Security number, email address, or credit

                       card number) are discovered on suspicious web sites, including

                       underground web sites known as the “dark web”;

                   ii. when names, aliases, and addresses have been associated with the

                       Settlement Class Member’s Social Security number;

                   iii. when a payday loan or certain other unsecured credit has been taken or

                       opened using the Settlement Class Member’s Social Security number;




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             iv. when a Settlement Class Member’s information matches information in

                 arrest records or criminal court records;

             v. when a Settlement Class Member’s information is used for identity

                 authentication;

             vi. when a Settlement Class Member’s mail has been redirected through the

                 United States Postal Service;

             vii. when banking activity is detected related to new deposit account

                 applications, opening of new deposit accounts, changes to Settlement

                 Class Member’s personal information on an account, and new signers

                 being added to a Settlement Class Member’s account;

            viii. when a balance is reported on a Settlement Class Member’s credit line that

                 has been inactive for at least six months.

  4. One Million Dollars ($1,000,000) in identity theft insurance to cover loss related to a

     stolen identity event, including coverage prior to the Settlement Class Member’s

     enrollment in the Credit Monitoring Services, provided the loss results from a stolen

     identity event first discovered during the policy period and subject to the terms of the

     insurance policy;

  5. A customer service center to provide assistance with enrollment, website navigation,

     monitoring alerts questions, dispute assistance, fraud resolution assistance, and other

     assistance related to the Credit Monitoring Services;

  6. Full Identity Restoration Services as described below; and

  7. For Settlement Class Members under the age of 18, a parent or guardian can enroll

     the Settlement Class Member under the age of 18 to receive the following services:




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     alerts when data elements submitted for monitoring appear on suspicious websites,

     including underground websites known as the “dark web;” alerts when the Social

     Security number of a Settlement Class Member under the age of 18 is associated with

     new names or addresses or the creation of a Consumer Report at one or more of the

     three nationwide Consumer Reporting Agencies; and Full Service Identity

     Restoration, working with the legal guardian, in the event that a Settlement Class

     Member under the age of 18 has their identity compromised. Upon turning 18, the

     Settlement Class Member can enroll in the Credit Monitoring Services. If a

     Settlement Class Member under the age of 18 has an Experian Consumer Report with

     sufficient detail to permit authentication, a parent or guardian may enroll them in the

     Credit Monitoring Services prior to their eighteenth birthday.




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                                 Restoration Services
The following provisions are subject to the terms and definitions set forth in the Parties’

Settlement Agreement (the “Agreement”). Restoration Services as described in the Agreement

consist of “Assisted Identity Restoration” and “Full Service Identity Restoration” provided by a

third party not affiliated with Equifax.

       1. Assisted Identity Restoration: Any Settlement Class Member who is not enrolled in

           the Credit Monitoring Services may avail themselves of Assisted Identity Restoration

           for seven (7) years from the Effective Date. Assisted Identity Restoration includes

           assignment of a dedicated identity theft restoration specialist to a Settlement Class

           Member who has experienced an identity theft event. The specialist provides

           assistance to the Settlement Class Member in addressing that identity theft event,

           including a customized step-by-step process with form letters to contact companies,

           government agencies, Consumer Reporting Agencies, or others, and by participating

           in conference calls with an affected financial institution or government agency related

           to the identity theft event.

       2. Full Service Identity Restoration: Any Affected Consumer who is enrolled in the

           Credit Monitoring Services may avail themselves of Full Service Identity Restoration

           while they are enrolled. Full Service Identity Restoration includes assignment of a

           dedicated identity theft restoration specialist to a Settlement Class Member who has

           experienced an identity theft event, as well as use of a specialized limited power of

           attorney to assist the Settlement Class Member in addressing the identity theft event,

           including by contacting companies, government agencies, or Consumer Reporting

           Agencies on behalf of the Settlement Class Member. Full Service Identity Restoration



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     also includes the use of interactive dispute letters.




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           Equifax One-Bureau Credit Monitoring Services
The following provisions are subject to the terms and definitions set forth in the Parties’

Settlement Agreement (the “Agreement”).

Equifax One-Bureau Credit Monitoring Services will include the following:

       1. Daily Consumer Report monitoring from Equifax showing key changes to the

           enrolled Settlement Class Member’s Equifax Information Services LLC (“EIS”)

           Consumer Report including automated alerts when the following occur: new accounts

           are opened; inquiries or requests for an Affected Consumer’s Consumer Report for

           the purpose of obtaining credit; changes to an Affected Consumer’s address; and

           negative information, such as delinquencies or bankruptcies;

       2. On-demand online access to a free copy of an enrolled Settlement Class Member’s

           EIS Consumer Report, updated on a monthly basis;

       3. Automated alerts using certain available public and proprietary data sources when

           data elements submitted by an enrolled Settlement Class Member for monitoring,

           such as Social Security numbers, email addresses, or credit card numbers, appear on

           suspicious websites, including underground websites known as the “dark web;” and

       4. For Settlement Class Members under the age of 18, Equifax shall provide child

           monitoring services where the validated parent or guardian can enroll the Settlement

           Class Member under the age of 18 in these services. Child monitoring services

           include: alerts when data elements such as a Social Security number submitted for

           monitoring appear on suspicious websites, including underground websites known as

           the “dark web;” for minors who do not have an EIS Consumer Report, an EIS

           Consumer Report is created, locked, and then monitored, and for minors with an EIS



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     Consumer Report, their Consumer Report is locked and then monitored. The types of

     alerts that minors may receive through child monitoring services are the same as the

     types of alerts that adults receive.




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                            EXHIBIT 5

                  ORDER DIRECTING NOTICE
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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION
_____________________________
                                   ) MDL Docket No. 2800
In re: Equifax, Inc. Customer      ) Case No.: 1:17-md-2800-TWT
Data Security Breach Litigation    )
                                   ) CONSUMER ACTIONS
                                   )
_____________________________ )

                        ORDER DIRECTING NOTICE

       Before the Court is the Consumer Plaintiffs’ unopposed motion to permit

issuance of class notice of the proposed class action settlement. Having reviewed

the proposed settlement agreement, together with its exhibits, and based upon the

relevant papers and all prior proceedings in this matter, the Court has determined

the proposed settlement satisfies the criteria of Federal Rule of Civil Procedure

23(e) such that the Court will likely be able to approve the proposed settlement as

fair, reasonable, and adequate, and that issuance of notice of the proposed

settlement in accordance with the proposed notice plan is appropriate.

Accordingly, good cause appearing in the record, IT IS HEREBY ORDERED

THAT:

                    The Settlement Class and Class Counsel

      (1)   As set forth more fully herein, the Court finds that giving notice of the

proposed settlement is justified pursuant to Federal Rule of Civil Procedure
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23(e)(1). The Court finds that it will likely be able to approve the proposed

settlement as fair, reasonable, and adequate. The Court also finds that it will likely

be able to certify the following settlement class for purposes of judgment on the

settlement:

      The approximately 147 million U.S. consumers identified by Equifax
      whose personal information was compromised as a result of the
      cyberattack and data breach announced by Equifax on September 7,
      2017.1

      (2)     For settlement purposes, the Court determines the proposed settlement

class meets all the requirements of Rule 23(a) and (b)(3), namely that the class is

so numerous that joinder of all members is impractical; that there are common

issues of law and fact; that the claims of the class representatives are typical of

absent class members; that the class representatives will fairly and adequately

protect the interests of the class, as they have no interests antagonistic to or in

conflict with the class and have retained experienced and competent counsel to

prosecute this matter; that common issues predominate over any individual issues;

and that a class action is the superior means of adjudicating the controversy.


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  Excluded from the settlement class are: (i) Defendants, any entity in which
Defendants have a controlling interest, and Defendants’ officers, directors, legal
representatives, successors, subsidiaries, and assigns; (ii) any judge, justice, or
judicial officer presiding over this matter and the members of their immediate
families and judicial staff; and (iii) any individual who timely and validly opts out
of the settlement class.


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      (3)    The Court appoints the named plaintiffs identified in Exhibit 10 as

representatives of the proposed settlement class.

      (4)    The following lawyers are designated as settlement class counsel

pursuant to Rule 23(g): Kenneth S. Canfield of Doffermyre Shields Canfield &

Knowles, LLC; Amy E. Keller of DiCello Levitt & Gutzler, LLC; Norman E.

Siegel of Stueve Siegel Hanson LLP; and Roy Barnes of Barnes Law Group, LLC.

The Court finds that these lawyers are experienced and will adequately protect the

interests of the settlement class.

               Preliminary Evaluation of the Proposed Settlement

      (5)    Upon preliminary review, the Court finds the proposed settlement

provides a recovery for the class that is within the range of what could be approved

as fair, reasonable, and adequate, taking into account all of the risks, expense, and

delay of continued litigation; is the result of numerous good faith and arm’s-length

negotiations that took place under the auspices of a prominent national mediator; is

not otherwise deficient; otherwise meets the criteria for approval; and thus

warrants issuance of notice to the settlement class.

      (6)    In making this determination, the Court has considered the substantial

monetary and non-monetary benefits to the class; the specific risks faced by the

class in prevailing on Consumer Plaintiffs’ claims; the stage of the proceedings at



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which the settlement was reached; the effectiveness of the proposed method for

distributing relief to the class; the proposed manner of allocating benefits to class

members; and all of the other factors required under Rule 23.

                                Approval Hearing

      (7)    An approval hearing shall take place before the Court on

_________________, 2019, at _____ a.m./p.m. in Courtroom 2108 of the United

States District Court for the Northern District of Georgia, located at the Richard B.

Russell Federal Building and United States Courthouse, 75 Ted Turner Drive, SW,

Atlanta, Georgia 30303-3309 to determine whether: (a) the proposed settlement

class should be certified for settlement purposes pursuant to Rule 23; (b) the

settlement should be approved as fair, reasonable, and adequate and, in accordance

with the settlement’s terms, this matter should be dismissed with prejudice; (c)

class counsel’s application for attorneys’ fees and expenses should be approved;

and (d) the application for the class representatives to receive service awards

should be approved. Any other matters the Court deems necessary and appropriate

will also be heard.

      (8)    Any settlement class member who has not timely and properly

excluded themselves from the settlement class in the manner described below may

appear at the approval hearing in person or through counsel and be heard, as



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allowed by the Court, regarding the proposed settlement; provided, however, that

no class member who excluded themselves from the class shall be entitled to object

or otherwise appear, and, further provided, that no class member shall be heard in

opposition to the settlement unless the class member complies with the

requirements of this Order pertaining to objections, which are described below.

                        Administration and CAFA Notice

      (9)    JND    Legal    Administration     is   appointed   as   the   settlement

administrator, with responsibility for claim submissions, certain notice functions,

and administration pursuant to the terms of the settlement agreement. The claim

form attached to the settlement agreement is approved, as are versions derived

therefrom to be used during the extended claims period and for claims by minors,

as described in the motion for this order directing notice. The settlement

administrator may, where necessary, require individuals to provide, through

written, electronic, or other means, certain personal information including (without

limitation) full name, address, year of birth, email address, phone number, and last

six (6) digits of Social Security number in order to verify an individual’s status as a

class member and/or eligibility for any benefits under the settlement, in addition to

any other purposes consistent with the settlement administrator’s responsibilities

under the settlement agreement. The settlement administrator’s fees, as approved



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by the parties, will be paid from the settlement fund pursuant to the settlement

agreement.

      (10) Within 10 days after the filing of the motion to permit issuance of

notice, Defendant shall serve or cause to be served a notice of the proposed

settlement on appropriate state officials in accordance with the requirements under

the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715(b).

                               Notice to the Class

      (11) Signal Interactive Media LLC is appointed as the notice provider,

with responsibility for effectuating class notice in accordance with the proposed

notice plan. The notice provider’s fees, as approved by the parties, will be paid

from the settlement fund pursuant to the settlement agreement.

      (12) The notice plan set forth in the settlement agreement and the forms of

notice attached as exhibits to the settlement agreement satisfy the requirements of

Federal Rule of Civil Procedure 23 and thus are approved. Non-material

modifications to the exhibits may be made without further order of the Court. The

notice provider is directed to carry out the notice program in conformance with the

settlement agreement and to perform all other tasks that the settlement agreement

requires.




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      (13) The Court finds that the form, content, and method of giving notice to

the settlement class as described in the settlement agreement and exhibits: (a)

constitute the best practicable notice to the settlement class; (b) are reasonably

calculated, under the circumstances, to apprise settlement class members of the

pendency of the action, the terms of the proposed settlement, and their rights under

the proposed settlement; (c) are reasonable and constitute due, adequate, and

sufficient notice to those persons entitled to receive notice; and (d) satisfy the

requirements of Federal Rule of Civil Procedure 23, the constitutional requirement

of due process, and any other legal requirements. The Court further finds that the

notices are written in plain language, use simple terminology, and are designed to

be readily understandable by settlement class members.

      Appointment of Experian for Monitoring and Restoration Services

      (14)    The Court appoints Experian as the provider of monitoring services

to eligible Settlement Class Members as set forth in the Settlement Agreement. The

Court directs that Experian effectuate the Settlement Agreement in coordination

with Settlement Class Counsel, Equifax, and the Settlement Administrator, subject

to the jurisdiction and oversight of this Court.

                             Exclusions from the Class




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      (15) Any settlement class member who wishes to be excluded from the

settlement class must mail a written notification of the intent to exclude themselves

to the settlement administrator at the address provided in the notice, postmarked no

later than ____________ (the “opt-out deadline”). Each written request for

exclusion must identify this action, set forth the name of the individual seeking

exclusion, be signed by the individual seeking exclusion, and can only request

exclusion for that one individual.

      (16) The settlement administrator shall provide the parties with copies of

all opt-out notifications, and, within 14 days after the opt-out deadline, a final list

of all that have timely and validly excluded themselves from the settlement class.

The final list of exclusions as well as a final list of those in the class should be filed

with the Court before the approval hearing.

      (17) Any settlement class member who does not timely and validly exclude

themselves from the settlement shall be bound by the terms of the settlement. If

final judgment is entered, any settlement class member who has not submitted a

timely, valid written notice of exclusion from the settlement class shall be bound

by all subsequent proceedings, orders, and judgments in this matter, including but

not limited to the release set forth in the settlement and final judgment.




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      (18) All those settlement class members who submit valid and timely

notices of exclusion shall not be entitled to receive any benefits of the settlement.

                           Objections to the Settlement

      (19) A settlement class member who complies with the requirements of

this Order may object to the settlement, Class Counsel’s request for fees and

expenses, or the request for service awards to the class representatives.

      (20) No settlement class member shall be heard, and no papers, briefs,

pleadings, or other documents submitted by any settlement class member shall be

received and considered by the Court, unless the objection is (a) electronically filed

with the Court by the objection deadline; or (b) mailed to the settlement

administrator at the address listed in the Long Form Notice available on the

settlement website, and postmarked by no later than the objection deadline.

Objections shall not exceed twenty-five (25) pages. For the objection to be

considered by the Court, the objection must be in writing and shall set forth:

             (a)    The name of this action;

             (b)    The objector’s full name and current address;

             (c)    The objector’s personal signature on the written objection (an

                    attorney’s signature is not sufficient);




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            (d)   A statement indicating the basis for the objector’s belief that he

                  or she is a member of the settlement class;

            (e)   A statement of whether the objection applies only to the

                  objector, to a specific subset of the settlement class, or to the

                  entire settlement class;

            (f)   A statement of the objector’s grounds for the objection,

                  accompanied by any legal support for the objection;

            (g)   A statement identifying all class action settlements objected to

                  by the objector in the previous five (5) years; and

            (h)   A statement as to whether the objector intends to appear at the

                  Fairness Hearing, either in person or through counsel, and if

                  through counsel, identifying counsel by name, address, and

                  telephone number, and four dates between the Objection

                  Deadline and [a date two weeks before Fairness Hearing]

                  during which the objecting settlement class member is available

                  to be deposed by counsel for the Parties.

      (21) In addition to the foregoing, if the objector is represented by counsel

and such counsel intends to speak at the Fairness Hearing, the written objection

must include:



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             (a)   A detailed statement of the specific legal and factual basis for

                   each and every objection; and

             (b)   A detailed description of any and all evidence the objector may

                   offer at the Fairness Hearing, including copies of any and all

                   exhibits that the objector may introduce at the Fairness Hearing.

      (22) In addition to the foregoing, if the objector is represented by counsel,

and such counsel intends to seek compensation for his or her services from anyone

other than the objector, the written objection must include:

             (a)   The identity of all counsel who represent the objector, including

                   any former or current counsel who may be entitled to

                   compensation for any reason related to the objection;

             (b)   A statement identifying all instances in which the counsel or the

                   counsel’s law firm have objected to a class action settlement

                   within the preceding five (5) years, giving the style and court in

                   which the class action settlement was filed;

             (c)   A statement identifying any and all agreements that relate to the

                   objection or the process of objecting—whether written or

                   oral—between the objector, his or her counsel, and/or any other

                   person or entity;



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            (d)    A description of the counsel’s legal background and prior

                   experience in connection with class action litigation; and

            (e)    A statement regarding whether fees to be sought will be

                   calculated on the basis of a lodestar, contingency, or other

                   method; an estimate of the amount of fees to be sought; the

                   factual and legal justification for any fees to be sought; the

                   number of hours already spent by the counsel and an estimate

                   of the hours to be spent in the future; and the attorney’s hourly

                   rate.

      (23) Any settlement class member who fails to comply with the provisions

in this Order will waive and forfeit any and all rights they may have to object, may

have their objection stricken from the record, and may lose their rights to appeal

from approval of the settlement. Any such class member also shall be bound by all

the terms of the settlement agreement, this Order, and by all proceedings, orders,

and judgments, including, but not limited to, the release in the settlement

agreement if final judgment is entered.

                                 Claims Process

      (24) The settlement agreement establishes a process for claiming benefits

under the settlement, including reimbursement for out-of-pocket losses relating the



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breach; reimbursement for time spent remedying issues relating the breach; free

credit monitoring services; and alternative cash payments for those settlement class

members who already have some form of credit monitoring. If money remains in

the settlement fund after the initial claims period, an “extended claims period” will

go into effect for an additional 4 years (or until the fund is exhausted, whichever

occurs first) which will permit settlement class members to submit claims for

reimbursement of out-of-pocket losses or time spent remedying issues relating the

breach after the initial claims period if certain conditions are met. The settlement

agreement also sets forth a detailed disputes and appeals process for settlement

class members whose claims are denied in whole or part. The Court approves this

claims process and directs that the settlement administrator effectuate the claims

process according to the terms of the settlement agreement.

              Termination of the Settlement and Use of this Order

      (25) This Order shall become null and void and shall be without prejudice

to the rights of the parties, all of which shall be restored to their respective

positions existing immediately before this Court entered this Order, if the

settlement is not approved by the Court or is terminated in accordance with the

terms of the settlement agreement, all subject to the cure provisions set forth in the

settlement agreement. In such event, the settlement and settlement agreement shall



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become null and void and be of no further force and effect, and neither the

settlement agreement nor the Court’s orders, including this Order, relating to the

settlement shall be used or referred to for any purpose whatsoever.

      (26) This Order shall be of no force or effect if final judgment is not

entered or there is no effective date under the terms of the settlement agreement;

shall not be construed or used as an admission, concession, or declaration by or

against Defendants of any fault, wrongdoing, breach, or liability; shall not be

construed or used as an admission, concession, or declaration by or against any

settlement class representative or any other settlement class member that its claims

lack merit or that the relief requested is inappropriate, improper, or unavailable;

and shall not constitute a waiver by any party of any defense or claims it may have

in this litigation or in any other lawsuit.

                      Continuance of Final Approval Hearing

      (27) The Court reserves the right to adjourn or continue the approval

hearing and related deadlines without further written notice to the settlement class.

If the Court alters any of those dates or times, the revised dates and times shall be

posted on the settlement website.

                                Summary of Deadlines

      (28) The settlement agreement shall be administered according to its terms



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pending the Approval Hearing. Deadlines arising under the settlement agreement

and this Order include but are not limited to the following:

 EVENT                                         TIMING

 Deadline for Defendant to disseminate         [10 days after settlement agreement
 CAFA notices                                  filed with the Court]

 Deadline for Defendant to provide
                                               [5 business days after order directing
 settlement class list to settlement
                                               notice]
 administrator

 Notice date                                   [60 days after order directing notice]

 Deadline to file Class Counsel’s motion
                                               [at least 21 days before objection
 for attorneys’ fees, costs, expenses and
                                               deadline]
 service awards

 Deadline for Class Counsel to file motion
 for final approval of settlement and          [14 days prior to final approval
 responses to any timely submitted             hearing]
 settlement class member objections

 Objection deadline                            [60 days after notice date]

 Opt-out deadline                              [60 days after notice date]

                                               [6 months after order directing
 Initial claims deadline
                                               notice]

 Extended claims deadline                      [4 years after initial claims deadline]

                                               [At least 150 days after order
 Final approval hearing
                                               directing of notice]




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IT IS SO ORDERED this ____ day of _______________, 2019.

                                        ____________________________
                                        THOMAS W. THRASH, JR.
                                        United States District Judge




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                            EXHIBIT 6

                          NOTICE PLAN
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In re: Equifax, Inc. Customer Data Security
             Breach Litigation
       No. 1:17-MD-2800 (N.D. Ga.)


                         Notice Plan
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                                 NOTICE PLAN

      The Notice Plan for In re Equifax, Inc., Customer Data Security Breach

Litigation, MDL 2800 (N.D. Ga.) (Consumer Track) was developed by the Notice

Provider and the Parties in collaboration with the Federal Trade Commission, the

Consumer Finance Protection Bureau, and participating offices of State Attorneys

General (collectively, the “Regulators”). The Notice Plan will provide the best

notice practicable under the circumstances of this case, satisfy all aspects of Rule

23 of the Federal Rules of Civil Procedure, satisfy the Due Process clause of the

United States Constitution, and conform with the guidance for effective notice

articulated in the Manual for Complex Litigation, 4th.

      The objective of the Notice Plan is to provide the best notice practicable of

the Settlement to members of the Settlement Class as defined in the Settlement

Agreement and to enhance class members’ awareness about their rights and the

benefits available under the Settlement. The FJC’s Judges’ Class Action Notice

and Claims Process Checklist and Plain Language Guide considers 70-95% reach

among class members reasonable. In order to meet or exceed that reach, the Notice

Plan employs modern developments in the fields of public opinion research and

consumer behavior, including qualitative and quantitative testing, to craft and

select the most effective messaging and communication channels to increase notice



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and participation rates. The Notice Plan is designed to occur both during the Initial

and Extended Claims Periods provided by the Settlement as well as to provide

reminder notice during the time period after the Extended Claims Period in which

Class Members remain eligible for identity restoration services.

      The Notice Plan improves upon the approach utilized in many class action

settlements, which historically have not taken advantage of testing and consumer

research and often involve a single notice to each Settlement Class Member with

little follow up. The various forms of Notice in the plan will direct Settlement

Class Members to a settlement website that will contain links to Settlement

documents and provide Settlement Class Members with the ability to submit Claim

Forms electronically. The Settlement Administrator will maintain the website and

will work with the Notice Provider to develop and integrate relevant content for the

website and enhance consistency between the look and feel of the website and

notice messaging.

      The Notice Plan will have several components:

      1)     Initial Research and Testing through focus groups in several cities, a

             national polling survey, and digital ad testing;

      2)     Direct Notice through email, with assistance by the Settlement

             Administrator;



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       3)    Digital Notice during the Initial Claims Period through Facebook,

             Search (Google, Yahoo, and Bing), Twitter, and Display;

       4)    Paid Publication notice through the use of paid media, including USA

             Today and radio;

       5)    Extended Claims Period Notice Activities (if necessary); and,

       6)    Supplemental Notice Measures (if necessary).

These components will achieve the same reach and frequency benchmarks that

have been achieved under notice programs that have been approved by courts in

other cases. Each of these components is discussed in more detail below.

1.     Initial Research and Testing

       Following the entry of an order permitting issuance of notice of class action

settlement, the Notice Provider will begin a period of Initial Research and Testing.

This period of Initial Research and Testing will take about 14 days.

       Initial Research and Testing is customary in commercial and political mass

media advertising. It is used to measure the effectiveness of various media and

messaging, so that the Notice Provider may adjust and optimize the messaging

prior to full-scale investment and implementation. This methodology has been

shown to increase participation rates. In the Notice Plan, the purpose of Initial

Research Testing is primarily to confirm two things: 1) the best media and



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messaging practicable across various demographics of the class and 2) the best

notice practicable for those class members that may not be reached through the

digital components of the program.

      The Notice Provider has collaborated with the Parties and the Regulators to

prepare several different formats of digital and email notice with varying text,

graphic design, and layout. The Parties seek Court approval of the forms of notice

attached to this Notice Plan so that they may be tested prior to larger distribution.

This will permit the Notice Provider to study and analyze the most effective

method of providing notice in the digital and email channels and implement those

formats of notice deemed most effective. After approval by the Court, the different

forms of notices will be translated into Spanish by the Notice Provider and the

Spanish language notices will be used in connection with the notice effort where

appropriate.

      The initial research effort will involve a four-step process. First, the Notice

Provider will assemble a demographic profile of the Settlement Class using a

proprietary database of consumer information maintained by the Notice Provider.

Second, the Notice Provider will convene a series of ten focus groups comprised of

a representative cross-section of the class across the country. Each group will last

approximately two hours, be professionally moderated, and consist of



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approximately eight participants. Third, the Notice Provider will conduct a

statistically significant survey of 1,600 Settlement Class Members. As part of the

survey, in particular, the Notice Provider will seek to understand which class

members are least likely to be found online and assess the best way that is

practicable under the circumstances to reach those consumers. Fourth, in

conjunction with this research, the Notice Provider will conduct online early media

testing using Court-approved digital notices. The Notice Provider will measure

empirical results of testing and begin to define and optimize the variables affecting

response rate. The Notice Provider will then place (cause to be published) those

Court-approved notices, and send (cause to be sent) the Court-approved emails

measured to most effectively reach and inform Settlement Class Members of the

Settlement.

2.     Direct Notice

       Within five business days after the Court's order directing notice, Equifax

shall provide the Settlement Administrator with the names, last known mailing

address, date of birth, and last known email addresses of Settlement Class

Members to the extent reasonably available. The Settlement Administrator shall

make all necessary efforts to ensure the security and privacy of Settlement Class

Member information; shall not use the information provided by Equifax or Class



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Counsel in connection with the Settlement or this Notice Plan for any purposes

other than providing notice or conducting claims administration; and will not share

Settlement Class Member information with any third parties without advance

consent from the Parties. The Settlement Administrator will use reasonable efforts

to obtain email addresses for those Settlement Class Members whose email

addresses Equifax does not possess by comparing the class list with their

proprietary databases and purchasing emails to the extent practicable from

commercially available sources, including a proprietary database maintained by the

Notice Provider. To the extent that Equifax has reasonably available names or

other identifying information about Settlement Class Members, but not mailing or

email addresses, those names and other identifying information shall also be

provided to the Settlement Administrator for use in verifying the identity of

Settlement Class Members.

      Once this process is completed, the Settlement Administrator will send email

notice to those Settlement Class Members for whom an email address could be

identified. The initial email notice to all Settlement Class Members for whom an

email address is available will be sent by the Notice Date (60 days after the Court's

order directing notice). The 60-day period between the Court’s order directing

notice and the Notice Date is hereinafter referred to as the Initial Notice Period.



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Two more email notices will be sent during the Initial Claims Period to Settlement

Class Members who have not yet opted out, filed a claim, or unsubscribed from a

previous email.   The first additional email notice will be sent approximately

halfway through the Initial Claims Period and the second will be sent with

approximately two weeks left in the Initial Claims Period. The specific timing of

the two additional emails may be adjusted by the Notice Provider and Settlement

Administration as needed to avoid logistical difficulties and ensure proper

deliverability and effectiveness. Another email notice will be sent at or about the

beginning of the Extended Claims Period. Additional email notices may be sent as

recommended by the Settlement Administrator and approved by the Parties, who

shall not unreasonably withhold approval. The content of all proposed email

messaging appears in Exhibit A to this Notice Plan.

      To ensure the notice emails are seen by as many Class Members as

practicable, the Settlement Administrator will take steps to avoid its

communications being flagged in spam filters. Such measures include using a

reputable email service provider, avoiding spam trigger words in subject lines,

avoiding embedding forms and video, and staggering email batches. The

Settlement Administrator will also use reasonable efforts to obtain updated email




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addresses for those Class Members whose emails “bounce back” and to resend

notices to the updated email addresses.

       In order to combat phishing, the Settlement Administrator will include a

disclaimer in all email communications as well as other coordinated “awareness”

and Class Member training information on the website. This disclaimer will let

Class Members know that the Settlement Administrator will never request personal

information over email, and that any emails they receive requesting data should be

reported to the Settlement Administrator.          Additionally, the Settlement

Administrator will include information on its website for Class Members about

what to expect in legitimate, Court-authorized email communications about the

Settlement; educate Class Members regarding how to spot a phishing attack and

preventative measures to take (e.g., hovering over links to see the actual domain

and not forwarding any settlement emails to other addresses); and take steps to

protect the class notice domain itself from being impersonated including

implementing Sender Policy Framework (SPF), Domain Keys Identified Mail

(DKIM) and Domain-based Message Authentication, Reporting, and Conformance

(DMARC).

3.     Digital Notice during the Initial Claims Period

       In addition to the direct individual notice, the Notice Plan will utilize a



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digital advertising program in its comprehensive campaign targeting a reach of 90

percent of Settlement Class Members during the Initial Notice Period. During this

process, the Notice Provider will work iteratively to determine the most effective

digital notices, targeting strategies, and digital platforms. The Notice Provider will

adjust the campaign to optimize the most efficient and engaging notice practicable.

      All notice communications will be limited to those that have been approved

by the Court. The digital advertising campaign will begin in the Initial Notice

Period and last for the duration of the Initial Claims Period. The digital channels

to be utilized in providing notice are listed below:

ꞏ     Facebook and Instagram Advertising

ꞏ     Twitter

ꞏ     Google, Bing, and Yahoo Search

ꞏ     Display Advertising

The potential notice communications that will be used in the digital advertising

during the Initial Claims Period are attached as Exhibit B. Some of the digital

advertising may include video. The scripts of the potential video advertisements

are attached as Exhibit F. After approval of the scripts by the Court, the video

advertisements will be produced and the final production versions submitted to the

Parties for their approval, which shall not be unreasonably withheld. Any disputes



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regarding the final production versions of the video advertisements will be

submitted to the Court for resolution.

      The target for the digital campaign is to create 892 million impressions on or

before the Notice Date of which 333 million will occur on Facebook and related

platforms (representing assumed activity of 2.5 impressions per class member at a

90 percent reach); 213 million impressions on Twitter (representing assumed

activity of one impression per class member), and 346 million impressions on

display advertising (representing assumed activity of 2.6 impressions per class

member at a 90 percent reach). During the remainder of the Initial Claims Period,

the target is to create an additional 332 million impressions of which 133 million

will occur on Facebook and related platforms, 106 million impressions on Twitter,

and 93 million impressions on display advertising. Accordingly, the targeted total

impressions during the length of the Initial Claims Period will exceed 1.2 billion.

The actual impressions for the specific platforms may differ from these targets

because, as described above, the placement of specific advertising and the

platforms used for this advertising will be adjusted by the Notice Provider during

the course of the campaign to optimize the notice efforts.

      The Notice Provider will work with the Parties to develop technical controls

and guidelines designed to ensure that notices are placed on reputable websites that



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have controls to prevent spoofing and fraud. The Notice Provider also will ensure

that ads do not appear on websites that may be deemed sensitive or inappropriate.

The display networks that the Notice Provider will use have built in filters that

remove offensive placements. The Notice Provider will take additional precautions

to ensure brand safety for Equifax such as excluding sensitive categories and

individual websites from the campaign based on a list of inappropriate websites

maintained by the Notice Provider to be supplemented by Equifax.

       To combat artificial traffic from the digital notice programs, to mitigate

fraud, and to avoid spoofing, the Notice Provider will use the software,

ClickGUARD, to detect and mitigate artificial traffic, and will take other

reasonable measures to ensure consumer privacy in coordination with the Parties.

4.     Paid Publication

Newspapers

       To provide additional outreach to Settlement Class Members who may not

have ready access to email or digital media, the Notice Provider will arrange for a

single advertisement to be placed in one issue of USA Today that will run during

the Initial Notice Period. The advertisement has been agreed to by the Parties after

receiving input from the Regulators and will be approved by the Court before

being placed. The content of the newspaper advertisement is contained in Exhibit



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C. If necessary to reach Settlement Class Members who may not have ready

access to email or digital media and without detracting from the scope of the notice

effort directed at other Settlement Class Members, the advertisement may also be

placed in additional publications as recommended by the Notice Provider and

approved by the Parties with the input of the Regulators.

Radio

        Furthermore, the Notice Provider will oversee a radio advertising campaign

to supplement direct, digital, and publication notice. This radio campaign will

focus on areas with lower digital penetration. The content of the radio

advertisements has been developed by the Notice Provider and agreed to by the

Parties with input from the Regulators. Once approved by the Court, radio

advertising will run during the Initial Claims Period. Transcripts of the radio

advertising are attached as Exhibit D.

5.      Extended Claims Period and Thereafter

        If the settlement funds are not exhausted during the Initial Claims Period, the

Notice Provider will continue to place Digital Advertising as described in Section

3 at a rate of approximately 160,000 impressions per month until the settlement

funds are exhausted or the expiration of the Extended Claims Period, whichever

occurs first. The Digital Advertising during the Extended Claims Period will be



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tailored to the relief available under the Settlement. The Notice Provider will

conduct an additional digital notice campaign on Google, Yahoo, and Bing

regarding restoration services throughout the period such services are available

under the Settlement. The digital notice campaign will use search terms selected by

the Notice Provider and approved by the Parties. The content for this additional

digital advertising is attached as Exhibit E.

6.     Supplemental Notice Measures

       As recommended by the Notice Provider or as otherwise deemed

appropriate, the Parties may seek approval from the Court to perform supplemental

notice or use additional channels or modes of notice not otherwise articulated in

this Notice Plan. Supplemental or additional channels and modes of notice may

also be recommended by the Regulators. The Parties agree to consider all such

recommendations in good faith and, if agreed, seek approval from the Court to

implement the recommendations.

       Further, the Notice Provider will have the discretion to make non-material

changes to the Notice Plan, such as by adjusting the formatting or content of the

messaging used in the email, digital, and publication notices, without seeking

further approval from the Court, provided that the Parties agree to all such changes.




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7.     Conclusion

       In sum, this proposed Notice Plan encompasses the use of modern media

testing followed by several synergistic media campaigns in order to deliver the best

notice practicable and to optimize participation. The combined email, digital

media, and publication notice efforts under this plan are calculated to reach in

excess of 90 percent of Settlement Class Members approximately 8 times before

the Notice Date and approximately 6 additional times during the remainder of the

Initial Claims Period.




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                  EXHIBIT A

                Email Notices
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Email 1 – Full short-form notice sent before the Notice Date

Sender:

Subject:    (for testing)
            1. Equifax Data Breach Class Action Settlement
            2. Equifax Data Breach Settlement – You may be eligible for cash,
               free credit monitoring, and more
            3. Legal Notice of Proposed Class Action Settlement with Equifax
            4. Claim Your Benefits in the Equifax Data Breach Settlement
            5. Your Rights in the Equifax Data Breach Settlement
            6. Notice of Class Action Settlement – Equifax Data Breach

Body:

                    COURT APPROVED LEGAL NOTICE

           If Your Personal Information Was Impacted in the 2017
            Equifax Data Breach, You May Be Eligible for Benefits
                       from a Class Action Settlement

In September of 2017, Equifax announced it experienced a data breach, which
impacted the personal information of approximately 147 million people. Equifax
has reached a proposed settlement to resolve class action lawsuits brought by
consumers alleging Equifax failed to adequately protect their personal information.
Equifax denies any wrongdoing, and no judgment or finding of wrongdoing has
been made.

If your personal information was impacted in the Equifax data breach, you may be
eligible for benefits from the settlement after it becomes final. Under the proposed
settlement, Equifax will: (1) pay $380.5 million into a fund to pay benefits to
consumers, court-approved fees and costs of class counsel and service awards to
the named class representatives, and other expenses; (2) implement and maintain
certain data security enhancements; (3) if necessary, pay up to $125 million more
to reimburse consumers for out-of-pocket losses resulting from the data breach;
and (4) provide certain other relief.


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   Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 142 of 295




Are You Eligible: You are a class member and eligible for settlement benefits if
you are a U.S. consumer whose personal information was impacted by the Equifax
data breach. If you are unsure of whether you are a class member, visit
www.EquifaxBreachSettlement.com or call 1-833-759-2982.

Benefits: If you are a class member, you are eligible for one or more of the
following benefits:

      1. Free Credit Monitoring or $125 Cash Payment. You can get free credit
      monitoring services. Or, if you already have credit monitoring services, you
      can request a $125 cash payment.
          The free credit monitoring includes at least four years of three-bureau
            credit monitoring, offered through Experian. You can also get up to
            six more years of free one-bureau credit monitoring through Equifax.
          If you already have credit monitoring services that will continue for at
            least 6 more months, you may be eligible for a cash payment of $125.

      2. Other Cash Payments. You may also be eligible for the following cash
      payments up to $20,000 for:
          the time you spent remedying fraud, identity theft, or other misuse of
            your personal information caused by the data breach, or purchasing
            credit monitoring or freezing credit reports, up to 20 total hours at $25
            per hour.
          out-of-pocket losses resulting from the data breach.
          up to 25% of the cost of Equifax credit or identity monitoring
            products you paid for in the year before the data breach
            announcement.

      3. Free Identity Restoration Services: You are eligible for 7 years of free
      assisted identity restoration services to help you remedy the effects of
      identity theft and fraud.

How to Get Benefits:

To get free credit monitoring or cash payments, or both, you must submit a claim:
    Online at www.EquifaxBreachSettlement.com, or
    By mail.

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You must submit a claim by [initial claims period deadline date]. Certain
claims may require supporting documents.

If there is still money in the fund after payment of valid claims submitted during
the initial claims period that ends on [INSERT DATE], there will be an extended
claims period lasting for four years. In the extended claims period, you may make
certain claims for out-of-pocket losses incurred in the future, including time and
money spent trying to address identity theft or fraud related to the data breach.

You don’t need to file a claim to get free identity restoration services.

None of these benefits will be distributed or available until the settlement is finally
approved by the Court. The amount you receive may be less than the claim you
submit depending on the number and amount of claims that are submitted.

Understanding Your Options:

If you want the court to exclude you from the settlement class, you must write to
the Settlement Administrator by [INSERT DEADLINE]. List the name of this
proceeding (In re: Equifax Inc. Customer Data Security Breach Litigation, Case
No. 1:17-md-2800-TWT), your full name, your current address, and the words
“Request for Exclusion” at the top of the document. You must sign this request and
mail it to Equifax Data Breach Class Action Settlement Administrator, Attn:
Exclusion, c/o JND Legal Administration, P.O. Box 91318, Seattle, WA 98111.

To object to the settlement, you must file an objection with the court by [INSERT
DEADLINE]. For detailed instructions about the process of objecting, visit
www.EquifaxBreachSettlement.com.

You must file a claim if you want to receive free credit monitoring or cash benefits
under this settlement. If you do nothing, you won’t receive a cash payment or
credit monitoring service, won’t be able to sue Equifax for the claims being
resolved in the settlement, and will be legally bound by all orders of the court.

The Court will hold a hearing on [INSERT DATE] to consider any objections, and
decide whether to approve the settlement, award attorneys’ fees and expenses, and
grant service awards to the named class representatives. You may enter an
                                          3
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appearance through an attorney, but do not have to. The court has appointed
lawyers to represent you and the class, but you can hire another lawyer at your own
expense.

This is only a summary of the settlement. For more information, visit
www.EquifaxBreachSettlement.com, or call (toll free) 1-833-759-2982.

This is a Court authorized notice, not a lawyer advertisement.




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Email 2 – Sent approximately halfway through the Initial Claims Period

Sender:

Subject:   (for testing)
           1. Reminder – Equifax Data Breach Class Action Settlement
           2. Equifax Data Breach Settlement – You may still be eligible for
              cash, free credit monitoring, and more
           3. Don’t Forget to Claim Your Benefits in the Equifax Data Breach
              Settlement
           4. Upcoming Deadlines in the Equifax Data Breach Settlement –
              Know Your Rights
           5. Second Notice of Class Action Settlement – Equifax Data Breach


Body:

The body of Email 2 will use materially the same language as Email 1, but the
format will be different. Email 2 will consist of a document containing visual
images that was prepared and formatted by the Federal Trade Commission. A
copy of the body of Email 2 follows.




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Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 146 of 295
                                                           COURT APPROVED LEGAL NOTICE

               If Your Personal Information Was Impacted in the 2017
               Equifax Data Breach, You May Be Eligible for Benefits
                           from a Class Action Settlement

     In September of 2017, Equifax announced it experienced a data breach, which impacted lhe personal information of approximately
     147 million people Equifax has reached a proposed settlement to resolve class action lawsuits brought by consumers alleging Equifax
     failed to adequately protect their personal lnformallon Equifax denies any wrongdoing, and no Judgment or finding or wrongdoing has
     been made

     If your personallnformallon was Impacted In lhe Equlfax data breach, you may be eligible for benefits from the sett\emenl after il
     becomes final Under the proposed settlement, Equlfax will: (1) pay $380_5 million Into a fund to pay benefits to consumers, court-
     approved fees and costs of class counsel and service awards to the named class representatives, and other expenses: (2) implement
     and maintain certain data security enhancements; (3) if necessary, pay up to $125 million more to reimburse consumers for out-of-
     pocket losses resulting from the data breach: and (4) provide certain other relief.

     ~Are You Eligible:
     You are a class member and eligible for settlement benefits If you are a U S consumer whose personallnformatlon was Impacted by
     the Equifax data breach. If you are unsure of whether you are a class member, visit www.EquifaxBreachSettlement.com and click the
     "Am I Impacted?" button or calll-833-759-2982


     •· Berwfit~:
     If you are a class member, you are eligible for one or more of the following benefits:

                                               1. Free Credit Monitoring or $125 Cash Payment. You can get free credit
                                                   monitoring services. Or, if you already have credit monitoring services, you can
                                                   request a $125 cash payment.
                                                      The free credit monitoring includes at least four years of three-bureau credit
                                                      monitoring, offered through Experian You can also get up to six more years
                                                      of free one-bureau credit monitoring through Equifax.
                                                        If you already have credit monitoring services that will continue for at least
                                                        6 more months, you may be eligible for a cash payment of $125.


                                               2. Other Cash Payments. You may also be eligible for the following cash
                                                   payments up to $20,000 for:
                                                     the time you spent remedying fraud, identity theft, or other misuse of
                                                     your personal information caused by the data breach, or purchasing credit
                                                     monitoring or freezing credit reports, up to 20 total hours at $25 per hour.
                                                        out-of-pocket losses resulting from the data breach.
                                                        up to 25% of the cost of Equifax credit or identity monitoring products you
                                                        paid for in the year before the data breach announcement.


                                               3. Free Identity Restoration Services: You are eligible for 7 years of free
                                                    assisted identity restoration services to help you remedy the effects of
                                                    identity theft and fraud .


     .,_ How to Get Benefits:
     To get free credit monitoring, cash payments, or both, you must submit a claim:
             Online at www.EquifaxBreachSettlement.com, or
             By mail.
     You must submit a claim by [initial claims period deadline date]. Certain claims may require supporting documents.

     If there is still money in the fund after payment of valid claims submitted during the initial claims period that ends on (INSERT DATE],
     there will be an extended claims period lasting for four years In the extended claims period, you may make certain claims for out-of-
     pocket losses incurred in the future, including time and money spent trying to address identity theft or fraud related to the data breach.

     You don't need to file a claim to get free identity restoration services

     The amount you receive may be less than the claim you submit depending on the number and amount of claims that are submitted


     t- Understanding Your Options:
     If you want the court to exclude you from the settlement class, you must write to the Settlement Administrator by [INSERT DEADLINE] List
     the name of this proceeding (In re: Equifax Inc. Customer Data Security Breach Litigation. Case No 1:17-md-2800-TWn. your full name,
     your current address, and the words "Request for Exclusion" at the top of the document You must sign this request and mail it to Equifax
     Data Breach Class Action Settlement Administrator. Attn: Exclusion, c/o JND Legal Administration, P.O Box 91318, Seattle, WA 98111.

     To object to the settlement, you must file an objection with the court by [INSERT DEADLINE]. For detailed Instructions about the process
     of objecting, visit www.Equlfa:..Br4:!:nc.h.Srit.leml!11t...com..

     You must subm~ a claim to www.Equifa•BreachSettlement.com by [INITIAL CLAIMS PERIOD DEADLINE DATE) You musl file a claim If
     you want to receive free credit monllorlng or cash benefits under this settlement If you do nothing, you won't receive a cash payment or
     credit monitoring service, won't be able to sue Equifax for the claims being resolved in the settlement, and
     will be legally bound by all orders of the court

     The Court will hold a hearing on [INSERT DATE) to consider any objections, and decide whether to approve the settlement, award
     attorneys' fees and expenses, and grant service awards to the named class representatives You may enter an appearance through
     an attorney, but do not have to. The court has appointed lawyers to represent you and the class, but you can hire another lawyer at your
     own expense

      This is only a summary of the settlement

        None ofthes~beneflts will be distributed or available until the settlememls flnaltv approved by the-Court.
                                  For more information, visit
                www.EquifaxBreachSeHiement.com, or call (toll free) 1-833-759-2982.
      This is a Coun authorized notice, nof a lawyer advertisemenf
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Email 3 – Sent with approximately two weeks left in the Initial Claims Period

Sender:

Subject:      (for testing)
              1. Time is Running Out – Equifax Data Breach Settlement
              2. Equifax Data Breach Settlement – Last Chance to Claim Benefits
              3. Act Now – Don’t Forget to Claim Your Benefits in the Equifax
                 Data Breach Settlement

Body:

This is a Court approved legal notice. If your personal information was
impacted in the 2017 Equifax data breach, you may be eligible for benefits
from a class action settlement. BUT YOU MUST ACT SOON.

Claims must be made by [DATE] at EquifaxBreachSettlement.com.

Are You Eligible: You are a class member and eligible for settlement benefits if
you are a U.S. consumer whose personal information was impacted by the Equifax
data breach. If you are unsure of whether you are a class member, visit
www.EquifaxBreachSettlement.com or call 1-833-759-2982.

Benefits: If you are a class member, you are eligible for one or more of the
following benefits:

        1. Free Credit Monitoring or $125 Cash Payment. You can get free credit
        monitoring services. Or, if you already have credit monitoring services, you
        can request a $125 cash payment.
            The free credit monitoring includes at least four years of three-bureau
              credit monitoring, offered through Experian. You can also get up to
              six more years of free one-bureau credit monitoring through Equifax.
            If you already have credit monitoring services that will continue for at
              least 6 more months, you may be eligible for a cash payment of $125.

        2. Other Cash Payments. You may also be eligible for the following cash
        payments up to $20,000 for:

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           the time you spent remedying fraud, identity theft, or other misuse of
            your personal information caused by the data breach, or purchasing
            credit monitoring or freezing credit reports, up to 20 total hours at $25
            per hour.
           out-of-pocket losses resulting from the data breach.
           up to 25% of the cost of Equifax credit or identity monitoring
            products you paid for in the year before the data breach
            announcement.

      3. Free Identity Restoration Services: You are eligible for 7 years of free
      assisted identity restoration services to help you remedy the effects of
      identity theft and fraud.

How to Get Benefits:

To get free credit monitoring or cash payments, or both, you must submit a claim:
    Online at www.EquifaxBreachSettlement.com, or
    By mail.

You must submit a claim by [initial claims period deadline date]. Certain
claims may require supporting documents.

If there is still money in the fund after payment of valid claims submitted during
the initial claims period that ends on [INSERT DATE], there will be an extended
claims period lasting for four years. In the extended claims period, you may make
certain claims for out-of-pocket losses incurred in the future, including time and
money spent trying to address identity theft or fraud related to the data breach.

You don’t need to file a claim to get free identity restoration services.

None of these benefits will be distributed or available until the settlement is finally
approved by the Court. The amount you receive may be less than the claim you
submit depending on the number and amount of claims that are submitted.

Understanding Your Rights:

You must file a claim if you want to receive free credit monitoring or cash benefits

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under this settlement. If you do nothing, you won’t receive a cash payment or
credit monitoring service.

This is only a summary of the settlement. For more information, visit
EquifaxBreachSettlement.com, or call (toll free) 1-833-759-2982.

This is a Court authorized notice, not a lawyer advertisement.




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Email 4 – Sent at or about the beginning of the Extended Claims Period

Sender:

Subject:    (for testing)
            1. Equifax Data Breach Settlement – You Still Have Four Years to
               Make Certain Claims
            2. Equifax Data Breach Settlement – Extended Chance to Claim
               Certain Benefits
            3. Remember, You Can Still Claim Some Class Action Benefits –
               Equifax Data Breach

Body:

This is a Court approved legal notice.

Don’t forget, if your personal information was impacted in the 2017 Equifax data
breach, and you have a problem with identity theft or fraud because of the breach
in the next four years, you may be eligible for further settlement benefits. Claims
for such benefits during this “Extended Claims Period” must be made by
[DATE] at EquifaxBreachSettlement.com. Until [DATE], you may also be
eligible for free identity restoration services to help you remedy the effects of
identity theft and fraud.

Are You Eligible: You are a class member and eligible for settlement benefits if
you are a U.S. consumer whose personal information was impacted by the Equifax
data breach. If you are unsure of whether you are a class member, visit
www.EquifaxBreachSettlement.com or call 1-833-759-2982.

Benefits:

1. Cash Payments for Certain Losses incurred during the next four years:
During the Extended Claims Period, you can seek reimbursement for Out-of-
Pocket Losses or Time Spent (but not losses of money and time associated with
freezing or unfreezing credit reports or purchasing credit monitoring or protection
services) if you certify that you have not already received reimbursement for the
claimed loss. All such claims must be made by [DATE] and will be paid on a first-
come-first-served basis.
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2. Free Identity Restoration Services: You remain eligible for the remainder of 7
years of free identity restoration services to help you remedy the effects of identity
theft and fraud. You do not have to make a claim for this benefit. Visit
EquifaxBreachSettlement.com to learn more about using these services.

You cannot make claims for Credit Monitoring Services, Alternative
Reimbursement Compensation, or Out-of-Pocket Losses or Time associated with
freezing or unfreezing credit reports or purchasing credit monitoring or protection
services.

How to Get Benefits:

To get cash payments, you must submit a claim:
    Online at www.EquifaxBreachSettlement.com, or
    By mail.

You must submit a claim by [DATE]. Certain claims may require supporting
documents.

To get free identity restoration services, visit EquifaxBreachSettlement.com or call
(toll free) 1-833-759-2982. You do not need to file a claim to get those services.


This is only a summary of the benefits available to eligible class members
during the extended claims period. For more information, visit
EquifaxBreachSettlement.com, or call (toll free) 1-833-759-2982.

This is a Court authorized notice, not a lawyer advertisement.




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                   EXHIBIT B

          Digital Ads for Use
          During the Initial
            Claims Period
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The 2017 Equifax data breach impacted the                million U.S. consumers. Find out if your info was impacted.
personal information of 147 million U.S.
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      $380.5 million has been set aside to help
                                                                    $380.5 million has been set aside to help millions of U.S. consumers whose
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       Equifax Data Breach Settlement                     Equifax Data Breach Settlement
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                                                   Impacted by the 2017 Equifax Data Breach? Find out your options and
Impacted by the 2017 Equifax Data Breach?
                                                   whether you're eligible for proposed class action settlement benefitS.
Find out your options and whether you're
eligible for proposed class action settlement
benefits.


                                                                                                                                 2017 Equlfax Data Breach Proposed Settleme...
                                                                                                                                 equifaxbreachsettlement.com
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       Equifax Data Breach Settlement                  Equifax Data Breach Settlement
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Was your personal information impacted in the   Was your personal inf ormation impacted in t he 2017 Equifax data breach?
2017 Equifax data breach? Click here to find    Click here to find out. You may be entitled to financial compensation f rom a
                                                proposed class act ion settlement.
out. You may be entitled to financial
compensation from a proposed class action
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                                                                                                                                equifaxbreachsettlement.com
                                                                                                                                Was your personal Information Impacted In the
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       Equifax Data Breach Settlement                     Equifax Data Breach Settlement
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The proposed Equifax Data Breach Settlement        The proposed Equifax Data Breach Settlement will provide class members
will provide class members with benefits like      with benefrts like free credit monitoring, cash, and identity restoration
free credit monitoring, cash, and identity         services. Find out if you're a class member.
restoration services. Find out if you're a class
member.


                                                                                                                                2017 Equlfax Data Breach Lawsuit
                                                                                                                                equlfaxbreachsettlement.com
                                                                                                                                The proposed Equifax Data Breach Settlement
                                                                                                                                will provide class members with benefits like...




EQUIFAXBREACHSETTLEMEN...
2017 Equlfax Data Breach        I LEARN MORE ]
Lawsuit
                                                   EQUIFAXBREACHSETTLEMENT.COM
                                                                                                                   Learn More
                                                   2017 Equifax Data Breach Lawsuit
  rfJ Like        CJ Comment         v!) Share
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                          Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 161 of 295




        Equifax Data Breach Settlement                  Equifax Data Breach Settlement
  E     Sponsored · It'
                                                   E    Sponsored · 0

Equifax Data Breach Proposed Class Action        Equifax Data Breach Proposed Class Action Settlement: Click here to find out
                                                 if you're a member of the class.
Settlement: Click here to find out if you're a
member of the class.



                                                                                                                                Was your info Impacted?
                                                                                                                                equifaxbreachsettlement.com
                                                                                                                                Equifax Data Breach Proposed Class Action
                                                                                                                                Settlement: Click here to fmd out if you're a m ...




                                                 EQUIFAXBREACHSETILEMENT.COM
                                                                                                                 Learn More
   rfJ Like        CJ Comment         ~Share     Was your info impacted?


                                                         rb Like                CJ Comment                 ~Share




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                        Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 162 of 295




        Equifax Data Breach Settlement                          Equifax Data Breach Settlement
  E     Sponsored · ~
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                                                        Don't miss the deadline to claim your benefits under the Equifax data breach
Don't miss the deadline to claim your benefits
                                                        proposed class action settlement. Find out if you're eligible to submit a claim
under the Equifax data breach proposed class            now.
action settlement. Find out if you're eligible to
submit a claim now.


                                                                                                                                          2017 Equlfax Data Breach Settlement
                                                                                                                                          equifaxbreachsettlement.com
                                                                                                                                          Don't miss the deadline to claim your benefits
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EQUIFAXBREACHSETILEMEN ...
2017 Equifax Data Breach          I LEARN MORE      J
                                                        EQUIFAXBREACHSETILEMENT.COM
Settlement                                                                                                                 Learn More
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                                                           Equifax Data Breach Settlement
  E    Equifax Data Breach Settlement                 E    Sponsored · 0
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                                                    If your personal information was impacted in the 2017 Equifax data breach,
If your personal information was impacted in the    you may be eligible for compensation, f ree credit monitoring, and other
2017 Equifax data breach, you may be eligible
                                                    benefits under a proposed class action settlement.
for compensation, free credit monitoring, and
other benefits under a proposed class action
settlement.
                                                                                                                                 2017 Equlfax Data Breach Class Action
                                                                                                                                 equifaxbreachsettlement.com
                                                                                                                                 If your personal Information was Impacted In
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EQUIFAXBREACHSETTLEMEN...
2017 Equifax Data Breach        [ LEARN MORE    I
Class Action                                        EQUIFAXBREACHSETTLEMENT.COM
                                                                                                                    Learn More
                                                    2017 Equifax Data Breach Class Action

  rf; Like       CJ Comment         f:> Share               rb like                0 Comment                 ~Sha re




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                                 Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 164 of 295




           Equifax Data Breach Settlement                       Equifax Data Breach Settlement
    E      Sponsored                                      E     Sponsored · 0

Was your personal information impacted in the           Was your personal information impacted in the 2017 Equifax data breach?
2017 Equifax data breach? Find out if you're            Find out if you're eligible for f mancial compensation and other benefits under
eligible for financial compensation and other           a proposed class action settlement.
benefits under a proposed class action
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                                                                                                                                          2017 Equ' lax Data Breach Class Action
    Cash payments                                                                                                                         equ faxbreacrsetlie.,..e,t.com
                                                                                                                                          Was yoor persona <tformatlon ll'pacted In the
Free credit monitoring.                                                                                                                   2017 Equifax data b•each? Fir>d out f you're ...
Identity restou1tlon services.




 EQUIFAXBREACHSETTLEMEN ...
 2017 Equifax Data Breach              [ LEARN MORE J
 Class Action                                           EQUIFAXBREACHSETTLEMENT.COM
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                                                        2017 Equifax Data Breach Class Action

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                         Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 165 of 295




                                                          Equifax Data Breach Settlement
        Equifax Data Breach Settlement              E
  E    Sponsored · 1/1
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                                                  A $380.5 million class action proposed settlement fund has been
A $380.5 million class action proposed            established for U.S. consumers impacted by the Equifax data breach. Follow
settlement fund has been established for U.S.     the link to find out if you're a class member and if you're eligible to make a
consumers impacted by the Equifax data            claim .
breach. Follow the link to find out if you're a
class member and if you're eligible to make a                                                                                      2017 fquifax Oa1a Breach Liligalion
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claim.                                                                                                                             A $380.5 m.aon class acuon proposed
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EQUIFAXBREACHSETTLEMEN ...                                                                                          Learn More
                                                  2017 Equifax Data Breach Litigation
2017 Equifax Data Breach   [ LEARN MORE ]
Litigation
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                         Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 166 of 295




        Equifax Data Breach Settlement                       Equifax Data Breach Settlement
  E    Sponsored · !II                                  E    Sponsored · 0

The 2017 Equifax data breach impacted the             The 2017 Equifax data breach impacted the personal info of 147 million U.S.
personal info of 147 million U .S. consumers. A       consumers. A recent class action settlement can provide reimbursement.
recent class action settlement can provide            Find out if you're eligible to claim settlement benefitS today.
reimbursement. Find out if you're eligible to
claim settlement benefits today.

                                                                                                                                    Equlfax Class Action
                                                                                                                                    equifaxbreachsettlement.com
                                                                                                                                    The 2017 Equifax data breach impacted the
                                                                                                                                    personal info of 147 million U.S. consumers. A
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Equifax Class Action             .                .


                                                      EQUIFAXBREACHSETTLEMENT.COM
                                                                                                                      Learn More
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                        Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 167 of 295




       Equifax Data Breach Settlement                     Equifax Data Breach Settlement
  E    Sponsored · -'                               E    Sponsored · 0

A proposed settlement in the Equifax data         A proposed settlement in the Equifax data breach lawsuit will provide eligible
breach lawsuit will provide eligible class        class members with financial compensation, free credit monitoring, cash
members with financial compensation, free         reimbursements for losses, and identity restoration services. Find out if
credit monitoring, cash reimbursements for        you're a class member who can submit a claim for benefits now.
losses, and identity restoration services. Find
out if you're a class member who can submit a                                                                                      2017 Equ"lax Data Breach Settleml!nt
                                                                                                                                   oqu laxbreachsetlle..,e,t.com
claim for benefits now.
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2017 Equifax Data Breach        I LEARN MORE I    EQUIFAXBREACHSETTLEMENT.COM
Settlement                                                                                                          Learn More
                                                  2017 Equifax Data Breach Settlement



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                        Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 168 of 295




       Equifax Data Breach Settlement                     Equifax Data Breach Settlement
  E    Sponsored · ti'                              E     Sponsored · 0

A proposed settlement has been reached in the     A proposed settlement has been reached in the 2017 Equifax data breach
2017 Equifax data breach lawsuit. If your         lawsuit. If your personal info was impacted, you may be eligible for financial
personal info was impacted, you may be eligible   compensation, free credit monitoring, and more. Determine if you're eligible
for financial compensation, free credit           for settlement benefits.
monitoring, and more. Determine if you're
eligible for settlement benefits.

                                                                                                                                   2017 Equifax Lawsuit
                                                                                                                                   equifaxbreachsettlement.com
                                                                                                                                   A proposed settlement has been reached in the
                                                                                                                                   2017 Equifax data breach lawsuit. If your pe...




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                                                  2017 Equifax Lawsuit
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                            Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 169 of 295




  E     Equifax Data Breach Settlement                        Equifax Data Breach Settlement                                            Claim your
        Sponsored · 4<'1
                                                        E    Sponsored · 0                                                              benefits
The proposed settlement in the 2017 Equilax           The proposed settlement in the 2017 Equifax data breach class action
                                                                                                                                        under the
data breach class action provides                     provides compensation, free credit monitoring, and identity restoration           proposed
compensation, free credit monitoring, and
                                                      services to eligible class members. Find out if you're eligible and claim your    settlement.
identity restoration services to eligible class
members. Find out if you're eligible and claim        benefits.
your benelits.
                                                                                                                                       equofaxbreachsettlementcom
                                                                                                                                       The proposed settlement In the 2017 Equofax
Claim your                                            Claim your                                                                       data breach class acllon provodes
benefits                                                                                                                               compensation.-
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       Equltax Data Breach Settlement                 Equlfax Data Breach Settlement
  E    Sponsored 1/4                             E    Sponsored   0
Impacted by the 2017 EquHax data breach? You
could be eligible for compensation and other   Impacted by the 2017 Equifax data breach? You could be eligible for
benefits under a proposed class action         compensation and other benefits under a proposed class action settlement.
settlement


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                                                                                                                           lmpided by ttw 2017 ECJiifax data b .. Kh?
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                        Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 171 of 295




  E    Equlfax Data Breach Settlement
       Sponsored t/o
                                                   E    Equlfax Data Breach Settlement
                                                        Sponsored 0
Was your info Impacted In the 2017 Equifax
                                                 Was your info impacted in the 2017 Equifax data breach? Learn what you're
data breach? Learn what you're entitled to
under the proposed class action setUement.
                                                 entitled to under the proposed class action settlement.


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Proposed Class Action          !LEARN MORE   I
Settlement




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                                                 Proposed Class Action Settlement

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                         Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 172 of 295




       Equllax Data Breach Setllement
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       Sponsored 1/'
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Was your information impacted? Submit your
claim for benefits from a proposed class action   Was your information impacted? Submit your claim for benefits from a
settlement.
                                                  proposed class act ion settlement.




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                            Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 173 of 295




       Equlfax Data Breach Settlement
  E                                                      Equlfax Data Breach Settlement
       Sponsored - 1/1                              E    Sponsored · 0
A proposed settlement has been reached in the
201 7 Equifax data breach lawsuit. If you are a   A proposed settlement has been reached In the 2017 Equifax data breach
class member, you must act soon to claim your
benefits.
                                                  lawsuit. If you are a class member, you must act soon to claim your benefits.

                                                                                                                                  equ•faxbreachsettlement.com
                                                                                                                                  A proposed settlement has been reached In the
                                                                                                                                  2017 Equlfax data breach lawswt If you ate...




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                                                                                                                   Learn More


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Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 174 of 295




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                       Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 175 of 295




       Equlfax Data Breach senl..
  E    Sponsored

2017 EQUIFAX
DATA BREACH
P ROPOSED SHTUMENT


Rnd Out if You're a
  Class Member




Learn More                                            >
QO~                                                       QO~
The 2017 Equifax data br each impacted the                $380.5 million has been set aside to help millions
personal information of 147 m i llion U.S.. .. more       of U.S. consumers whose personal info ... more




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                     Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 176 of 295




QO'?/                                            QO'?/
Impacted by the 2017 Equifax Data Breach? Find
out your options and whether you're ... more
                                                 "" '"' " '"' '"""' """'"'-'=J
                                                 Was your personal information impacted in the




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                      Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 177 of 295




 E   Equifax Data Breach Settl..
     Sponsored




                                                    Learn More


QOYJ                                                QOYJ
The proposed Equi fax Data Breach Settlement will   Equifax Data Breach Proposed Class Action
provide class members with benefits like ... more   Settlement: Click here to find out if you're ... more




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                      Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 178 of 295




Don't miss the deadline to claim your benefits
under the Equifax data breach proposed ... more
                                                  ;?,.,~.,::: ...,...,......,....,.• .••[:) I
                                                  2017 Equifax data breach, you may be ... more




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                      Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 179 of 295




Learn More                                        Learn More                                      >
QO~                                               QO~
Was your personal information impacted in the     A $380.5 million class action proposed settlement
2017 Equifax dat a breach? Find out if ... more   fund has been establi shed for U.S.... more




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                        Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 180 of 295




     Equlfax Data Breach Settl...
 E   Sponsored




QO'Y/                                       QOYI
The 2017 Equlfax data breach Impacted the   A proposed settlement in the Equifax data breach
personal info of 147 million U.S.... more   lawsuit will provide eligible class members ... more




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                 Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 181 of 295




                                                           Equifax Data Breach Sent..
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                                                     Claim your
                                                     benefits
                                                     under the
                                                     proposed
                                                     settlement.

Learn More

                                                     Learn More
QOYJ
A proposed settlement has been reached in the
2017 Equifax data breach lawsuit. If your ... more   QO'Y/
                                                     The proposed settlement i n the 2017 Equifax data
                                                     breach class ac tton pr ovtdes compensation, ... rnt~




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                          Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 182 of 295




QOYJ                                                      QOYJ
Impacted by the 2017 Equifax data breach' You could       Was your •nfo impacted in the 2017 EqUifax data
be ellgtble tor compensation and othet benefits ... o ·   breach? Learn what you're entitled to under the ...

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                    Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 183 of 295




                                                              Equifax Data Breach SettL
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                                                       A proposed settlement has been reached in the 2017
Was yow information unpactect' Submrt your claim for
                                                       Eq01fax data breach lawsuit. If you art a class ... "'or~
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Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 184 of 295




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              Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 185 of 295




         Equifax Data Breach Settlement
         @Equifax_Breach

The 2017 Equifax data breach impacted the personal
info of 147 million US consumers. Find out if you were
impacted.
5:42PM -16 Jul2019



  2017 EQUIFAX
  DATA BREACH
  PROPOSED SETILEMENT

  Find Out if You're a




---
    Class Member




2017 Equifax Data Breach Lawsuit



              t."l 416      •      647

m Promoted
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                    Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 186 of 295




          Equifax Data Breach Settlement
          @Equifax_Breach
•
$380.5 million has been set aside to help those whose
info was impacted in the Equifax breach. Are you one
of them?
11 :15 AM - 18 Jul 2019




2017 Equifax Data Breach Lawsuit


               t.'l 416     •      647   •••
~   Promoted
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                   Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 187 of 295




         Equifax Data Breach Settlement
•        @Equifax_Breach


Impacted by the 2017 Equifax Data Breach? Find out
your options and whether you're eligible for settlement
benefits.
8:40AM- 18 Jul 2019




2017 Equifax Data Breach Lawsuit



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               Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 188 of 295




        Equifax Data Breach Settlement
        @Equifax_Breach


Was your info impacted in the Equifax data breach?
You may be entitled to compensation from a proposed
settlement.
5:42PM- 16 Jul2019




               t.'l 416   •   647

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                Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 189 of 295




         Equifax Data Breach Settlement
         @Equifax_Breach


The Equifax settlement offers cash & other benefit s to
class members. Find out if you 're a member of the
class.
5:42PM - 16 Jul2019




2017 Equifax Data Breach Lawsuit
                                              Learn More   I
              t.'l 416      •      647

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            Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 190 of 295




         Equifax Data Breach Settlement
         @Equifax_Breach
•
Equifax data breach proposed class action settlement:
Click here to find out if you're a member of the class.
5:42PM- 16 Jul 2019




2017 Equifax Data Breach Lawsuit



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                Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 191 of 295




          Equifax Data Breach Settlement
         @Equifax_Breach
•
Don 't miss the deadline to claim your benefits under
the 2017 Equifax data breach settlement. Submit your
claim now.
5:42PM- 16 Jul2019




2017 Equifax Data Breach Lawsuit



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f.il Promoted


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                  Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 192 of 295




         Equifax Data Breach Settlement
•        @Equifax_Breach


If your personal info was impacted in the Equifax
breach, you could get compensation and other
settlement benefits.
8:46AM- 18 Jul2019




2017 Equifax Data Breach Lawsuit


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                     Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 193 of 295




           Equifax Data Breach Settlement
•          @Equifax_Breach

Was your personal info impacted in the 2017 Equifax
Data Breach? Find out if you're eligible for
compensation.
5:58PM- 16 Jul2019


         Cash payments.
    Free credit monitOiing.
                            -
    Identity restoration services.




2017 Equifax Data Breach Class
Action


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                 Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 194 of 295




         Equifax Data Breach Settlement
         @Equifax_Breach


There's a $380.5 million proposed fund for those
impacted by the Equifax breach. You may be entitled
to benefits.
5:58PM- 16 Jul2019




2017 Equifax Data Breach Lawsuit               j Learn More I
               t.'l 416     •      647   •••
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                  Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 195 of 295




         Equifax Data Breach Settlement
         @Equifax_Breach
•
147 million people may be entitled to benefits in the
Equifax data breach settlement. Find out if you're
eligible.
5:58PM -16 Jul2019




2017 Equifax Data Breach Lawsuit


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                    Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 196 of 295




         Equifax Data Breach Settlement
•        @Equifax_Breach


Equifax settlement benefits: Compensation, credit
monitoring, reimbursements, & more. Find out if you're
eligible.
5:58PM- 16 Jul2019




                                               Submit
                                            your claim
                                               now.
2017 Equifax Data Breach Proposed
Settlement
                                                I Learn More I
                'L"l 416   •    647   •••
f.iJ Promoted                                                                              
                 Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 197 of 295




          Equifax Data Breach Settlement
•        @Equifax_Breach


Equifax Data Breach proposed settlement: If your info
was impacted, you may be eligible for settlement
benefits.
5:58PM- 16 Jul2019




2017 Equifax Data Breach Lawsuit


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                   Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 198 of 295




         Equifax Data Breach Settlement
•        @Equifax_Breach


The Equifax data breach class action settlement
provides compensation, credit & identity protection to
class members
5:58PM -16 Jul 2019




    Claim your
    benefits
    under the
    proposed
    settlement.


2017 Equifax Data Breach Lawsuit


                'L"l 416    •      647   •••
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                   Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 199 of 295




          Equifax Data Breach Settlement
          @Equifax_Breach
•
Impacted by the 2017 Equifax data breach? You may
be eligible for compensation & other settlement
benefits.
5:58PM- 16 Jul2019




2017 Equifax Class Action Settlement


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                 Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 200 of 295




         Equifax Data Breach Settlement
•        @Equifax_Breach


Was your info impacted in the Equifax data breach?
Learn what you're entitled to under the proposed
settlement.
11:15 AM- 18 Jul2019




Proposed Class Action Settlement
                                               I                I
              t.'l 416      •      647   ...       Learn More



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                   Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 201 of 295




          Equifax Data Breach Settlement
          @Equifax_Breach
•
Was your information impacted? Submit your claim for
benefits from a proposed class action settlement.
5:58PM -16 Jul2019




    DATA BREACH
    PROPOSED
    SETTLEMENT

2017 Equifax Class Action


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                  Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 202 of 295




          Equifax Data Breach Settlement
         @Equifax_Breach


You may be eligible for benefits under a proposed
settlement in the Equifax data breach lawsuit. Learn
more today.
5:58PM -16 Jul2019




2017 Equifax Data Breach Lawsuit


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Find out if you're eligible
to submit your claim.




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2017 EQUIFAX   www.EquifaxBreachSettlement.com
PROPOSED
CLASS ACTION
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2017 EQUIFAX
PROPOSED
SETTLEMENT




               Find out if you're a class member.

               SUBMIT A CLAIM.
        www.Eq uifaxBreachSettlement.com




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       Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 209 of 295




   Personal
Info Impacted?




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Equifax 2017 Data Breach I Was Your Info Impacted? I You May
Have a Claim
lAd I www.equifaxbreachsettlement.com •
$380.5 million has been set aside in a proposed class action settlement to help millions
whose personal info was impacted in the 2017 data breach. Are you one of them?




 Equifax 2017 Data Breach 1 Was Your Info
Impacted? I You May Have a Claim
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$380.5 million has been set aside in a proposed class
action settlement to help millions whose personal info
was impacted in the 2017 data breach. Are you one of
them?



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Equifax 2017 Data Breach 1 Was Your Info Impacted? 1 You May
Have a Claim
lAd I www.equifaxbreachsettlement.com •
The court-ordered deadline to submit a claim in the Equifax settlement is coming up. Act
now to find out if you're eligible.




 Equifax 2017 Data Breach 1 Was Your Info
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 The court-ordered deadline to submit a claim in the
 Equifax settlement is coming up. Act now to find out if
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Equifax 2017 Data Breach I Was Your Info Impacted? I You May
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The proposed Equifax data breach class action settlement provides compensation and
other benefits. Find out if you're eligible to make a claim.




 Equifax 2017 Data Breach I Was Your Info
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 The proposed Equifax data breach class action
 settlement provides compensation and other benefits.
 Find out if you're eligible to make a claim.



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Equifax 2017 Data Breach 1 Was Your Info Impacted? 1 You May
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Equifax 2017 proposed class action settlement: If your info was impacted, you may be
eligible to claim benefits. Find out if you're eligible to claim benefits.




 Equifax 2017 Data Breach 1 Was Your Info
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 Equifax 2017 proposed class action settlement: If your
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 Find out if you're eligible to claim benefits.




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Equifax 2017 Data Breach I Was Your Info Impacted? I Act Now
To Claim Your Benefits
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lAd www.equifaxbreachsettlement.com •
A proposed settlement has been reached in the Equifax 2017 data breach lawsuit. Act
soon to determine if you are eligible for benefits.


Equifax 2017 Data Breach I Was Your Info
Impacted? 1 Act Now To Claim Your Benefits
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A proposed settlement has been reached in the Equifax
2017 data breach lawsuit. Act soon to determine if you
are eligible for benefits.




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Equifax 2017 Data Breach I Was Your Info Impacted? I You May
Have a Claim
lAd   I www.equifaxbreachsettlement.com •
147 million consumers had personal info impacted by the 2017 Equifax data breach. Are
you one of them?




 Equifax 2017 Data Breach 1 Was Your Info
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 147 million consumers had personal info impacted by the
 2017 Equifax data breach. Are you one of them?




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       Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 218 of 295




Equifax 2017 Data Breach I Were You Impacted? I Claim Your
Benefits Today
lAd   I www.equifaxbreachsettlement.com ....
A proposed settlement has been reached in the Equifax 2017 data breach lawsuit. Act
soon to determine if you are eligible for benefits.



 Equifax 2017 Data Breach I Were You
 Impacted? I Claim Your Benefits Today
lAd   I www.equifaxbreachsettlement.com
A proposed settlement has been reached in the Equifax
 2017 data breach lawsuit. Act soon to determine if you
 are eligible for benefits.




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Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 220 of 295




                  EXHIBIT C

               Newspaper Ad
Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 221 of 295
                                                           COURT APPROVED LEGAL NOTICE

               If Your Personal Information Was Impacted in the 2017
               Equifax Data Breach, You May Be Eligible for Benefits
                           from a Class Action Settlement

     In September of 2017, Equifax announced it experienced a data breach, which impacted lhe personal information of approximately
     147 million people Equifax has reached a proposed settlement to resolve class action lawsuits brought by consumers alleging Equifax
     failed to adequately protect their personal lnformallon Equifax denies any wrongdoing, and no Judgment or finding or wrongdoing has
     been made

     If your personallnformallon was Impacted In lhe Equlfax data breach, you may be eligible for benefits from the sett\emenl after il
     becomes final Under the proposed settlement, Equlfax will: (1) pay $380_5 million Into a fund to pay benefits to consumers, court-
     approved fees and costs of class counsel and service awards to the named class representatives, and other expenses: (2) implement
     and maintain certain data security enhancements; (3) if necessary, pay up to $125 million more to reimburse consumers for out-of-
     pocket losses resulting from the data breach: and (4) provide certain other relief.

     ~Are You Eligible:
     You are a class member and eligible for settlement benefits If you are a U S consumer whose personallnformatlon was Impacted by
     the Equifax data breach. If you are unsure of whether you are a class member, visit www.EquifaxBreachSettlement.com and click the
     "Am I Impacted?" button or calll-833-759-2982


     •· Berwfit~:
     If you are a class member, you are eligible for one or more of the following benefits:

                                               1. Free Credit Monitoring or $125 Cash Payment. You can get free credit
                                                   monitoring services. Or, if you already have credit monitoring services, you can
                                                   request a $125 cash payment.
                                                      The free credit monitoring includes at least four years of three-bureau credit
                                                      monitoring, offered through Experian You can also get up to six more years
                                                      of free one-bureau credit monitoring through Equifax.
                                                        If you already have credit monitoring services that will continue for at least
                                                        6 more months, you may be eligible for a cash payment of $125.


                                               2. Other Cash Payments. You may also be eligible for the following cash
                                                   payments up to $20,000 for:
                                                     the time you spent remedying fraud, identity theft, or other misuse of
                                                     your personal information caused by the data breach, or purchasing credit
                                                     monitoring or freezing credit reports, up to 20 total hours at $25 per hour.
                                                        out-of-pocket losses resulting from the data breach.
                                                        up to 25% of the cost of Equifax credit or identity monitoring products you
                                                        paid for in the year before the data breach announcement.


                                               3. Free Identity Restoration Services: You are eligible for 7 years of free
                                                    assisted identity restoration services to help you remedy the effects of
                                                    identity theft and fraud .


     .,_ How to Get Benefits:
     To get free credit monitoring, cash payments, or both, you must submit a claim:
             Online at www.EquifaxBreachSettlement.com, or
             By mail.
     You must submit a claim by [initial claims period deadline date]. Certain claims may require supporting documents.

     If there is still money in the fund after payment of valid claims submitted during the initial claims period that ends on (INSERT DATE],
     there will be an extended claims period lasting for four years In the extended claims period, you may make certain claims for out-of-
     pocket losses incurred in the future, including time and money spent trying to address identity theft or fraud related to the data breach.

     You don't need to file a claim to get free identity restoration services

     The amount you receive may be less than the claim you submit depending on the number and amount of claims that are submitted


     t- Understanding Your Options:
     If you want the court to exclude you from the settlement class, you must write to the Settlement Administrator by [INSERT DEADLINE] List
     the name of this proceeding (In re: Equifax Inc. Customer Data Security Breach Litigation. Case No 1:17-md-2800-TWn. your full name,
     your current address, and the words "Request for Exclusion" at the top of the document You must sign this request and mail it to Equifax
     Data Breach Class Action Settlement Administrator. Attn: Exclusion, c/o JND Legal Administration, P.O Box 91318, Seattle, WA 98111.

     To object to the settlement, you must file an objection with the court by [INSERT DEADLINE]. For detailed Instructions about the process
     of objecting, visit www.Equlfa:..Br4:!:nc.h.Srit.leml!11t...com..

     You must subm~ a claim to www.Equifa•BreachSettlement.com by [INITIAL CLAIMS PERIOD DEADLINE DATE) You musl file a claim If
     you want to receive free credit monllorlng or cash benefits under this settlement If you do nothing, you won't receive a cash payment or
     credit monitoring service, won't be able to sue Equifax for the claims being resolved in the settlement, and
     will be legally bound by all orders of the court

     The Court will hold a hearing on [INSERT DATE) to consider any objections, and decide whether to approve the settlement, award
     attorneys' fees and expenses, and grant service awards to the named class representatives You may enter an appearance through
     an attorney, but do not have to. The court has appointed lawyers to represent you and the class, but you can hire another lawyer at your
     own expense

      This is only a summary of the settlement

        None ofthes~beneflts will be distributed or available until the settlememls flnaltv approved by the-Court.
                                  For more information, visit
                www.EquifaxBreachSeHiement.com, or call (toll free) 1-833-759-2982.
      This is a Coun authorized notice, nof a lawyer advertisemenf
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                  EXHIBIT D

       Scripts for Radio Ads
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                             Radio Notice Scripts

15-seconds radio announcement

  1. About 147 million U.S. consumers whose personal information was
     impacted in the 2017 Equifax data breach may be eligible for compensation,
     free credit monitoring, and more under a proposed class action settlement.
     Visit EquifaxBreachSettlement.com to find out your options. That’s
     EquifaxBreachSettlement.com.

  2. Equifax has agreed to settle a class action lawsuit about the 2017 data breach
     that impacted the information of millions of U.S. consumers. Learn more
     about the settlement, your rights, and whether you can submit a claim for
     cash and other benefits at EquifaxBreachSettlement.com. That’s
     EquifaxBreachSettlement.com.

30-seconds radio announcement

  1. About 147 million U.S. consumers impacted by the 2017 Equifax data
     breach are eligible to make a claim under a proposed settlement. Benefits
     include compensation for time and money spent preventing or recovering
     from identity theft because of the breach; four years of free credit
     monitoring;     identity  restoration   services;   and     more.     Visit
     EquifaxBreachSettlement.com to find out your options and if you’re eligible
     to submit a claim. Or you can call toll free 1-833-759-2982. That’s
     EquifaxBreachSettlement.com or call 1-833-759-2982.
Case 1:17-md-02800-TWT Document 739-2 Filed 07/22/19 Page 224 of 295




2. Attention: You may be eligible for cash payments, identity theft protection
   services, and other benefits in the Equifax data breach class action
   settlement. If you’re one of about 147 million U.S. consumers whose
   information was impacted in the 2017 Equifax data breach, you may be
   eligible for cash payments for time and money you spent because of the data
   breach. Visit EquifaxBreachSettlement.com for more information about your
   rights under the settlement and to make a claim. Or you can call toll free 1-
   833-759-2982. That’s EquifaxBreachSettlement.com or call 1-833-759-
   2982.
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                                                           Equifax Data Breach Settlement
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                                                    If your information was impacted in the 2017 Equifax data breach, you"re
If your information was impacted in the 2017        eligible to get free identity restoration services under the class action
Equifax data breach, you're eligible to get free    settlement. Click here to fmd out how.
identity restoration services under the class
action settlement. Click here to find out how.
                                                                                                                                  2017 Equlfax Class Action Settlement
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Settlement

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       Equifax Data Breach Settlement                  Equifax Data Breach Settlement
  E    Sponsored · _,                             E    Sponsored · 0
Identity impacted after the 2017 Equifax data
breach? Get access to free help under a class   Identity impacted after the 2017 Equifax data breach? Get access to free
action settlement if you are a class member.    help under a class action settlement if you are a class member.




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       Equifax Data Breach Settlement                      Equifax Data Breach Settlement
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The Equifax Settlement provides reimbursement       The Equifax Settlement provides reimbursement to people who lost time or
to people who lost time or money due to identity    money due to identity theft or fraud because of the 201 7 data breach. Find
                                                    out if you're eligible for reimbursement and make a claim.
theft or fraud because of the 2017 data breach.
Find out if you're eligible for reimbursement and
make a claim.                                                                                                                     equifaxbreachsettlement.com
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         Equifax Data Breach Settlement                  Equifax Data Breach Settlement
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Did you recently lose time or money from          Did you recently lose time or money from identity theft or fraud because of
identity theft or fraud because of the 2017       the 2017 Equifax Data Breach? You may have a claim to compensation. Find
Equifax Data Breach? You may have a claim to      out if you're eligible to submit a claim.
compensation. Find out if you're eligible to
submit a claim.
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      Equifax Dat a Breach Settl..
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Learn More


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If your information was impacted in the 2017           Identity impact ed after the 201 7 Equifax dat a breach>
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     Equifax Data Breach Settl
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Learn More


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The Equifax Settlement provides reimbursement to   Did you recently lose t ime or money from identity
people who lost time or money due to ... more      theft or f raud because of the 2017 Equifax ... more




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          Equifax Data Breach Settlement
          @Equifax_Breach


Info impacted in the 2017 Equifax breach? You may be
eligible for identity restoration services under a
settlement.
11 :15 AM - 18 Jul2019




2017 Equifax Data Breach
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Identity impacted because of the 2017 Equifax data
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         Equifax Data Breach Settlement
•        @Equifax_Breach


Equifax Settlement: Reimbursement may be available
for ID theft or fraud losses caused by the 2017 data
breach.
5:58PM -16 Jul2019




2017 Equifax Data Breach Class
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          Equifax Data Breach Settlement
•         @Equifax_Breach

Do you have losses from ID theft because of the 2017
Equifax data breach? You may have a claim to
compensation.
5:58 PM - 20 Jul 2019




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    EQUIFAX                     www.EquifaxBreachSettlement.com
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If Eligible, Get Free Help
  Resolving Identity Fraud




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2017 EQUIFAX
DATA BREACH
CLASS ACTION
SETTLEMENT




                 Find out if you're eligible.




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     DATA BREACH
     CLASS ACTION
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Data Breach Settlement 1 Equifax Class Action 1 Free ID
Restoration Services
lAd I www.equifaxbreachsettlement.com ...
Victim of identity theft, fraud? If eligible, get free help under a court settlement. Click here
to access identity restoration services now.




2017 Equifax Data Breach I Was Your Identity Stolen?
~ www.equifaxbreachsettlement.com
A recent court settlement provides free Identity Restoration Services. Find out if you're eligible & access
your free services now.




                                                                                                              
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2017 Equifax Data Breach 1 Did You Lose Time or Money? I
Submit a Reimbursement Claim
~ www.equifaxbreachsettlement.com •
People who recently lost time or money due to the 2017 Equifax breach could get
reimbursed. Find out if you're eligible to submit a claim.



Equifax 2017 Settlement I Extended Claims Period I Get
Reimbursement
~ www.equifaxbreachsettlement.com •
Did you recently lose time or money as a result of the 2017 Equifax data breach? You may
be eligible for reimbursement under a proposed class action settlement.




                                                                                           
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7KHORJRSLFWXUHGKHUHZLOO
EHLPSOHPHQWHGRQWKH
)DFHERRN,QVWDJUDPDQG
7ZLWWHUDFFRXQWVDQGZLOO
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                   EXHIBIT F

       Scripts for Video Ads
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15-second video script
   Audio                                       Visual
1. ACTOR:                                      GRAPHIC OVERLAY:

   If your personal information was              ● Cash payments
   impacted in the 2017 Equifax data             ● Free credit monitoring
   breach, you may be eligible for a cash        ● Identity restoration services
   payment, free credit monitoring, and
   other benefits under a proposed class
   action settlement.
                                      [0:10]

2. VO:                                         GRAPHIC OVERLAY:

   Visit EquifaxBreachSettlement.com to       EquifaxBreachSettlement.com
   find out if you’re eligible to submit your
   claim.
                                       [0:15]



30-second video script #1
   Audio                                       Visual
1. ACTOR:

   The 2017 Equifax data breach impacted
   the personal information of
   approximately 147 million U.S.
   consumers.
                                   [0:05]
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2. ACTOR:

  If your information was impacted, you
  may be eligible for benefits under a
  proposed class action settlement.
                                     [0:11]

3. ACTOR:                                     GRAPHIC OVERLAY:

  Under the settlement, you may be              ● Cash payments
  entitled to:                                  ● At least 4 years of free
                                                  credit monitoring
     ● Cash payments for money and              ● Identity restoration services
       time spent preventing or
       recovering from identity theft
       because of the breach;
     ● Four years of free credit
       monitoring; and
     ● Identity restoration services
                                     [0:21]

4. VO:                                        GRAPHIC OVERLAY:

  Visit EquifaxBreachSettlement.com to EquifaxBreachSettlement.com
  find out if you’re a class member and     1-833-759-2982
  eligible to submit a claim for benefits
  today.
                                     [0:27]

5. VO:                                        GRAPHIC OVERLAY:

  That’s EquifaxBreachSettlement.com.    EquifaxBreachSettlement.com
                                  [0:30] 1-833-759-2982
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60-second video script #2
   Audio                                         Visual
1. ACTOR:

   Are you one of the approximately 147
   million U.S. consumers impacted in the
   Equifax data breach?
                                    [0:06]

2. ACTOR:                                        GRAPHIC OVERLAY:

   A proposed class action settlement may          ● Cash reimbursement for
   entitle you to certain benefits, including:       out-of-pocket losses and
                                                     your time
      ● Cash payments to reimburse you             ● Free credit monitoring and
        for out-of-pocket costs and                  identify theft protection
        compensate you for time spent              ● Identity restoration services
        remedying identity theft because
        of the breach;
      ● Four years of free credit
        monitoring and identity theft
        protection; and
      ● Identity restoration services
                                      [0:21]
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3. ACTOR:

  A class action lawsuit was brought by
  consumers against Equifax after it
  announced in September 2017 that a
  criminal cyberattack on its systems
  impacted the names, Social Security
  numbers, birth dates, addresses, and
  other personal information of millions
  of people.
                                     [0:33]

4. ACTOR:

  Under the terms of the proposed
  settlement, Equifax has agreed to pay
  $380.5 million into a fund to pay
  benefits.
                                     [0:40]

5. VO:                                        GRAPHIC OVERLAY:

  Visit EquifaxBreachSettlement.com to         EquifaxBreachSettlement.com
  find out if you’re eligible to file a claim 1-833-759-2982
  for benefits.
                                        [0:45]

6. VO:

  You may be entitled to compensation,
  free credit monitoring and identity theft
  protection, and identity restoration
  services.
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                                      [0:50]

7. VO:                                         GRAPHIC OVERLAY:

    Visit EquifaxBreachSettlement.com       EquifaxBreachSettlement.com
    for more information and to submit a    1-833-759-2982
    claim today.
                                     [0:55]




Draft Disclosure

This is a court-approved legal notice. This is not an advertisement. The proposed
settlement may affect your rights. If you make a claim under the settlement, or if
you do nothing, you will be releasing all of your legal claims relating to the data
breach against Equifax when the settlement becomes final. In order to be eligible
for certain benefits, you must submit a claim. For cash reimbursement, you must
be able to document your claim. The Settlement Administrator has the authority to
review and validate claims. Class members who wish to opt out may exclude
themselves from the settlement and give up their right to participate. Class
members who wish to object to the settlement may do so prior to the court-
imposed deadline. Court-approved Class Counsel are: DOFFERMYRE SHIELDS
CANFIELD & KNOWLES, LLC; DICELLO LEVITT GUTZLER LLC; STUEVE
SIEGEL HANSON LLP; and THE BARNES LAW GROUP, LLC. You will not
be charged by these lawyers for their work on the case.
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                           EXHIBIT 7-A

               PROPOSED LONG-FORM NOTICE
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            This is a Court approved Legal Notice. This is not an advertisement.
                  In re: Equifax Inc. Customer Data Security Breach Litigation,
                            Case No. 1:17-md-2800-TWT (N.D. Ga.)

                        EQUIFAX DATA BREACH
                      CLASS ACTION SETTLEMENT

  IF YOUR PERSONAL INFORMATION WAS IMPACTED IN THE 2017
  EQUIFAX DATA BREACH, YOU MAY BE ELIGIBLE FOR BENEFITS
             FROM A CLASS ACTION SETTLEMENT
A class action settlement has been proposed in a case against Equifax Inc., Equifax Information
Services LLC, and Equifax Consumer Services LLC (“Equifax”) relating to a data breach that Equifax
announced in September 2017 (the “Data Breach”). If you are a Settlement Class Member, there will
be benefits available to you from the proposed settlement. The easiest way to submit a claim under
the settlement is online at www.EquifaxBreachSettlement.com. If you are unsure of whether you
are eligible for benefits, visit the website or call 1-833-759-2982.

In addition to other benefits, the proposed settlement requires Equifax to establish a “Consumer
Restitution Fund” of a minimum of $380.5 million. The settlement relief includes:
      Cash Payment for Out-of-Pocket Losses: The Consumer Restitution Fund will be used to
       reimburse out-of-pocket losses fairly traceable to the Data Breach, including costs of credit
       monitoring and placing or removing a credit freeze on a credit file, up to $20,000 per person
       (“Out-of-Pocket Losses”).
      Cash Payment for Time Spent: Out-of-Pocket Losses include payment for time spent
       remedying fraud, identity theft, or other misuse of your personal information caused by the
       Data Breach, or freezing or unfreezing credit reports and purchasing credit monitoring services,
       for up to 20 hours at $25 per hour (“Time Spent”).
      Cash Payment for Equifax Subscription Products: Settlement Class Members who paid for
       Equifax credit or identity monitoring subscription products between September 7, 2016 and
       September 7, 2017, can receive up to 25% reimbursement for the amount they paid for services
       during that time (“Subscription Product Reimbursement”).
      Credit Monitoring Services: All Settlement Class Members are eligible to enroll in at least four
       (4) years of Experian’s credit monitoring services at no cost. The services include three-bureau
       daily monitoring of your credit files, a $1 million identity theft insurance policy, and other
       features discussed below (“Credit Monitoring Services”). You can make a claim for both cash
       payments and Credit Monitoring Services.
      Cash Payment for Alternative Credit Monitoring Service: If you already have some form of
       credit monitoring or protection, or would like to get a different credit monitoring service before
       submitting a claim, you may be eligible for cash up to $125 as an alternative to the free Credit
       Monitoring Services (“Alternative Reimbursement Compensation”).
      Identity Restoration Services: All Settlement Class Members will be able to use assisted
       identity restoration services offered through Experian, including a dedicated identity theft
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     restoration specialist to help with identity recovery and restoration for a period of seven (7)
     years (“Restoration Services”) if you experience identity theft or fraud.
    Equifax Business Practices Commitments: Equifax has agreed to implement and maintain
     certain business practices relating to its information security program, which will be monitored
     by an independent third party and be enforceable in court.

YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT                                    DEADLINE

File a claim for      You must submit a claim in order to receive reimbursement DATE
Out-of-Pocket         for Out-of-Pocket Losses and/or Time Spent. You may
                                                                                For current
Losses or Time        claim Out-of-Pocket Losses, Time Spent, and Credit
                                                                                losses and
Spent                 Monitoring Services under the settlement.
                                                                                time
                      For more detailed information, see Questions __-__.
                                                                                DATE
                                                                                    For future
                                                                                    losses and
                                                                                    time

File a claim for      You must submit a claim in order to receive the Free Credit DATE
Credit Monitoring     Monitoring Services offered under the settlement, or
Services or           Alternative Reimbursement Compensation up to $125.
Alternative
                      For more detailed information, see Question __.
Reimbursement
Compensation

File a claim for      You must submit a claim in order to receive reimbursement DATE
Subscription          for Subscription Product Reimbursements.
Product
Reimbursement

Access to Identity    You may access Identity Restoration Services after the No deadline.
Restoration           settlement becomes final, whether or not you make a claim Services will
Services              under the settlement.                                     be available
                                                                                for at least 7
                      For more detailed information, see Question __.
                                                                                years.

Exclude yourself      You can exclude yourself from the settlement by informing DATE
from the              the Settlement Administrator that you want to “opt-out” of
settlement            the settlement. If the settlement becomes final, this is the
                      only option that allows you to retain your rights to
                      separately sue Equifax for claims related to the Data
                      Breach. If you opt-out, you may not make a claim for
                      benefits under the settlement.
                      For more detailed information, see Question __.




         Questions? Go to www.EquifaxBreachSettlement.com or call 1-833-759-2982

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  Object or                     You may object to the settlement by writing to explain to DATE
  comment on the                the Court why you don’t think the settlement should be
  settlement                    approved. If you object, you will remain a Settlement Class
                                Member, and if the settlement is approved, you will be
                                eligible for the benefits of the settlement and give up your
                                right to sue on certain claims described in the Settlement
                                Agreement, which is available at
                                www.EquifaxBreachSettlement.com.
                                For more detailed information, see Question __.

  Do nothing                    If you do nothing, you can still access Identity Restoration
                                Services, but will not be entitled to any other benefits
                                provided under the settlement. If the settlement becomes
                                final, you will give up your rights to sue Equifax separately
                                for claims relating to the Data Breach or to continue to
                                pursue any such claims you have already filed.

                                                 What this Notice Contains

                                                                                                                                            Page
BASIC INFORMATION AND OVERVIEW ..............................................................................
    1.       What is this notice, and why did I get it? .............................................................................
    2.       What is this lawsuit about? ...................................................................................................
    3.       Why is this a class action? ....................................................................................................
    4.       Why is there a settlement? ...................................................................................................
WHO IS PART OF THE SETTLEMENT ...................................................................................
    5.       How do I know if I am part of the settlement? .....................................................................
THE SETTLEMENT BENEFITS .................................................................................................
    6.       What does the settlement provide? .......................................................................................
    7.       How will the settlement compensate me for identity theft I have already suffered or
             money I have already paid to protect myself? ......................................................................
    8.       How will the settlement help protect me against future identity theft and fraud? ...............
    9.       Can minor children make a claim for Credit Monitoring Services? ....................................
    10.      What if I already have credit monitoring or identity theft protection services? ...................
    11.      How will the settlement help me deal with identity theft or fraud if it happens? ................
    12.      What if I have Out-of-Pocket Losses or Time Spent because of the Equifax Data Breach
             in the future? ........................................................................................................................
    13.      What claims can I make during the Extended Claims Period? ............................................
    14.      Will the settlement include changes to Equifax’s data security program? ...........................


             Questions? Go to www.EquifaxBreachSettlement.com or call 1-833-759-2982

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    15.      What happens if there are leftover settlement funds? ..........................................................
    16.      What happens if the Consumer Restitution Fund runs out of money? .................................
HOW TO GET SETTLEMENT BENEFITS ...............................................................................
    17.      How do I file a claim for Credit Monitoring Services, Time Spent, or Out-of-Pocket
             Losses? .................................................................................................................................
    18.      When and how will I receive the benefits I claim from the settlement? ..............................
LEGAL RIGHTS RESOLVED THROUGH THE SETTLEMENT .........................................
    19.      What am I giving up to stay in the settlement class? ...........................................................
THE LAWYERS REPRESENTING YOU ..................................................................................
    20.      Do I have a lawyer in this case? ...........................................................................................
    21.      How will these lawyers be paid? ..........................................................................................
    22.      Will the class representatives receive any additional money? .............................................
EXCLUDING YOURSELF FROM THE SETTLEMENT ........................................................
    23.      How do I exclude myself from the settlement? ....................................................................
OBJECTING OR COMMENTING ON THE SETTLEMENT? ...............................................
    24.      How do I tell the Court that I like or don’t like the settlement? ..........................................
GETTING MORE INFORMATION ............................................................................................
    25.      Where can I get more information? ......................................................................................

                                  BASIC INFORMATION AND OVERVIEW
   1. What is this notice?
A Court authorized this notice to inform you how you may be affected by this proposed settlement.
This notice describes the lawsuit, the general terms of the proposed settlement and what it may mean
to you. This notice also explains how to participate in, or exclude yourself from, the settlement if you
were impacted by the Data Breach.
For information on how to determine if you are a Settlement Class Member, and therefore eligible for
benefits under this settlement, see Question __.

   2. What is this lawsuit about?
In September 2017, Equifax announced that it had been the victim of a criminal cyberattack on its
systems. The attackers gained unauthorized access to the personal information of approximately 147
million U.S. consumers. This information included people’s names, Social Security numbers, birth
dates, addresses, and in some instances driver’s license numbers, credit card numbers, or other personal
information.

Numerous lawsuits were brought on behalf of consumers whose personal information was impacted as
a result of the Data Breach. Chief Judge Thomas W. Thrash Jr. of the U.S. District Court for the
Northern District of Georgia is overseeing these lawsuits. These lawsuits are known as In re: Equifax


             Questions? Go to www.EquifaxBreachSettlement.com or call 1-833-759-2982

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Inc. Customer Data Security Breach Litigation, Case No. 1:17-md-2800-TWT. The consumers who
sued are called the “Plaintiffs.” Equifax, Inc., and two of its subsidiaries are the “Defendants.”
Plaintiffs claim that Equifax did not adequately protect consumers’ personal information and that
Equifax delayed in providing notice of the data breach. The most recent version of the lawsuit, which
describes the specific legal claims alleged by the Plaintiffs, is available at
www.EquifaxBreachSettlement.com. Equifax denies any wrongdoing, and no court or other judicial
entity has made any judgment or other determination of any wrongdoing.

   3. Why is this a class action?
In a class action, one or more people called “class representatives” sue on behalf of themselves and
other people with similar claims. All of these people together are the “class” or “class members.”
Because this is a class action, even persons who did not file their own lawsuit can obtain relief from
harm that may have been caused by the Data Breach, except for those individuals who exclude
themselves from the settlement class by the deadline.

   4. Why is there a settlement?
The Court has not decided in favor of Plaintiffs or Equifax. Instead, both sides agreed to a settlement
after a lengthy mediation process overseen by a retired federal judge. Settlements avoid the costs and
uncertainty of a trial and related appeals, while more quickly providing benefits to members of the
settlement class. The class representatives appointed to represent the class and the attorneys for the
settlement class (“Class Counsel,” see Question __) believe that the settlement is in the best interests
of the Settlement Class Members.
                            WHO IS PART OF THE SETTLEMENT
   5. How do I know if I am part of the settlement?
You are a Settlement Class Member if you are among the approximately 147 million U.S. consumers
identified by Equifax whose personal information was impacted by the Equifax Data Breach.
You can confirm you are a Settlement Class Member, and eligible for benefits, by:
      Visiting the secure web page https://www.EquifaxBreachSettlement.com; or
      Calling 1-833-759-2982.
Excluded from the settlement are:
      Officers and directors of Equifax;
      The presiding judge and any judicial staff involved in the lawsuit; and
      Any Class Member who opts-out (see Question ___).
                                THE SETTLEMENT BENEFITS
   6. What does the settlement provide?
Equifax will pay at least $380,500,000 into a Consumer Restitution Fund. The Consumer Restitution
Fund will be used to:
      Make cash payments for Out-of-Pocket Losses and Time Spent (see Question ___);
      Purchase Credit Monitoring Services (see Question ___);



           Questions? Go to www.EquifaxBreachSettlement.com or call 1-833-759-2982

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       Pay cash Alternative Reimbursement Compensation to Settlement Class Members who already
        have their own credit monitoring or identity protection coverage before making a claim (see
        Question ___);
       Make cash payments for Subscription Product Reimbursement;
       Purchase Restoration Services for all Settlement Class Members, regardless of whether they
        make a claim (see Question ___);
       Pay the costs of notifying Settlement Class Members and administering the settlement;
       Pay service awards to the Settlement Class Representatives, as approved by the Court (see
        Question ___);
       Pay attorneys’ fees, costs, and expenses, as approved by the Court (see Question ___).
If the Consumer Restitution Fund is used up, Equifax will pay up to an additional $125,000,000 to pay
Out-of-Pocket Losses (see Question ___).
Equifax has also agreed to implement and maintain certain business practices relating to its information
security program (see Question ___). A detailed description of these business practices commitments
is available in the Settlement Agreement, which is available at www.EquifaxBreachSettlement.com.

   7. How will the settlement compensate me for identity theft I have already suffered or
      money I have already paid to protect myself, and my time spent on those things?

Settlement Benefit: Cash Payment for Time Spent: If you spent time (i) dealing with fraud, identity
theft, or other alleged misuse of your personal information that is fairly traceable to the Data Breach,
or (ii) taking preventative measures (time placing or removing security freezes on your credit report,
or purchasing credit monitoring or identity protection) that are fairly traceable to the Data Breach, then
you may make a claim for reimbursement for $25 per hour for up to 20 hours.

You may receive reimbursement for up to 10 hours at $25 per hour by providing a description of (i)
the actions taken in response to the Data Breach in dealing with misuse of your information or taking
preventative measures and (ii) the time associated with those actions. You must certify that the
description is truthful. Valid claims for Time Spent will be reimbursed in 15-minute increments, with
a minimum reimbursement of 1-hour per claim.

To claim reimbursement of more than 10 hours of Time Spent, you must also provide reasonable
documentation of fraud, identity theft, or other alleged misuse of your personal information fairly
traceable to the Data Breach (i.e., letter from IRS or bank or police report).

If there are more than $31 million in claims for Time Spent made during the Initial Claims Period (see
Question __), all payments for Time Spent will be reduced and distributed on a proportional basis.
Certain claims for Time Spent may also be made during the Extended Claims Period, up to a total cap
for Time Spent during the Initial and Extended Claims Periods of $38 million in claims.

The deadline to file a claim for time you have already spent as a result of the Data Breach is [DATE].
The deadline to file eligible claims for time you spend in the future as a result of the Data Breach is
[DATE] (see Questions ___).




            Questions? Go to www.EquifaxBreachSettlement.com or call 1-833-759-2982

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Settlement Benefit: Payment for Unreimbursed Out-of-Pocket Losses: If you spent money to deal
with fraud or identity theft that was fairly traceable to the Data Breach, or to protect yourself from
future harm, then you can submit a claim for reimbursement up to $20,000 (including your claim for
Time Spent). Out-of-Pocket Losses that are eligible for reimbursement may include, without limitation,
the following:
          Money spent on or after September 7, 2017, associated with placing or removing a security
           freeze on your credit report with any credit reporting agency;
          Credit monitoring or identity theft protection costs you paid on or after September 7, 2017;
          Unreimbursed costs, expenses, losses or charges you paid on or after May 13, 2017,
           because of identity theft or identity fraud, falsified tax returns, or other alleged misuse of
           your personal information;
          Other miscellaneous expenses related to any Out-Of-Pocket Loss such as notary, fax,
           postage, copying, mileage, and long-distance telephone charges;
          Professional fees incurred in connection with addressing identity theft, fraud, or falsified
           tax returns; and
          Up to 25% reimbursement of the money you paid for Equifax credit monitoring or identity
           theft protection subscription products between September 7, 2016 and September 7, 2017.

This list provides examples only, and other losses or costs fairly traceable to the Data Breach may also
be eligible for reimbursement. Go to www.EquifaxBreachSettlement.com or call [toll-free number].

The Settlement Administrator will decide if your claim for Out-Of-Pocket Losses are valid. Only valid
claims will be paid. The deadline to file a claim for Out-of-Pocket Losses you have already had is
[DATE]. Certain claims for losses in the future as a result of the Data Breach may be made during the
Extended Claims Period (see Questions ___). The deadline to file those claims is [DATE].

   8. How will the settlement help protect me against future identity theft and fraud?
Settlement Benefit: Credit Monitoring Services: The settlement provides a way to help protect
yourself from unauthorized use of your personal information. Settlement Class Members may submit
a claim to enroll in at least four (4) years of three-bureau credit monitoring services, provided by
Experian, at no cost. These services include the following features:
      Three-bureau credit monitoring providing notice of changes to your credit report at all three
       national credit bureaus;
      Up to $1 million dollars in insurance covering costs related to identity theft or fraud;
      Real-time notification of credit inquiries and other notifications;
      On-demand online access to a free copy of one bureau credit report, updated on a monthly
       basis;
      CyberAgent® Dark Web Monitoring that monitors internet activity for the trading or selling
       of your personal information;
      Customer support provided by Experian; and
      Many other features described at www.EquifaxBreachSettlement.com.


           Questions? Go to www.EquifaxBreachSettlement.com or call 1-833-759-2982

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If you make a valid claim and enroll in Credit Monitoring Services, you can also elect to enroll in up
to six (6) years of one-bureau credit monitoring services provided by Equifax that would begin after
the three-bureau Credit Monitoring Services expire. This one-bureau credit monitoring service will
include automated online alerts for key changes to your Equifax credit report, on-demand online access
to your Equifax credit report updated on a monthly basis, and, if you request, internet monitoring that
includes searching suspicious websites for your Social Security number. You must opt in for these one-
bureau services when you submit your claim for Credit Monitoring Services, and you will be sent
instructions for how to enroll in the one-bureau monitoring before your three-bureau Credit Monitoring
Services expire. The cost of this service will be paid separately by Equifax, not out of the Consumer
Restitution Fund.

Information about Credit Monitoring Services for minor children is provided in Question ___.

The deadline for all claims for Credit Monitoring Services is [DATE].

If you submit a valid claim form and elect to enroll in Credit Monitoring Services, you will receive
enrollment instructions by email after approval of the settlement. You may make a claim for both
reimbursement for Out-of-Pocket Losses and/or Time Spent and Credit Monitoring Services.

   9. Can minor children make a claim for Credit Monitoring Services?

Settlement Benefit: Credit Monitoring Services for Minor Children: A parent or legal guardian of
a Settlement Class Member who is a minor (under the age of 18) can make a claim for Credit
Monitoring Services on the child’s behalf under the settlement. While the Settlement Class Member is
under 18, they will receive minor monitoring services as follows: alerts when certain personal data
appears on suspicious websites, including underground websites known as the “dark web;” alerts when
the Social Security number is associated with new names or addresses or the creation of a consumer
report at one or more of the three nationwide Consumer Reporting Agencies; and Identity Restoration
Services in the event that a Settlement Class Member under the age of 18 has their identity
compromised. Upon turning 18, the Settlement Class Member can enroll in the full Credit Monitoring
Services. If a Settlement Class Member under the age of 18 has an Experian credit file with sufficient
detail to permit authentication, a parent or guardian may enroll them in the full Credit Monitoring
Services prior to their eighteenth birthday.

Additionally, the parent or legal guardian can elect to enroll the minor in one-bureau credit monitoring
services provided by Equifax that would begin after the Credit Monitoring Services expire for a period
of up to 14 years. While the Settlement Class Member is under 18, they will receive minor monitoring
services as follows: alerts when data elements such as a Social Security number submitted for
monitoring appear on suspicious websites, including underground websites known as the “dark web;”
for minors who do not have an Equifax credit file, a file is created, locked, and then monitored, and for
minors with an Equifax credit file, their credit file is locked and then monitored. The Experian Credit
Monitoring Services and the optional one-bureau credit monitoring provided by Equifax together will
cover 18 years.

The parent or legal guardian must opt for the minor to receive the one-bureau services when submitting
a claim for the Credit Monitoring Services, and the parent or legal guardian will be sent instructions
for how to enroll in the one-bureau monitoring before the Credit Monitoring Services expire. The cost
of these services will be paid separately by Equifax, not out of the Consumer Restitution Fund.


            Questions? Go to www.EquifaxBreachSettlement.com or call 1-833-759-2982

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   10. What if I already have credit monitoring or identity protection services?

Settlement Benefit: Cash Alternative Reimbursement Compensation: If you already have some
other kind of credit monitoring or protection services, and do not claim the free Credit Monitoring
Services available through the settlement, you may file a claim for Alternative Reimbursement
Compensation for up to $125. To claim Alternative Reimbursement Compensation you must certify
that you have some form of credit monitoring or protection services on the date you submit your claim
form and that you will keep those services for a minimum of six (6) months.

You should keep in mind that:
      The deadline for all claims for Alternative Reimbursement Compensation is [DATE].
      If you claim Alternative Reimbursement Compensation, you cannot claim free Credit
       Monitoring Services.
      If you claim Alternative Reimbursement Compensation, you cannot also seek reimbursement
       for purchasing credit monitoring or protection services covering the 6 month period after you
       make your claim. However, you can still make other claims for Time Spent or Out-of-Pocket
       Losses.
      If there are more than $31 million claims for Alternative Reimbursement Compensation, all
       payments for Alternative Reimbursement Compensation will be lowered and distributed on a
       proportional basis.

   11. How will the settlement help me deal with identity theft or fraud if it happens?
Settlement Benefit: Free Identity Restoration Services: All Settlement Class Members will receive
access to Assisted Identity Restoration Services if they experience an identity theft event. These
services will be provided by Experian for a period of seven (7) years. These services include:
      Access to a U.S. based call center providing services relating to identity restoration.
      Assignment of a certified Identity Theft Restoration Specialist to assist you in addressing an
       identity theft event.
      Assistance with a step-by-step process to deal with companies, government agencies, and
       credit bureaus.
All Settlement Class Members may access Assisted Identity Restoration Services after the settlement
becomes final, even if you never make a claim from this settlement, by going to
www.EquifaxBreachSettlement.com, or calling toll free 1-833-759-2982.

   12. What if I have Out-of-Pocket Losses or Time Spent because of the Equifax Data Breach
       in the future?

All claims for Out-of-Pocket Losses or Time Spent that have already happened must be made by
[DATE].

If there is still money in the Consumer Restitution Fund after all initial payments, there will be an
“Extended Claims Period” which will allow you to make certain claims for Out-of-Pocket Losses or


           Questions? Go to www.EquifaxBreachSettlement.com or call 1-833-759-2982

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Time Spent that happen after the initial claims deadline. All such claims must be made by [DATE]
and will be paid on a first-come-first-served basis.

During the Extended Claims Period, you can seek reimbursement for Out-of-Pocket Losses or Time
Spent (but not losses of money and time associated with freezing or unfreezing credit reports or
purchasing credit monitoring or protection services) if you certify that you have not already received
reimbursement for the claimed loss.

   13. What claims can I make during the Extended Claims Period?

If the Extended Claims Period goes into effect as described in Question No. ___, you can seek
reimbursement for Out-of-Pocket Losses or Time Spent incurred during the Extended Claims Period
(excluding losses of money and time associated with placing or removing a security freeze on your
credit reports or purchasing credit monitoring or identity theft protection services) if you certify that
you have not already received reimbursement for the claimed loss.
You cannot make any of the following claims during the Extended Claims Period:
       Claims for free Credit Monitoring Services (see Question __).
       Claims for cash Alternative Reimbursement Compensation for credit monitoring or protection
        (see Question __).
       Claims for Out-of-Pocket Losses or Time Spent associated with freezing or unfreezing credit
        reports or purchasing credit monitoring or protection services.

   14. Will the settlement include changes to Equifax’s data security program?
Settlement Benefit: Data Security Business Practices Commitments by Equifax: Equifax has
agreed to adopt, pay for, implement, and maintain extensive Business Practices Commitments related
to information security for a period of five (5) years. A detailed description of these Business Practices
Commitments is available in the Settlement Agreement, which is available at
www.EquifaxBreachSettlement.com. These commitments will be assessed by an independent third
party and be enforceable in court. Equifax also will not seek to enforce any arbitration provision in any
Equifax product that has been offered in response to the Data Breach as of the date of the settlement
agreement or that is provided under the settlement.

   15. What happens if there are leftover settlement funds?

The Consumer Restitution Fund will be used to pay initial claims for Out-of-Pocket Losses and Time
Spent, for Credit Monitoring Services and Alternative Reimbursement Compensation, for Identity
Restoration Services, for administrative and notice costs, and for class representative service awards
and attorneys’ fees and expenses as approved by the Court.

       If there are still settlement funds, valid claims made during the Extended Claims Period will
        be paid on a first-come-first-served basis.

       If settlement funds remain, the monetary caps for Time Spent (see Question __) and Alternative
        Reimbursement Compensation (see Question __) will be lifted (if applicable) and those



            Questions? Go to www.EquifaxBreachSettlement.com or call 1-833-759-2982

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        payments will be increased proportionally up to the full amount of approved claims for Time
        Spent and Alternative Reimbursement Compensation.

       If settlement funds still remain, up to three (3) additional years of Identity Restoration Services
        will be made available to all Settlement Class Members, regardless of whether they made a
        claim under the settlement.

       If settlement funds still remain, additional Credit Monitoring Services (purchased in full month
        increments) will be provided to Settlement Class Members who claimed Credit Monitoring
        Services.

       If any settlement funds still remain, then those remaining funds will be distributed by the court
        for consumer restitution and redress, but no money will be returned to Equifax.


   16. What happens if the Consumer Restitution Fund runs out of money?

If the payments described in Question ___ use up the Consumer Restitution Fund, Equifax will add up
to $125,000,000 as needed to pay valid claims for Out-of-Pocket Losses.


                            HOW TO GET SETTLEMENT BENEFITS
   17. How do I file a claim for Credit Monitoring Services, Time Spent, or Out-of-Pocket
       Losses?
To obtain Credit Monitoring Services or to file a claim for reimbursement for Time Spent or Out-of-
Pocket Losses fairly traceable to the Data Breach, you will need to file a claim form. There are two
options for filing claims:
        (1)     File Online: You may fill out and submit the claim form online at
                www.EquifaxBreachSettlement.com. This is the quickest way to file a claim.

        (2)     File by Mail: Alternatively, you may simply fill out the claim form included with this
                notice and mail it to the address on the form with supporting documentation, if any. You
                can download a hard copy of the claim form (available at
                www.EquifaxBreachSettlement.com), or ask the Settlement Administrator to mail a
                claim form to you by calling 1-833-759-2982. Fill out your claim form, and mail it to:
                Equifax Data Breach Litigation Claims, c/o JND Legal Administration, P.O. Box 91318,
                Seattle, Washington, 98111.

The deadline to file a claim is [ DATE] (this is the last day to file online and the postmark deadline for
mailed claims).

To fill out and submit a claim form during the Extended Claims Period (see Questions __), you will
need to access and submit the Extended Claims Period claim form online at
www.EquifaxBreachSettlement.com; or contact the Settlement Administrator and request a hard copy
of the Extended Claims Period claim form that can be filled out and returned by mail.




              Questions? Go to www.EquifaxBreachSettlement.com or call 1-833-759-2982

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   18. When and how will I receive the benefits I claim from the settlement?
Credit Monitoring Services claimed by Settlement Class Members will begin, and payments for
valid claims will be made, after the Court enters a final judgment and the settlement becomes
final. This may take several months or more; please be patient. Once there is a final judgment,
it will be posted on the Settlement Administrator’s website.

If you make a valid claim for Credit Monitoring Services, the Settlement Administrator will send you
information on how to activate your credit monitoring once the settlement is final. The Settlement
Administrator will provide you with an activation code and link to the Experian website where you
can enroll and activate your Credit Monitoring Services.

Checks for valid claims for Out-of-Pocket Losses, Time Spent, and Alternative Reimbursement
Compensation will be mailed by the Settlement Administrator to the mailing address that you provide.
              LEGAL RIGHTS RESOLVED THROUGH THE SETTLEMENT
   19. What am I giving up to stay in the settlement class?
If you make a claim under the settlement, or if you do nothing, you will be releasing all of your legal
claims relating to the Data Breach against Equifax when the settlement becomes final. By releasing
your legal claims, you are giving up the right to file, or to continue to pursue, separate legal claims
against or seek further compensation from Equifax for any harm related to the Data Breach—whether
or not you are currently aware of those claims.

Unless you exclude yourself from the settlement (see Question __), all of the decisions by the Court
will bind you. That means you will be bound to the terms of the settlement and accompanying court
orders, and cannot bring a lawsuit or be part of another lawsuit against Equifax regarding the Data
Breach.

Paragraphs __-__ of the Settlement Agreement define the claims that will be released by Settlement
Class Members who do not exclude themselves from the settlement. You can access the Settlement
Agreement and read the specific details of the legal claims being released at
www.EquifaxBreachSettlement.com.

If you have any questions, you can contact the Settlement Administrator (see Question __).




           Questions? Go to www.EquifaxBreachSettlement.com or call 1-833-759-2982

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                           THE LAWYERS REPRESENTING YOU
    20. Do I have a lawyer in the case?
Yes. The Court appointed the following attorneys to represent you and other Settlement Class Members
as “Class Counsel.”

Norman E. Siegel                                      Amy E. Keller
STUEVE SIEGEL HANSON LLP                              DICELLO LEVITT GUTZLER LLC
460 Nichols Road, Suite 200                           Ten North Dearborn Street, 11th Floor
Kansas City, MO 64112                                 Chicago, IL 60602

Roy E. Barnes                                         Kenneth S. Canfield
THE BARNES LAW GROUP, LLC                             DOFFERMYRE SHIELDS CANFIELD &
31 Atlanta Street                                     KNOWLES, LLC
Marietta, GA 30060                                    1355 Peachtree Street, N.E., Suite 1725
                                                      Atlanta, GA 30309

You will not be charged by these lawyers for their work on the case. If you want to be represented by
your own lawyer, you may hire one at your own expense.

If you have questions about making a claim, please contact the Settlement Administrator (see Question
__).

   21. How will these lawyers be paid?
Class Counsel have undertaken this case on a contingency-fee basis, meaning they have paid for all of
the expenses in the case and have not been paid any money in relation to their work on this case.
Accordingly, Class Counsel will ask the Court to award them attorneys’ fees of up to $77,500,000 and
reimbursement for costs and expenses up to $3,000,000 to be paid from the Consumer Restitution
Fund. The Court will decide the amount of fees and costs and expenses to be paid. You will not have
to separately pay any portion of these fees yourself. Class Counsel’s request for attorneys’ fees and
costs (which must be approved by the Court) will be filed by [DATE] and will be available to view on
the settlement website at www.EquifaxBreachSettlement.com.

   22. Will the class representatives receive any additional money?
The class representatives in this action are listed in the Settlement Agreement, which is available at
www.EquifaxBreachSettlement.com. Class Counsel will ask the Court to award these individuals
“service awards” of $2,500 each for the time that they spent, and the risks that they undertook, in
bringing this lawsuit on behalf of the class. This amount will also have to be approved by the Court.
Any amount approved by the Court will be paid from the Consumer Restitution Fund.
                  EXCLUDING YOURSELF FROM THE SETTLEMENT
   23. How do I exclude myself from the settlement?
If you are a member of the settlement class but do not want to remain in the class, you may exclude
yourself from the class (also known as “opting out”). If you exclude yourself, you will lose any right
to participate in the settlement, including any right to receive the benefits outlined in this notice.




           Questions? Go to www.EquifaxBreachSettlement.com or call 1-833-759-2982

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If you decide on this option, you may keep any rights you have, if any, against Equifax and you may
file your own lawsuit against Equifax based upon the same legal claims that are asserted in this lawsuit,
but you will need to find your own attorney at your own cost to represent you in that lawsuit. If you
are considering this option, you may want to consult an attorney to determine your options.

IMPORTANT: You will be bound by the terms of the Settlement Agreement unless you submit a
timely and signed written request to be excluded from the settlement. To exclude yourself from the
settlement you must mail a “request for exclusion,” postmarked no later than [DATE], to:

                   Equifax Data Breach Class Action Settlement Administrator
                                        Attn: Exclusion
                                 c/o JND Legal Administration
                                        P.O. Box 91318
                                       Seattle, WA 98111

This statement must contain the following information:
        (1)   The name of this proceeding (In re: Equifax Inc. Customer Data Security Breach
              Litigation, Case No. 1:17-md-2800-TWT, or similar identifying words such as “Equifax
              Data Breach Lawsuit”);
        (2) Your full name;
        (3) Your current address;
        (4) The words “Request for Exclusion” at the top of the document or a statement that you
              do not wish to participate in the settlement; and
        (5) Your signature.
If you do not comply with these procedures and the deadline for exclusions, you will lose any
opportunity to exclude yourself from the settlement class, and your rights will be determined in
this lawsuit by the Settlement Agreement if it is approved by the Court, and you may not recover
under any other settlement agreement regarding the claims released as part of the settlement.
                OBJECTING OR COMMENTING ON THE SETTLEMENT
   24. How do I tell the Court that I like or don’t like the settlement?
If you are a Settlement Class Member, you have the right to tell the Court what you think of the
settlement. You can object to the settlement if you don’t think it is fair, reasonable, or adequate, and
you can give reasons why you think the Court should not approve it. You can’t ask the Court to order
a larger settlement; the Court can only approve or deny the settlement as it is.

To object, you must send a letter stating that you object to the settlement. Your objection letter must
include:
        (1)   The name of this proceeding (In re: Equifax Inc. Customer Data Security Breach
              Litigation, Case No. 1:17-md-2800-TWT, or similar identifying words such as “Equifax
              Data Breach Lawsuit”);
        (2)   Your full name and current address;


         Questions? Go to www.EquifaxBreachSettlement.com or call [PHONE NUMBER]

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   (3)   Your personal signature (an attorney’s signature is not enough);
   (4)   A statement indicating why you think that you are a member of the settlement class;
   (5)   A statement with the reasons why you object, accompanied by any legal support for your
         objection;
   (6)   A statement identifying all class action settlements to which you have objected in the
         previous five (5) years; and
   (7)   A statement as to whether you intend to appear at the Fairness Hearing, either in person
         or through a lawyer, and if through a lawyer, identifying your lawyer by name, address,
         and telephone number, and four dates between [the Objection Deadline] and [a date two
         weeks before Fairness Hearing] during which you are available to be deposed by counsel
         for the Parties.
Additionally, if you are represented by a lawyer and your lawyer intends to speak at the Fairness
Hearing, your written objection letter must include:
   (8)   A detailed statement of the specific legal and factual basis for each and every objection;
         and
   (9)   A detailed description of any and all evidence you may offer at the Fairness Hearing,
         including copies of any and all exhibits that you may introduce at the Fairness Hearing.
Additionally, if you are represented by a lawyer, and your lawyer intends to seek compensation for
his or her services from anyone other than you, your written objection letter must include:
   (10) The identity of all lawyers who represent you, including any former or current lawyer
        who may be entitled to compensation for any reason related to the objection;
   (11) A statement identifying all instances in which your lawyer or your lawyer’s law firm
        have objected to a class action settlement within the preceding five (5) years, giving the
        case name, case number, and court in which the class action settlement was filed;
   (12) A statement identifying any and all agreements or contracts that relate to the objection
        or the process of objecting—whether written or oral—between the you, your lawyer,
        and/or any other person or entity;
   (13) A description of your lawyer’s legal background and prior experience in connection with
        class action litigation; and
   (14) A statement regarding whether your lawyer’s compensation will be calculated on the
        basis of a lodestar, contingency, or other method; an estimate of the amount of fees to be
        sought; the factual and legal justification for any fees to be sought; the number of hours
        already spent by your lawyer and an estimate of the hours to be spent in the future; and
        the lawyer’s hourly rate.




     Questions? Go to www.EquifaxBreachSettlement.com or call [PHONE NUMBER]

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To be considered by the Court, your objection letter must be filed electronically with the Court by
[DATE] or mailed, postmarked no later than [DATE], to the following addresses:
                 Equifax Data Breach Class Action Settlement Administrator
                                        Attn: Objection
                                c/o JND Legal Administration
                                        P.O. Box 91318
                                       Seattle, WA 98111

If you do not comply with these procedures and the deadline for objections, you may lose any
opportunity to have your objection considered at the Fairness Hearing or otherwise to contest
the approval of the settlement or to appeal from any orders or judgments entered by the Court
in connection with the proposed settlement. You will still be eligible to receive settlement benefits
if the settlement becomes final even if you object to the settlement.

The Court has scheduled a Fairness Hearing to listen to and consider any concerns or objections from
Settlement Class Members regarding the fairness, adequacy, and reasonableness of the terms of the
Settlement Agreement. That hearing will take place on [DATE and TIME] before the Honorable
Thomas W. Thrash Jr., at the United States District Court for the Northern District of Georgia located
in Courtroom 2108 of the Richard B. Russell Federal Building and United States Courthouse, 75 Ted
Turner Dr., SW, Atlanta, Georgia 30303-3309. This hearing date and time may be moved. Please refer
to the settlement website, www.EquifaxBreachSettlement.com for notice of any changes.
                              GETTING MORE INFORMATION
   25. Where can I get more information?
If you have questions about this notice or the settlement, you may go to the settlement website at
www.EquifaxBreachSettlement.com. You can also contact the Settlement Administrator at [PHONE
NUMBER] or by mailing a letter to Equifax Data Breach Settlement, c/o [ADMINISTRATOR],
[ADDRESS], for more information or to request that a copy of this document be sent to you in the
mail. If you wish to communicate directly with Class Counsel, you may contact them (contact
information noted above in Question __). You may also seek advice and guidance from your own
private lawyer at your own expense, if you wish to do so.

This notice is only a summary of the lawsuit and the settlement. Other related documents can be
accessed through the settlement website. If you have questions about the proposed settlement, or wish
to receive a copy of the Settlement Agreement but do not have access to the Internet to download a
copy online, you may contact the Settlement Administrator. The Court cannot respond to any questions
regarding this notice, the lawsuit, or the proposed settlement.

                            Please do not contact the Court or its Clerk.




         Questions? Go to www.EquifaxBreachSettlement.com or call [PHONE NUMBER]

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                           EXHIBIT 7-B

               PROPOSED SHORT-FORM NOTICE
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                                     COURT APPROVED LEGAL NOTICE


         If Your Personal Information Was Impacted in the 2017
          Equifax Data Breach, You May Be Eligible for Benefits
                     from a Class Action Settlement
In September of 2017, Equifax announced it experienced a data breach, which impacted the personal
information of approximately 147 million people. Equifax has reached a proposed settlement to resolve
class action lawsuits brought by consumers alleging Equifax failed to adequately protect their personal
information. Equifax denies any wrongdoing, and no judgment or finding of wrongdoing has been made.

If your personal information was impacted in the Equifax data breach, you may be eligible for benefits
from the settlement after it becomes final. Under the proposed settlement, Equifax will: (1) pay $380.5
million into a fund to pay benefits to consumers, court-approved fees and costs of class counsel and
service awards to the named class representatives, and other expenses; (2) implement and maintain certain
data security enhancements; (3) if necessary, pay up to $125 million more to reimburse consumers for
out-of-pocket losses resulting from the data breach; and (4) provide certain other relief.

Are You Eligible: You are a class member and eligible for settlement benefits if you are a U.S. consumer
whose personal information was impacted by the Equifax data breach. If you are unsure of whether
you are a class member, visit www.EquifaxBreachSettlement.com or call 1-833-759-2982.

Benefits: If you are a class member, you are eligible for one or more of the following benefits:

        1. Free Credit Monitoring or $125 Cash Payment. You can get free credit monitoring services.
        Or, if you already have credit monitoring services, you can request a $125 cash payment.
             The free credit monitoring includes at least four years of three-bureau credit monitoring,
                 offered through Experian. You can also get up to six more years of free one-bureau credit
                 monitoring through Equifax.
             If you already have credit monitoring services that will continue for at least 6 more
                 months, you may be eligible for a cash payment of $125.

        2. Other Cash Payments. You may also be eligible for the following cash payments up to
        $20,000 for:
             the time you spent remedying fraud, identity theft, or other misuse of your personal
               information caused by the data breach, or purchasing credit monitoring or freezing credit
               reports, up to 20 total hours at $25 per hour.
             out-of-pocket losses resulting from the data breach.
             up to 25% of the cost of Equifax credit or identity monitoring products you paid for
               in the year before the data breach announcement.

        3. Free Identity Restoration Services: You are eligible for 7 years of free assisted identity
        restoration services to help you remedy the effects of identity theft and fraud.

How to Get Benefits:

To get free credit monitoring or cash payments, or both, you must submit a claim:
     Online at www.EquifaxBreachSettlement.com, or
     By mail.
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You must submit a claim by [initial claims period deadline date]. Certain claims may require
supporting documents.

If there is still money in the fund after payment of valid claims submitted during the initial claims period
that ends on [INSERT DATE], there will be an extended claims period lasting for four years. In the
extended claims period, you may make certain claims for out-of-pocket losses incurred in the future,
including time and money spent trying to address identity theft or fraud related to the data breach.

You don’t need to file a claim to get free identity restoration services.

None of these benefits will be distributed or available until the settlement is finally approved by the
Court. The amount you receive may be less than the claim you submit depending on the number and
amount of claims that are submitted.

Understanding Your Options:

If you want the court to exclude you from the settlement class, you must write to the Settlement
Administrator by [INSERT DEADLINE]. List the name of this proceeding (In re: Equifax Inc. Customer
Data Security Breach Litigation, Case No. 1:17-md-2800-TWT), your full name, your current address,
and the words “Request for Exclusion” at the top of the document. You must sign this request and mail it
to Equifax Data Breach Class Action Settlement Administrator, Attn: Exclusion, c/o JND Legal
Administration, P.O. Box 91318, Seattle, WA 98111.

To object to the settlement, you must file an objection with the court by [INSERT DEADLINE]. For
detailed instructions about the process of objecting, visit www.EquifaxBreachSettlement.com.

You must file a claim if you want to receive free credit monitoring or cash benefits under this settlement.
If you do nothing, you won’t receive a cash payment or credit monitoring service, won’t be able to sue
Equifax for the claims being resolved in the settlement, and will be legally bound by all orders of the
court.

The Court will hold a hearing on [INSERT DATE] to consider any objections, and decide whether to
approve the settlement, award attorneys’ fees and expenses, and grant service awards to the named class
representatives. You may enter an appearance through an attorney, but do not have to. The court has
appointed lawyers to represent you and the class, but you can hire another lawyer at your own expense.

This is only a summary of the settlement. For more information, visit
www.EquifaxBreachSettlement.com, or call (toll free) 1-833-759-2982.
This is a Court authorized notice, not a lawyer advertisement.
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                            EXHIBIT 8

                          CLAIM FORM
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Must be postmarked            EQUIFAX DATA BREACH SETTLEMENT
or submitted online             C/O JND LEGAL ADMINISTRATION                            EFX
NO LATER THAN                           P.O. BOX 91318
Month Day, 2019                     SEATTLE, WA 98111-9418
                             WWW.EQUIFAXBREACHSETTLEMENT.COM




                      Equifax Data Breach Claim Form
               SETTLEMENT BENEFITS – WHAT YOU MAY GET

 If you are a U.S. consumer whose personal information was impacted by the Equifax data breach
 announced on September 7, 2017, you may submit a claim.

 The easiest way to submit a claim is online at www.EquifaxBreachSettlement.com, or you
 can complete and mail this claim form to the mailing address above.

 You may submit a claim for one or more of these benefits:

 Credit monitoring or $125 Cash Payment: Use the claim form to request free credit monitoring
 services. Or, if you have credit monitoring services, you can request a $125 cash payment.

 Cash Reimbursement. Use the claim form to request money for one or more of the following:

      1. Reimbursement for Time Spent. If you spent time trying to avoid or recover from fraud
         or identity theft because of the Equifax data breach, you can get $25 per hour for up to
         10 total hours, or up to 20 total hours if you provide supporting documents.

      2. Reimbursement for Money You Spent. If you spent money trying to avoid or recover
         from fraud or identity theft because of the Equifax data breach, you can be reimbursed
         up to $20,000. You must submit documents supporting your claim.

      3. Up to 25% Reimbursement for Equifax Credit Monitoring Subscriptions. If you had
         an Equifax credit monitoring or identity theft protection subscription between 9/7/2016 and
         9/7/2017, you can get a payment of 25% of the amount you paid.

No claim is required for identity restoration services. U.S. consumers impacted by the Equifax
data breach will be able to access identity restoration services for a period of at least 7 years once
the Settlement is final. More information is available at www.EquifaxBreachSettlement.com.
                                            *      *      *
  Claims must be submitted online or mailed by [DATE]. Use the address at the top of this
                                      form for mailed claims.

 Please note: the settlement administrator may contact you to request additional documents to
 process your claim. Your cash benefit may decrease depending on the number and amount of
 claims filed.

 For more information and complete instructions visit www.EquifaxBreachSettlement.com.


Questions? Visit www.EquifaxBreachSettlement.com or call 1-833-759-2982                     Page 1 of 6
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 Please note that Settlement benefits will be distributed after the Settlement is approved by
 the Court and final.



                                               Your Information
  We will use this information to contact you and process your claim. It will not be used for any other purpose. If any of
   the following information changes, you must promptly notify us by emailing info@EquifaxBreachSettlement.com.


 1. NAME (REQUIRED): First                                       Middle Initial   Last



 2. ALTERNATIVE
    NAME(S) (IF ANY):

 3. MAILING ADDRESS Street Address
    (REQUIRED):

                             Apt. No.



                             City



                             State



                             Zip




 4. PHONE NUMBER:


 5. EMAIL ADDRESS:



 6. YEAR OF BIRTH
    (REQUIRED)



                Credit Monitoring: Free Service or Cash Payment
     You may be eligible to receive free credit monitoring or up to $125 if you already have credit monitoring.

   You can receive free, three-bureau credit monitoring at all three national credit reporting
   agencies (Equifax, Experian, and TransUnion). Experian will provide this service for at least
   four years. You can also enroll in free, single-bureau credit monitoring of your Equifax credit
   file, provided by Equifax, for up to six years after the Experian service ends.



Questions? Visit www.EquifaxBreachSettlement.com or call 1-833-759-2982                                     Page 2 of 6
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   Or, if you have credit monitoring services that you will keep for at least six months, you can
   request a cash payment of $125.

   Please select either Option 1 or Option 2 below, but not both.



    Option 1, Credit Monitoring: I want to receive free, three-bureau credit monitoring.
       If you select this option, you will be sent instructions and an activation code after the settlement is
       final to your email address or home address. You won’t be “upsold” any services by enrolling or
       otherwise asked to submit any payment for these services now or in the future.

       If You selected Option 1, would you like to sign-up for Equifax’s free, one-bureau credit
       monitoring service for up to 6 more years after the initial, three-bureau credit monitoring
       services expire?
        Yes.
       If you select “yes” for this option, you will be sent instructions to your email address or your home
       address before your three-bureau credit monitoring expires. You won’t be “upsold” any services by
       enrolling or otherwise asked to submit any payment for these services now or in the future.


    Option 2, Cash Payment: I want a cash payment of $125. I certify that I have credit
       monitoring and will have it for at least 6 months from today.


      If you select this option, you cannot also enroll in the free, three-bureau credit monitoring service
      offered through this Settlement.




                                  Cash Payment: Time Spent

 If you spent time trying to recover from fraud or identity theft caused by the data breach, or if you
 spent time trying to avoid fraud or identity theft because of the data breach (placing or removing
 credit freezes on your credit files or purchasing credit monitoring services), complete the chart
 below. You can be compensated $25 per hour for up to 20 hours.

 If you claim 10 hours or less, you must describe the actions you took in response to the data
 breach and the time each action took.

 If you claim more than 10 hours total, you must describe the actions you took in response to the
 data breach and include supporting documents showing fraud, identity theft, or other misuse of your
 personal information.

 By filling out the boxes below, you are certifying that the time you spent doesn’t relate to other data
 breaches.




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                                                                          Number
              Explanation of Time Spent                                                 Supporting
                                                            Approx.       of Hours
                                                                                      Documentation?
                                                            Date(s)          and
            (Identify what you did and why)                                               (Y/N)
                                                                          Minutes
____________________________________
____________________________________
____________________________________
____________________________________
____________________________________

____________________________________
____________________________________
____________________________________
____________________________________
____________________________________

____________________________________
____________________________________
____________________________________
____________________________________
____________________________________


                     Cash Payment: Money You Lost or Spent
If you lost or spent money trying to prevent or recover from fraud or identity theft caused by the
Equifax data breach and have not been reimbursed for that money, you can receive reimbursement
for up to $20,000 total.

It is important for you to send documents that show what happened and how much you lost or
spent, so that you can be repaid (except for money you may have spent on Equifax subscription
products as explained below). If they are the same as the documents you attached in the section
above, you do not need to send them again.

To look up more details about how cash payments work, visit www.EquifaxBreachSettlement.com
or call toll-free 1-833-759-2982. You will find more information about the types of costs and losses
that can be paid back to you, what documents you need to attach, and how the Settlement
Administrator decides whether to approve your payment.




Questions? Visit www.EquifaxBreachSettlement.com or call 1-833-759-2982                   Page 4 of 6
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                                                    Description of Loss or Money Spent and Supporting
     Loss Type and                     Amount and   Documents
 Examples of Documents                   Date       (Identify what you are attaching, and why it’s related to the
                                                    Equifax breach)
 Costs for freezing or                 $            ______________________________________
 unfreezing your credit
 report on or after 9/7/2017
                                                    ______________________________________
 Examples: Receipts, notices, or                    ______________________________________
 account statements reflecting         Date:
 payment for a credit freeze                        ______________________________________
                                                    ______________________________________

 Credit monitoring and                 $            ______________________________________
 identity theft protection
 purchased between
                                                    ______________________________________
 9/7/2017 and the date of                           ______________________________________
 your claim submission                 Date:
                                                    ______________________________________
 Examples: Receipts or
 statements for credit monitoring
 services

 Costs incurred for an                 $            ______________________________________
 Equifax credit or identity
 theft monitoring subscription
                                                    ______________________________________
 products I had between                             ______________________________________
 9/7/2016 and 9/7/2017                 Date:
                                                    ______________________________________
 Equifax will check its records and
 these claims will be paid without                  ______________________________________
 documentation if Equifax’s records
 match your claim. You may still                    ______________________________________
 submit receipts of statements for
 Equifax credit monitoring services
 to support your claim

 Costs, expenses, and                  $            ______________________________________
 losses due to identity theft,
 fraud, or misuse of your
                                                    ______________________________________
 personal information on or                         ______________________________________
 after 05/13/2017                      Date:
                                                    ______________________________________
 Examples: Account statement
 with unauthorized charges                          ______________________________________
 highlighted; police reports; IRS
 documents; FTC Identity Theft                      ______________________________________
 Reports; letters refusing to refund
 fraudulent charges; credit
 monitoring services you
 purchased

 Professional fees paid to             $            ______________________________________
 address identity theft on or
 after 5/13/2017
                                                    ______________________________________
 Examples: Receipts, bills, and
                                                    ______________________________________
 invoices from accountants,            Date:
 lawyers, or others
                                                    ______________________________________



Questions? Visit www.EquifaxBreachSettlement.com or call 1-833-759-2982                              Page 5 of 6
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 Other expenses such as                 $       ______________________________________
 notary, fax, postage,
 copying, mileage, and long-
                                                ______________________________________
 distance telephone charges                     ______________________________________
 related to the data breach             Date:
                                                ______________________________________
 Examples: Phone bills, receipts,
 detailed list of places you traveled           ______________________________________
 (i.e. police station, IRS office),
 reason why you traveled there (i.e.            ______________________________________
 police report or letter from IRS re:
 falsified tax return) and number of            ______________________________________
 miles you traveled




                 How You Would Like to Receive Your Cash Payment
  If you made a claim for a cash payment in this claim form, you can elect to receive your payment
  either by check or pre-paid card to your mailing address.


  Checks must be cashed within 90 days. If you select a pre-paid card, the card never expires.


  Which do you prefer?

     Check
     Pre-Paid Card



                                                Signature

  I affirm under the laws of the United States that the information I have supplied in this claim form
  and any copies of documents that I am sending to support my claim are true and correct to the best
  of my knowledge.


  I understand that I may be asked to provide more information by the claims administrator before my
  claim is complete.

 Signature:                                                          Dated:




 Print Name:




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                            EXHIBIT 9

            CLAIMS ADMINISTRATION PROTOCOL
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                   CLAIMS ADMINISTRATION PROTOCOL

The provisions below are subject to the terms and definitions set forth in the Order
Permitting Issuance of Notice of Class Action Settlement and the Settlement filed
with the Court in the litigation styled In re: Equifax, Inc. Customer Data Security
Breach Litigation, Case No. 1:17-md-2800-TWT (N.D. Ga.) (the “Class Action”).
Terms used throughout this Claims Administration Protocol (“Protocol”) shall
have the same meaning as in the Agreement. To the extent any provisions in this
Protocol are inconsistent with the Order Permitting Issuance of Notice of Class
Action Settlement or Agreement, those terms in the Order Permitting Issuance of
Notice of Class Action Settlement and Agreement control. The Court overseeing
the Class Action shall have the ultimate oversight and approval of this Protocol.

I.      Claims Periods. There will be two claims periods: the Initial Claims Period
        and the Extended Claims Period.

        A.    The Initial Claims Period will run for 6 months after the Order
              Permitting Issuance of Notice of Class Action Settlement.

        B.    The Extended Claims Period will run for 4 years after the conclusion
              of the Initial Claims Period. During the Extended Claims Period,
              Settlement Class Members can seek reimbursement for valid Out-of-
              Pocket Losses (excluding losses of money and time associated with
              Preventative Measures) incurred during the Extended Claims Period
              only if the Settlement Class Member provides a certification that he or
              she has not obtained reimbursement for the claimed expense through
              other means.

II.     Claims Process. Settlement Class Members may submit Claim Forms to the
        Settlement Administrator electronically through the Settlement Website or
        physically by mail to the Settlement Administrator. Claim Forms must be
        submitted electronically or postmarked during the Initial Claims Period, or,
        where applicable, during the Extended Claims Period.

        A.    The Settlement Administrator will mail paper copies of the Claim
              Forms and Notice to Settlement Class Members who request such
              copies.

        B.    The Settlement Administrator will review, determine the validity of,
              and process all claims submitted by Settlement Class Members.
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               1.     In determining whether to approve claims submitted by
                      Settlement Class Members, the Settlement Administrator will
                      consider circumstances beyond the control of the Settlement
                      Class Member (e.g., if a Settlement Class Member incurs a loss
                      on the last day of the Initial Claims Period that could only be
                      compensated during the Initial Claims Period and submits their
                      claim during the Extended Claims Period, that claim would be
                      deemed as having been submitted during the Initial Claims
                      Period).

         C.    The Settlement Administrator will process valid claims of Settlement
               Class Members and distribute payments after the Effective Date.

III.     Claims for Reimbursement for Out-of-Pocket Losses. The Settlement
         Administrator shall verify that each person who submits a Claim Form is a
         Settlement Class Member and shall be responsible for evaluating claims and
         making a determination as to whether claimed Out-of-Pocket Losses are
         valid and fairly traceable to the Data Breach. Settlement Class Members
         with Out-of-Pocket Losses must submit Reasonable Documentation
         supporting their claims, except no documentation is required for claims for
         reimbursement for Equifax subscription products as provided in the
         Agreement. As used herein, “Reasonable Documentation” means
         documentation supporting a claim, including but not limited to: credit card
         statements, bank statements, invoices, telephone records, and receipts.
         Except as expressly provided herein, personal certifications, declarations, or
         affidavits from the claimant do not constitute Reasonable Documentation but
         may be included to provide clarification, context or support for other
         submitted Reasonable Documentation.

         A.    In assessing what qualifies as “fairly traceable,” the Parties agree to
               instruct the Settlement Administrator to consider (i) the timing of the
               loss, including whether the loss occurred on or after May 13, 2017,
               through the date of the Class Member’s claim submission; (ii) whether
               the loss involved the possible misuse of the type of personal
               information accessed in the Data Breach (i.e., name, address, birth
               date, Social Security Number, driver’s license number, payment card
               information); (iii) whether the personal information accessed in the
               Data Breach that is related to the Class Member is of the type that was
               possibly misused; (iv) the Class Member’s explanation as to how the
               loss is fairly traceable to the Data Breach; (v) the nature of the loss,
               including whether the loss was reasonably incurred as a result of the

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              Data Breach; and/or (vi) any other factor that the Settlement
              Administrator considers to be relevant. The Settlement Administrator
              shall have the sole discretion and authority to determine whether
              claimed Out-of-Pocket Losses are valid and fairly traceable to the
              Data Breach.

        B.    Out-of-Pocket Losses associated with placing or removing credit
              freezes on credit files and purchasing credit monitoring services
              (“Preventative Measures”), shall be deemed fairly traceable to the
              Data Breach if (i) they were incurred on or after September 7, 2017,
              through the date of the Settlement Class Member’s claim submission,
              and (ii) the claimant certifies that they incurred such Out-of-Pocket
              Losses as a result of the Data Breach and not as a result of any other
              compromise of the Settlement Class Member’s information.

        C.    The Settlement Administrator shall not require Settlement Class
              Members to seek reimbursement for Out-of-Pocket Losses from other
              sources before filing a Claim Form.

IV.     Claims for Time. Settlement Class Members who spent time remedying
        fraud, identity theft, or other alleged misuse of the Settlement Class
        Member’s personal information fairly traceable to the Data Breach, or
        subject to the Agreement, Settlement Class Members who spent time on
        Preventative Measures fairly traceable to the Data Breach, can receive
        reimbursement for such time expenditures subject to the following
        provisions.

        A.    Documented Time. Settlement Class Members with (i) Reasonable
              Documentation of fraud, identity theft, or other alleged misuse of the
              Settlement Class Member’s personal information fairly traceable to
              the Data Breach and (ii) time spent remedying these issues, or time
              spent taking Preventative Measures, may submit a claim for up to 20
              hours of such time to be compensated at $25 per hour. This
              documentation may overlap with documents submitted to support
              other Out-of-Pocket Losses. In the event the Settlement Administrator
              does not approve a claim for Documented Time, that claim shall be
              treated as a claim for Self-Certified Time.

        B.    Self-Certified Time. Settlement Class Members who attest (i) to fraud,
              identity theft, or other alleged misuse of the Settlement Class
              Member’s personal information fairly traceable to the Data Breach, or


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              Preventative Measures, and (ii) that they spent time remedying such
              misuse or taking Preventative Measures, but who cannot provide
              Reasonable Documentation of such issues may self-certify the amount
              of time they spent by providing a certified explanation of the misuse
              or Preventative Measures taken and how the time claimed was spent
              remedying the misuse or taking Preventative Measures. Settlement
              Class Members may file a claim for Self-Certified Time for up to 10
              hours at $25 per hour.

        C.    Time Increments. Valid claims for both Documented Time and Self-
              Certified Time will be reimbursed in 15-minute increments, with a
              minimum reimbursement of 1-hour per valid Out-of-Pocket Loss
              claim for time.

V.      Claims for Credit Monitoring Services. All Settlement Class Members will
        be eligible to claim and enroll in at least 4 years of Credit Monitoring
        Services. Claims for Credit Monitoring Services can be made only within
        the Initial Claims Period. Settlement Class Members who elect to enroll in
        Credit Monitoring Services within the Initial Claims Period shall have the
        option to make a claim for One-Bureau Credit Monitoring Services at the
        same time they claim Credit Monitoring Services.

        A.    The Settlement Administrator will coordinate with Experian to receive
              and send activation codes for Credit Monitoring Services no later than
              45 days after either the Effective Date or the conclusion of the Initial
              Claims Period, whichever is later.

VI.     Claims for Alternative Reimbursement Compensation. Settlement Class
        Members who already have some form of credit monitoring or protection
        and do not claim Credit Monitoring Services may file a claim for Alternative
        Reimbursement Compensation of $125. The Settlement Class Member must
        identify the monitoring service and certify that he or she has some form of
        credit monitoring or protection as of the date the Settlement Class Member
        submits the claim and will have such credit monitoring in place for a
        minimum of six (6) months from the claim date. A Settlement Class Member
        who elects to receive Alternative Reimbursement Compensation is not
        eligible to enroll in Credit Monitoring Services or to seek reimbursement, as
        Out-of-Pocket Losses, for purchasing credit monitoring or protection
        services covering the six-month period after the Settlement Class Member
        makes a claim for Alternative Reimbursement Compensation. Claims for



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         Alternative Reimbursement Compensation can be made only within the
         Initial Claims Period.

VII.     Restoration Services. All Settlement Class Members (regardless of whether
         the Settlement Class Member makes any claim under the Settlement) will
         also be able to access Restoration Services.

VIII.    Certification and Attestation. The requirement that Settlement Class
         Members certify or attest to certain information in Claims Forms they
         submit will be satisfied by Settlement Class Members’ signatures on the
         Claim Forms. For Claims Forms submitted on behalf of minor Settlement
         Class Members, an additional attestation will be required to ensure that the
         individual filing on behalf of the minor is the minor’s legal guardian or
         parent. Additional security protocols and verification may be proposed by
         the Settlement Administrator to ensure validity of minor claims.

IX.      Disputes and Appeals.

         A.    To the extent the Settlement Administrator determines a claim for
               Out-of-Pocket Losses, Alternative Reimbursement Compensation, or
               Credit Monitoring Services is deficient in whole or part, within 14
               days after making such a determination, the Settlement Administrator
               shall notify the Settlement Class Member in writing (including by e-
               mail where the Settlement Class Member selects e-mail as his or her
               preferred method of communication) of the deficiencies and give the
               Settlement Class Member 30 days to cure the deficiencies. The notice
               shall inform the Settlement Class Member that he or she can either
               attempt to cure the deficiencies outlined in the notice, or dispute the
               determination in writing and request an appeal. If the Settlement Class
               Member attempts to cure the deficiencies but, in the sole discretion
               and authority of the Settlement Administrator fails to do so, the
               Settlement Administrator shall notify the Settlement Class Member of
               that determination within 14 days of the determination. The notice
               shall inform the Settlement Class Member of his or her right to
               dispute the determination in writing and request an appeal within 30
               days. The Settlement Administrator shall have the sole discretion and
               authority to determine whether a claim for Out-of-Pocket Losses,
               Alternative Reimbursement Compensation, or Credit Monitoring
               Services is deficient in whole or part but may consult with the Parties
               in making individual determinations.



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        B.    If a Settlement Class Member disputes a determination in writing
              (including by e-mail where the Settlement Class Member selects e-
              mail as his or her preferred method of communication) and requests
              an appeal, the Settlement Administrator shall provide Class Counsel
              and Defendants’ Counsel a copy of the Settlement Class Member’s
              dispute and Claim Form along with all documentation or other
              information submitted by the Settlement Class Member. Class
              Counsel and Defendants’ Counsel will confer regarding the claim
              submission, and their agreement on approval of the Settlement Class
              Member’s claim, in whole or part, will be final. If Class Counsel and
              Defendants’ Counsel cannot agree on approval of the Settlement Class
              Member’s claim, in whole or part, the dispute will be submitted to a
              mutually-agreeable neutral who will serve as the claims referee. If no
              agreement is reached on selection of the claims referee, the Parties
              will submit proposals to the Court. The Court will have final, non-
              appealable decision-making authority over designating the claims
              referee. The claims referee’s decision will be final and not subject to
              appeal or further review.

X.      Shortfall Notification. Beginning when the Settlement Administrator first
        determines that there are insufficient funds remaining in the Consumer
        Restitution Fund to pay valid Out-of-Pocket Losses (a “Shortfall”), the
        Settlement Administrator shall notify Defendants and Class Counsel on a
        monthly basis in writing of the Shortfall. That written notification will
        identify the amount needed to pay the Shortfall. Within fourteen (14) days
        of receiving this written notice, Defendants shall deposit money into the
        Consumer Restitution Fund in the amount necessary to cure the Shortfall.

XI.     Reporting. The Consumer Financial Protection Bureau (the “Bureau”), the
        Federal Trade Commission (the “Commission”), and the Parties shall, on at
        least a weekly basis during the Initial Claims Period unless the Bureau or the
        Commission determine otherwise, and as requested thereafter during the
        Extended Claims Period, jointly discuss with the Notice Provider and
        Settlement Administrator compliance with the Notice Plan, the claims
        process, and administration of the Consumer Restitution Fund. During such
        discussions, the Bureau and the Commission may make requests to the
        Notice Provider and Settlement Administrator for information regarding
        compliance with the Notice Plan, the claims process, and administration of
        the Consumer Restitution Fund. Such information shall not be unreasonably
        withheld, and any such productions shall be made within 14 days of the


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         request, provided that any reasonable request for an extension shall not be
         denied. All information provided to the Bureau or the Commission, whether
         orally or in writing, shall be treated as confidential pursuant to 12 C.F.R.
         Part 1070, and 15 U.S.C. 46(f) and 16 CFR 4.10, respectively, and not
         publicly disclosed until the Effective Date. Information provided to the
         Bureau or the Commission will be anonymized except in the case of a
         consumer complaint to the Bureau or the Commission or where the
         consumer provides consent.

XII.     Toll-Free Number. The Settlement Administrator will establish and maintain
         a toll-free telephone line for Settlement Class Members to call with
         Settlement-related inquiries, and answering the questions of Settlement
         Class Members who call with or otherwise communicate such inquiries. The
         toll-free telephone line will be staffed with sufficient resources to handle
         reasonably expected call volumes.

XIII.    Settlement Website. The Settlement Administrator will establish and
         maintain the Settlement Website to permit consumers to obtain information
         about the Settlement Class Members’ rights and options under the
         Settlement and submit claims during the Initial and Extended Claims
         Periods. The Settlement Website will:

         A.    Contain a “landing page” upon Class Counsel’s filing of the Motion
               for Preliminary Approval, indicating that the Settlement Website will
               be updated upon the Court’s entry of the Order Permitting Issuance of
               Class Action Notice in the Class Action;

         B.    Be available for informational purposes and for submission of claims
               as soon as possible after the Court’s entry of the Order Permitting
               Issuance of Class Action Notice in the Class Action;

         C.    Be maintained until the end of the Extended Claims Period;

         D.    Include answers to frequently asked questions;

         E.    Provide consumers the ability to access a mechanism to determine
               whether they are Settlement Class Members;

         F.    Include information concerning how Settlement Class Members can
               enroll in the Credit Monitoring Services and One-Bureau Credit
               Monitoring Services, and access Restoration Services available
               through the Settlement once these benefits become available;

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      G.    Describe the information and documentation that consumers must
            submit in connection with their claims, including instructions for
            providing such information and submitting such documentation by
            electronic upload or mail; and

      H.    Be available in English, and translated to Spanish as soon as possible.

XIV. Mailing Payments: When mailing a check or prepaid card, the Settlement
      Administrator shall send the check or prepaid card to the address provided
      by the Settlement Class Member in the Claim Form or to the Settlement
      Class Member’s preferred address if updated with the Claims Administrator.
      If a check or prepaid card is returned as undeliverable, the Settlement
      Administrator will make all reasonable efforts to deliver the check or
      prepaid card, including by attempting to contact the Settlement Class
      Member in order to obtain an updated address, sending the check or prepaid
      card to any forwarding address provided upon return as undeliverable,
      and/or by using the National Change of Address (NCOA) dataset. Any
      check or prepaid card will include its expiration date, if applicable, and the
      Settlement Class Member’s name. The Settlement Administrator will inform
      the Settlement Class Member that the check or prepaid card is for the
      “Equifax Data Breach Settlement” and any conditions that must be complied
      with in order to receive the funds. There will be no fees or charges of any
      kind debited from Settlement Class Members for obtaining funds from the
      check or prepaid card; however, checks not cashed within 90 days shall no
      longer be valid. Class Members who have not yet cashed checks will be
      reminded to do so between 30 and 40 days after the checks have been issued.




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                           EXHIBIT 10

           SETTLEMENT CLASS REPRESENTATIVES




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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION



                                       MDL Docket No. 2800
IN RE: EQUIFAX, INC. CUSTOMER
DATA SECURITY BREACH                   Case No.: 1:17-md-2800-TWT
LITIGATION
                                       CONSUMER ACTIONS



                        EXHIBIT 10
             SETTLEMENT CLASS REPRESENTATIVES

1. Acklin-Davis, Cherya                 19. Clemente, Ricardo
2. Adams, Christy                       20. Craney, Bridgette
3. Anderson, Robert                     21. Crowell, Thomas
4. Angelechio, Donald                   22. Davis, Germany
5. Archambault, Michelle                23. Dunleavy, Christopher
6. Armstrong, Dean                      24. Elliott, Abby
7. Bakko, Justin                        25. Etten, Robert
8. Benson, Robert                       26. Ferrel, Kayla
9. Bielecki, David                      27. Ferrell, Janelle
10. Bishop, Michael                     28. Galpern, Andrew
11. Bologna, Sabina                     29. Gay, James
12. Browning, Nancy                     30. Getz, Michael
13. Campbell, Francine                  31. Goza, Terry
14. Carr, Mark                          32. Greenwood, Thomas
15. Carr, Natasha                       33. Grossberg, Josh
16. Chase, Michael                      34. Guess, Jasmine
17. Cherney, Jack                       35. Hammond, John
18. Cho, Grace                          36. Hannon, Thomas

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37. Harris, Jennifer                    70. Paulo, Wanda
38. Harvey, Kismet                      71. Perkins, Dallas
39. Hawkins, Tabitha                    72. Plante, Stephen
40. Heath, Todd                         73. Podalsky, Gregg
41. Helton, Bob                         74. Rajput, Sanjay
42. Henry, Cathy                        75. Sanchez, Benjamin
43. Hepburn, Alexander                  76. Sands, David
44. Hitchcock, Eva                      77. Santomauro, Rodd
45. Holly, Kathleen                     78. Schifano, Maria
46. Hornblas, Michael                   79. Schneider, Thomas
47. Jacobs, Gregory                     80. Sharp, James
48. Kacur, David                        81. Sharpe, Miche’
49. Kier, Aloha                         82. Simmons II, John
50. King, Brenda                        83. Smith, Amie
51. Kleveno Jr., Alvin                  84. Solorio, Anna
52. Klotzbaugh, Joanne                  85. Strausser, Jonathan
53. Lee, Debra                          86. Strychalski, Kim
54. Lemmons, Brett                      87. Swiftbird, Pete
55. Lipner, Leah                        88. Tafas, Cheryl
56. Martucci, Maria                     89. Tobias, Gerry
57. May, Delitha                        90. Turner, Nathan
58. McGonnigal, James                   91. Tweeddale, Jennifer
59. Mirarchi, Anthony                   92. Van Fleet, Katie
60. Napier, Barry                       93. Whittington II, Richard
61. O’Dell, Justin
62. Olson, Kyle
63. Orchard III, Mel
64. Packwood, Joseph
65. Pagliarulo, John
66. Parks, Richard
67. Parrow, Clara
68. Pascal, Bruce
69. Patterson, Sylvia

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